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           [Additional Counsel of Record listed on the Signature page]

                                  IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF OREGON
                                           PORTLAND DIVISION

             KELLY CAHILL, et al.,                           Case No. 3:18-cv-01477-JR
                                               Plaintiffs,
                                                             DECLARATION OF BYRON
             vs.                                             GOLDSTEIN IN SUPPORT OF
                                                             PLAINTIFFS’ MOTION TO COMPEL
             NIKE, INC., an Oregon Corporation,              PRODUCTION OF DOCUMENTS
                                           Defendant.

                                                             ORAL ARGUMENT REQUESTED




           DECL. OF BYRON GOLDSTEIN IN SUPP. OF PLS.’ MOT. TO COMPEL PRODUCTION OF DOCS.
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                   I, Byron Goldstein, declare as follows:

                   1.       I am a member in good standing of the Bar of the State of California and a Partner

           at the law firm of Goldstein Borgen Dardarian & Ho (“GBDH”) in Oakland, California. I was

           admitted pro hac vice to this Court for this action on August 16, 2018. I and co-counsel

           Markowitz Herbold PC, Ackermann & Tilajef PC, and India Lin Bodien Law represent the

           Plaintiffs. I am providing this declaration in support of Plaintiffs’ Motion to Compel Production

           of Documents. I have personal knowledge of the facts set forth in this declaration and could and

           would testify competently to them if called upon to do so.

                   2.       Plaintiffs served their First Set of Requests for Production (“RFP”) on March 22,

           2019. A true and correct copy is attached as Exhibit A.

                   3.       Nike served its Objections and Responses to Plaintiffs’ First Set of RFPs on April,

           25, 2019. A true and correct copy is attached as Exhibit B.

                   4.       Attached as Exhibit C is a true and correct copy of NIKE_00024727, produced by

           Nike in this litigation. Nike produced this document with its fourteenth volume of production on

           October 12, 2020.

                   5.       Attached as Exhibit D is a true and correct excerpt from the deposition of Shine

           Thomas at 213:21-214:13.

                   6.       Attached as Exhibit E is a true and correct copy of Nike’s September 21, 2020

           letter to Plaintiffs.

                   7.       Based on the following reasons, Plaintiffs believe Nike produced thousands of

           organizational charts that existed as of Nike’s March 15, 2021 submission opposing Plaintiffs’

           request for an Order compelling production of organizational charts, ECF No. 166-5. First,

           Nike’s June 2, 2021 letter to Plaintiffs states, “we have produced more than 5,000 organizational



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           charts ….” Attached as Exhibit F is a true and correct copy of Nike’s June 2, 2021 letter.

           Second, after the Court’s March 30, 2021 Order requiring Nike to produce existing

           organizational charts (ECF No. 135), Nike produced organizational charts in documents

           produced between May 17, 2021 and May 26, 2021 (Nike Volumes of Production 36-39).

           Plaintiffs’ counsel reviewed the discovery in Volumes 36-39 that Nike produced and the

           metadata Nike produced along with this discovery. According to Nike’s metadata, in Volumes

           36-39, Nike produced over 17,000 pages in documents last modified before March 15, 2021.

                   8.      Attached as Exhibit G is a true and correct copy of NIKE_000024726, produced

           by Nike in this litigation. Nike produced this document with its fourteenth volume of production

           on October 12, 2020.

                   9.      Attached as Exhibit H is a true and correct excerpt from the deposition of Shine

           Thomas at 202:12-203:18.

                   10.     Attached as Exhibit I is a true and correct copy of Plaintiffs’ June 15, 2021 letter

           to Nike. Nike did not respond to this letter. Based on the lack of a response and Plaintiffs’

           counsel’s review of all discovery Nike produced, after Plaintiffs’ June 15, 2021 letter, Nike did

           not produce any additional versions of its “Offer Intake Form” or “Hiring Process.”

                   11.     Attached as Exhibit J is a true and correct copy of NIKE_00003185, produced by

           Nike in this litigation.

                   12.     Attached as Exhibit K is a true and correct excerpt from the deposition of Shine

           Thomas at 199:5-16 and 210:7-212:19.

                   13.     Attached as Exhibit L is a true and correct copy of NIKE_00023658, produced by

           Nike in this litigation. Nike produced this document with its twelfth volume of production on

           August 31, 2020.



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                  14.     Based on the following reasons, Plaintiffs believe Nike has not produced any

           policies, guidelines, trainings, descriptions, or forms that it used for determining the amount of

           starting pay before October 2017.

                          a.      First, Plaintiffs’ counsel reviewed all discovery Nike produced.

                          b.      Second, Nike did not rely on any such documents in its Opposition to

           Class Certification even though Nike had known of Plaintiffs’ starting pay allegation since 2018.

           See ECF No. 183 at 16-21.

                          c.      Third, when Plaintiffs sought to meet and confer about pre-October 2017

           starting pay practices, Plaintiffs told Nike that one of the reasons why this was necessary was

           because Nike had failed to produce any policies, guidelines, trainings, descriptions, or forms it

           used when determining the amount of starting pay before October 2017. While Nike stated that

           it disputed this, it could not identify a single such document in several communications,

           including an August 28, 2023 meet and confer call. Attached as Exhibit M are true and correct

           copies of this correspondence, which includes Plaintiffs’ July 11, 2023 letter, Nike’s July 17,

           2023 letter, Plaintiffs’ July 20, 2023 letter, Plaintiffs’ July 27, 2023 letter, Nike’s July 31, 2023

           letter, and Nike’s August 2, 2023.

                  15.     In July 2023, Plaintiffs again sought to engage Nike in a transparent and

           cooperative discovery process. For discovery related to determining starting pay before October

           2017, Plaintiffs, on July 11, 2023, asked Nike what discovery it was withholding, where it

           looked for discovery, and where it did not look for discovery. See Ex. M at 1. Nike did not

           provide this information in its July 17, 2023 response. See id. at 2-3. Plaintiffs again sought this

           information in their July 20, July 27, and August 6 communications. See id. at 4-7, 12, 14.

           Nike’s responses to these communications again did not provide this information. See id. at 8-



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           12, 14. Nor did Nike provide this information during an August 28, 2023 call that Plaintiffs

           requested to meet and confer about pre-October 2017 discovery related to determining starting

           pay, whether and what discovery Nike was withholding, where it looked for discovery, and

           where it did not look for discovery.

                  16.     Plaintiffs made numerous efforts to meet and confer about whether and what

           discovery Nike was withholding, the bases for Nike’s objections to their First Set of RFPs,

           including burden, how it searched for and collected discovery, and where potentially responsive

           discovery was located. This includes numerous written and phone communications over the last

           four years, including, for example, a May 31, 2019 written communication, a June 11, 2019 call,

           a July 15, 2019 written communication, a March 9, 2020 written communication, a December

           20, 2019 written communication, an October 8, 2020 written communication, and an August 28,

           2023 call.

                  I declare under penalty of perjury under that the foregoing is true and correct, and that

           this Declaration was executed this 15th day of September, 2023 in Oakland, California.



                                                         s/ Byron Goldstein
                                                        Byron Goldstein




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                                      UNITED STATES DISTRICT COURT

                                             DISTRICT OF OREGON

                                              PORTLAND DIVISION


              KELLY CAHILL, SARA JOHNSTON,                 Case No. 3:18-cv-01477
              LINDSAY ELIZABETH, and HEATHER
              HENDER, individually and on behalf of        PLAINTIFFS' FIRST SET OF
              others similarly situated,                   REQUESTS FOR PRODUCTION TO
                                                           DEFENDANT NIKE, INC.
                     Plaintiffs,

              vs.

              NIKE, INC., an Oregon Corporation,

                     Defendant.




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            To:    Nike, Inc. by and through its attorneys, Daniel Prince, Zach P. Hutton, Felicia Davis,

                   Paul Hastings, 515 South Flower Street, 25th Floor, Los Angeles, CA 90071.

                   Plaintiffs Kelly Cahill, Sara Johnston, Lindsay Elizabeth, and Heather Hender,

            individually and on behalf others similarly situated, request that defendant Nike, Inc. respond to

            the following Requests for Production of documents and items pursuant to FRCP 34 and that the

            responses be served on Plaintiffs within 30 days after service of these Requests at the offices of

            Goldstein, Borgen, Dardarian & Ho, 300 Lakeside Drive, Suite 1000, Oakland, CA 94612.

                                                     INSTRUCTIONS

                    1.     Machine-readable format available. If any responsive documents are in machine-

            readable format, Plaintiffs request a timely meet and confer between the Parties to determine the

            form, content, and scope of the production related to any applicable Request.

                   2.      Consistent unique identifier. For all documents produced containing HQ

            employees, include each HQ employee's name and another unique identifier that is consistent

            across the production, such as employee ID.

                   3.      Format for production of Electronically Stored Information ("ESI") that is not

            available in a machine-readable format.

                           a.      Unless otherwise indicated, please produce all ESI in single-page TIFF

            format with metadata fields preserved in the load file. The load file should be produced in a

            format capable of being imported into Summation litigation software. (Files should be named

            after the control numbers associated to the .dat/.opt files to ensure the identifier is populated with

            the ID number; document level text files should be provided; Summation (.dat) and opticon

            (.opt) or .lfp with relative paths for text and natives in the .dat file should be provided; separate

            directories for images, natives, and text should be provided in a single deliverable, with UTF-8,

            UTF-16, or ANSI encoding for load files.) Unless otherwise indicated, all ESI should be

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            produced in single-page TIFF format with metadata fields preserved in the load file. The load

            file should be produced in a format capable of being imported into Summation litigation software

            and should include an '@edoc' token for native file.

                           b.     For all hard copy documents for which native electronic files never

            existed, no longer exist, or are not reasonably accessible, please produce in single-page TIFF

            format, with documents logically doc broken, and capable of being loaded into Summation

            litigation software. This includes scanned images of those documents which contain unique

            information after they were printed out, such as paper documents containing handwriting,

            signatures, marginalia, drawings, annotations, highlighting, and redactions. All scanned

            documents should be kept as they are in the regular course of business or in the alternative

            provide information identifying the custodian for each document. Please do not produce a single

            PDF of all scanned hard copy documents.

                           c.     Emails and other communications should be produced in single-page TIFF

            format. Produce all metadata relating to any given email or other communication (e.g., date,

            time, sender, recipients (including bee, follow-up or importance flags) and any attachments.

                           d.     Excel documents should be produced in native format with all metadata

            preserved. Spreadsheets created with other software should be produced in a comma delimited

            format capable of being opened in Excel, if feasible.

                           e.     PowerPoint documents should be produced in native format with all

            metadata preserved, including speaker notes.

                           f.     All native Word documents containing any revisions or mark-ups should

            be processed in a way that all markups, redlines, or comments are captured in the TIFF version

            prepared to load into Summation software database.



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                           g.     All logs should be produced in native format.

                           h.     Audio, video, or other recorded information should be in a .wav or .mpeg

            format.

                           1.     All files shall be labeled with a Bates or control number.

                          J.      Parent/child attachment relationships shall be maintained, and load files

            should include attachment IDs and parent IDs that maintain the parent/child relationship in a

            Summation database.

                           k.     All image files should have a minimum resolution of 300 dpi and meet

            commonly accepted production standards to ensure that the image file is reliable and authentic.

            All image files should include an OCR text file. The load file should include @FULLTEXT

            DOC for multi-page text files or @FULLTEXT PAGE for single page text files. Text files

            should be grouped in the same folders as image files.

                           1.     Metadata fields should include: DocID or Control Number, Production

            Begin, Production End, Production Begin Attachment, Production End Attachment,

            ParentDocID, Page Count, to, From, CC, BCC, Subject, DateTime Primary Parent,

            DateTimeCreated, DateTimeSent, DateTime Received, DateTimeModified, DateTimesys

            Accessed, Appointment Start Time, Appointment End Time, File Extension, File Name, File

            Size Bytes, File Type, Custodian, Md5 Hash, Author, Title, DocLink, and FilePath. Date fields

            must contain valid date formats (mm/dd/yyyy) and dates and times should be together in a

            standard datetime format (mm/dd/yyyy hh:mm:ss AM/PM). Multi choice fields should be

            separated via a semicolon(";").

                           m.     Plaintiffs reserve the right to request additional documents in native

            format if it is determined the document is not readable or usable in a TIFF format.



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                    4.     Possession, custody, or control. This request requires production of documents or

            things that are in your possession, custody, or control, and documents or things that are in the

            possession, custody, or control of your agents, employees, accountants, attorneys,

            representatives, or other persons who have documents deemed to be in your possession, custody,

            or control.

                    5.     Excerpts and redactions. Whenever a document is not produced in full (as, for

            example, when material is excerpted or redacted from a document), state with particularity the

            reasons why the document was not produced in full, and describe to the best of your knowledge,

            information, or belief and with as much particularity as possible, those portions of the document

            that are not produced, including the content or substance of the content thereof.

                    6.     Privilege log. If documents are withheld or redacted due to privilege, include a

            privilege log that (1) states the reason(s) you are refusing to produce the document, and

            (2) describes the author(s), recipient(s), date, and subject matter of the document in enough detail

            so that a determination can be made about the applicability of the claim of privilege or other

            reason for refusing to produce the document.

                    7.     Usual course of business. If responsive documents are kept together in the usual

            course of business, they are to be produced in that order, to fairly reveal and not to distort the

            order of your filing and record keeping system. Documents attached to each other should not be

            separated. File folders, complete with tabs or labels, are to be produced for each file folder in

            your files from which documents are produced in response to this discovery request. The file

            folders must be produced intact with the documents produced therefrom.

                    8.     Continuing requests. These requests are continuing and you must immediately

            produce additional responsive documents as may be later located or acquired by you.



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                   9.        Interpretation.

                             a.      Words in the singular include their plural meaning, and vice versa.

                             b.      The past tense includes the present tense, and words used in the masculine

            gender shall include the feminine gender.

                             c.      References to persons and other entities include their agents, employees,

            representatives, and attorneys.

                   10.       The meaning of terms or phrases that are not apparent on their face. Produce

            documents sufficient to define terms or phrases that do not have a clear meaning on their face.

                   11.       Time-period. All requests for production seek documents from throughout the

            Covered Period, unless otherwise indicated.

                   12.       Nike HO. All requests for production seek documents related to Nike HQ.

                                                       DEFINITIONS

                   a.        "Action" means Cahill, et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR.

                   b.        "And" and "Or" shall be construed either disjunctively or conjunctively as

            necessary to bring within the scope of the discovery request all responses that might otherwise be

            construed to be outside the scope.

                   c.        "Any" should be construed to include "all," and "All" should be understood to

            include "any."

                   d.        "CFE Ratings" mean the annual rating assigned to HQ employees that includes

            the numbers 1-5, "Inconsistent," "Highly Successful," "Exceptional" or similar terms or

            numbers.

                   e.        "Communication" means the transmittal of information (in the form of facts,

            ideas, inquiries, or otherwise), whether verbal or written, through any medium, and documents



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            attached to any communication. Except for documents attached to any communication, this

            definition excludes items covered by the definition of "Documents."

                    f.      "Compensation" means salary, PSP Bonuses, equity, Two Times Pay, and any

            transfer of money or other thing of value.

                    g.      "Covered Period" means August 9, 2015 through the present.

                    h.      "Direct reporting," "Directly Reported," and "Directly Report" mean any formal

            line of reporting (including direct and dotted line reporting), supervision, or accountability

            between an employee and a manager.

                    1.      "Document" means all written, graphic, recorded, or illustrative matter, data, data

            structures, software, or any other tangible thing by which information is contained, stored, or

            displayed by every kind of description, however produced or reproduced, whether draft or final,

            original or reproduction, partial or complete, and regardless of whether approved, signed, sent,

            received, redrafted, or executed, and containing all attachments. Except for communications

            with attached documents, the definition of documents does not include communications.

                   J.       "HQ employees" mean Nike employees at Nike HQ in a salaried, corporate

            position that was or is a lower-level position than Vice-President, and who is not employed in

            either a Nike retail store, in HR, or in Nike's Legal or Finance departments.

                    k.      "HQ executives" mean any Nike employee with a Vice-President title, President

            title, or other job title that is as or more senior than Vice-President or that is at the same or higher

            Band level. Band level refers to the six levels that spell out the word "VALUES" in which Nike

            employees are placed.

                   1.       "HR" means Your Human Resources business unit or organization, including

            Your Employee Relations and Total Rewards business units, any other business unit or group



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            that reports to the Vice-President in charge of Your Human Resources business unit, Matter of

            Respect, and AlertLine.

                    m.      "Identify," "Identity," and "Identities," mean:

                               1.   In the case of a system, the control of, operations of, schema, fields,

            definitions of any fields that are not clear on their face, available functions or reports, brand

            name, version, changes or updates, and the categories or data that are utilized or accessible by

            the system.

                              11.   In the case of a person, name, employee ID (or similar unique identifier

            assigned by Nike), current position, and job grouping.

                    n.      "Including" means "including" and "including without limitation."

                    o.      "Job Grouping" means any Nike-created grouping or organization of jobs,

            including job family, job sub-family, pipeline, function, business unit, category, band level, job

            title, and job code.

                    p.      "Nike," "You," "Your," "Defendant" mean Nike, Inc. and any consultants,

            experts, investigators, supervisors, officials, officers, attorneys, representatives and employees,

            agents, or other persons acting on their behalf.

                    q.      "Nike HQ" or "HQ" mean all buildings in Washington County, Oregon or

            Multnomah County, Oregon where four or more Nike employees have an office.

                    r.      "Person" or "People" includes a natural person, firm, association, organization,

            partnership, business, trust, corporation, or public entity.

                    s.      "Plaintiffs" mean named Plaintiffs Kelly Cahill, Sara Johnston, Lindsay

            Elizabeth, and Heather Hender as well as Opt-in Plaintiffs Tracee Cheng, Samantha Phillips,

            Donna Olson, Paige Azavedo, Lauren Anderson, and Cindy Linebaugh.



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                   t.      "Policies" mean all Nike policies, rules, directives, protocols, and procedures,

            including any of the following documents that contain policies: manuals, manager or HR training

            documents, memoranda, handbooks, FAQs, and all other similar documents.

                   u.      "Potential Appraisal" means Nike's assessment of HQ employees' performance

            and/or potential for advancement as identified in NIKE_Cahill - 0059.

                   v.      "Practices" mean all systematic processes or established, recognized, habitual,

            customary, usual, regular, or prescribed practices for achieving certain ends.

                   w.      "PSP Bonus" means bonuses related to Nike's Performance Sharing Plan or any

            other bonuses awarded and related to CFE ratings.

                   x.      "Relate to," "Relates to," and "Relating to" mean analyzing, commenting upon,

            constituting, dealing with, defining, describing, discussing, concerning, containing, evidencing,

            embodying, reflecting, identifying, involving, listing, mentioning, referring to, responding to,

            stating, or in any way pertaining to.

                   y.      "Sex Discrimination" means alleged, potential, disputed, unsubstantiated,

            suspected, or actual sexual harassment, sexual assault, devaluing of women, hostility towards

            women, or discrimination or inequality in compensation or promotions for women at Nike HQ.

                   z.      "System" and "Systems" mean software, applications, databases, computer

            processes, email systems, and any other communications system. This includes Nike's use of an

            SAP system.

                   aa.     "Uniform Guidelines" mean the Uniform Guidelines on Employee Selection

            Procedures, 29 C.F.R. § 1607 et seq.

                   bb.     "Validation" means the definition in the Uniform Guidelines, 29 C.F .R.

            § 1607.16X, which is: "Validation in accord with these guidelines or properly validated. A



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            demonstration that one or more validity studies meeting the standards of these guidelines has

            been conducted, including investigation and, where appropriate use of suitable alternative

            selection procedure are contemplated by section 3B, and has produced evidence of validity

            sufficient to warrant use of the procedure for the intended purpose under the standards of these

            guidelines."

                                          REQUESTS FOR PRODUCTION

            REQUEST FOR PRODUCTION NO. 1:

                    Documents that identify the following for each HQ employee who has worked for Nike at

            any time during the covered period: (a) identity, including name, employee ID (or similar unique

            identifier assigned by Nike), current position, and job grouping; (b) complete compensation

            history at Nike including type or component, date and amount of paid, all recorded reasons for

            paid compensation and changes thereto, and inputs used to calculate compensation; (c) final CFE

            ratings (also referred to as Performance Appraisals); (d) Potential Appraisal final results; (e)

            complete job history at Nike, including all held position titles, job codes, all other applicable job

            groupings, dates of changes in any position title or job grouping, original hire date, rehire date,

            and termination date, pay codes, pay grades, and compensation at each job position or job

            grouping; and (e) demographics, including sex, age, race or ethnicity, and education level; and

            (f) job application data for new hires, lateral moves, and promotions, including collection and

            use of prior compensation, resumes, and prior work experience. For each such HQ employee,

            the time-period for this request is from when the HQ employee first started working at Nike to

            the present.

            REQUEST FOR PRODUCTION NO. 2:

                   Documents that identify all systems used by Nike to track, store, access information or



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            generate reports (e.g., Performance Rating History Report) relating to HQ employees and any of

            the following: (a) compensation; (b) job history; ( c) job applications and decisions on job

            applications for new hires, lateral moves, and promotions; (d) performance evaluations; (e) CFE

            ratings; (f) Potential Appraisal; (g) demographics (sex, age, race or ethnicity, and education

            level); (h) promotions; or (i) workplace complaints about sex discrimination (including those

            submitted to Matter of Respect, AlertLine or otherwise) or other discrimination, including any

            investigations or responses to such complaints. The time-period for this request is January 1,

            2010 to the present except for (i), which is for the covered period.

            REQUEST FOR PRODUCTION NO. 3:

                    All data and content dictionaries, glossaries, reference guides, field and code definitions,

            training materials, and schema documents related to Nike's use and maintenance of data systems

            covered by Request for Production Nos. 1 through 2 or any other Request herein. For purposes of

            these requests, schema refers to the organization of the data system, all fields contained in the data

            system, descriptions/definitions of all data fields and related tables, the source of entries for all data

            fields (i.e., whether derived or calculated from another data field from the data system or other data

            systems or entered by key), the types of queries and/or reports available, and input and output

            mapping of the data system to other databases or data systems.

            REQUEST FOR PRODUCTION NO. 4:

                    All policies and practices related to job offers made for HQ employee positions at Nike

            HQ. This request includes: (a) collection or use of prior compensation history, including any

            mechanism used to collect such history (e.g., Consumer Reporting Agency); (b) terms of offers,

            including compensation; (c) band level or job assignments; (d) negotiations related to offers; (e)

            all related trainings and training materials for employees, managers, and/or HR; and (f)

            documents identifying persons involved with disseminating, implementing, monitoring, and

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            enforcing these policies and practices. The time-period for this request is January 1, 2010 to the

            present.

            REQUEST FOR PRODUCTION NO. 5:

                   All policies and practices related to performance reviews of HQ employees. This request

            includes: (a) all policies and practices related to CFE ratings of HQ employees, including any

            definitions of CFE ratings, curves or percentages considered for CFE ratings, proposed CFE

            ratings, and final determinations of CFE ratings; (b) the effect of CFE ratings on compensation;

            (c) the effect of CFE ratings on promotions; (d) the relationship among budgets, CFE ratings,

            and compensation; (e) all related trainings and training materials for employees, managers,

            and/or HR; and (f) documents identifying persons involved with disseminating, implementing,

            monitoring, and enforcing these policies and practices. The time-period for this request is

            January 1, 2010 to the present.

            REQUEST FOR PRODUCTION NO. 6:

                   All policies and practices relating to promotions for HQ employees, including

            Organizational Talent Planning, Accelerate, and any other promotion-related program. This

            request includes: (a) all policies and practices concerning both promotions of HQ employees and

            any increases in compensation; (b) any questions or requirements related to job applications that

            may disqualify any job applicant from getting a position, including "Disqualification Questions"

            and "Prescreening Questionnaires;" (c) all related trainings and training materials for employees,

            managers, and/or HR; and (d) documents identifying persons involved with disseminating,

            implementing, monitoring, and enforcing these policies and practices The time-period for this

            request is January 1, 2010 to the present.




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            REQUEST FOR PRODUCTION NO. 7:

                   All policies and practices concerning "Potential Appraisal" and HQ employees. This

            includes: (a) all related trainings and training materials for employees, managers, and/or HR; and

            (b) documents identifying persons involved with disseminating, implementing, monitoring, and

            enforcing these policies and practices. The time-period for this request is January 1, 2010 to the

            present.

            REQUEST FOR PRODUCTION NO. 8:

                   All policies and practices related to compensation for HQ employees. This request

            includes setting of starting and subsequent salary, salary ranges for all job groupings, Two Times

            Pay, equity, PSP Bonuses, and consideration of prior compensation when setting starting

            compensation. For PSP Bonuses, this request includes documents sufficient to describe all

            formulas and components of any PSP Bonus calculated that Nike has used for HQ employees,

            including Team Award, Discretionary Award, Time in Plan, Weighted Achievement, Fiscal

            Earnings, ½ Band Target, and Performance Modifier as well as the applicable percentages

            applicable to each band level for the PSP calculation. This request also includes: (a) all related

            trainings and training materials for employees, managers, and/or HR; and (b) documents

            identifying persons involved with disseminating, implementing, monitoring, and enforcing these

            policies and practices. The time-period for this request is January 1, 2010 to the present.

            REQUEST FOR PRODUCTION NO. 9:

                   All policies and practices related to the assignment of HQ employees to job positions,

            including new hires, reassignments, promotions or lateral moves. This request includes (a) all

            policies and practices concerning any training or change in compensation related to

            reassignments or lateral moves; (b) all related trainings and training materials for employees,



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            managers, and/or HR; and (c) documents identifying persons involved with disseminating,

            implementing, monitoring, and enforcing these policies and practices. The time-period for this

            request is January 1, 2010 to the present.

            REQUEST FOR PRODUCTION NO. 10:

                   All policies and practices concerning workplace complaints (including those submitted to

            Matter of Respect, AlertLine or otherwise). This request includes (a) the processes for

            submitting or collecting complaints; (b) investigations of workplace complaints; (c) proposed

            and enacted responses to workplace complaints, including information contained in "Next

            Steps," "Suggested Questions," or any other documents used or supposed to be used by HR

            and/or managers; (d) all related trainings and training materials for employees, managers, and/or

            HR; and (e) documents identifying persons involved with disseminating, implementing,

            monitoring, and enforcing these policies and practices.

            REQUEST FOR PRODUCTION NO. 11:

                   All documents and communications relating to any HQ executive's involvement in the

            setting or review of any policies or practices concerning HQ employees and any of the

            following: (a) compensation; (b)job assignment; (c)job applications and decisions onjob

            applications for new hires, lateral moves, and promotions, including collection and use of prior

            compensation and work experience; (d) performance evaluations; (e) CFE ratings; (f) Potential

            Appraisal; (g) promotions; or (h) workplace complaints (including those submitted to Matter of

            Respect, AlertLine or otherwise) about sex discrimination or other discrimination, including any

            investigations or responses to such complaints.

            REQUEST FOR PRODUCTION NO. 12:

                   All descriptions or analyses of job groupings at Nike HQ, including Nike's Employee



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            Relations and Total Rewards business units. This request includes (a) for each job grouping, all

            documents containing descriptions, qualifications, requirements, or tasks; (b) any audit, report,

            transition-plan, or analysis concerning any job grouping, including any such documents related

            to any reorganization involving HQ employees or HQ executives who are directly reported to;

            (c) all related trainings and training materials for employees, managers, and/or HR; and (d)

            documents identifying persons involved with developing and/or implementing these job

            grouping descriptions and/or analyses.

            REQUEST FOR PRODUCTION NO. 13:

                   Organizational charts, lists or descriptive documents that identify Nike's organizational

            structure at Nike HQ throughout the covered period. This request includes (a) all direct reporting

            lines to or from all HQ employees; (b) all direct reporting lines to and from all HQ executives

            who are directly reported to; (c) the identities and office locations of HQ executives; (d) for each

            job grouping, the identity of all people at Nike HQ who are both assigned to a job grouping and

            are either: (i) in the Total Rewards business unit; (ii) in the Employee Relations business unit; or

            (iii) an HQ executive who is directly reported to; (e) the organizational structure of HR; and (f)

            the organizational structure of employees responsible for information technology or electronic

            information.

            REQUEST FOR PRODUCTION NO. 14:

                   Documents that relating to all job codes for positions at Nike HQ held by any HQ

            employee. This request includes: (a) definitions or descriptions of such job codes, (b) how job

            codes relate to any job grouping; (c) all factors impacting job codes (e.g., "individual

            contributor" and "manager") or impacted by job codes; and (d) documents that identify persons

            involved with the creation, combination, change, evaluation, and analysis of these job codes.



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            REQUEST FOR PRODUCTION NO. 15:

                   All versions of any standard form used to create any job description and each job

            description for any job at Nike HQ that was filled by any HQ employee.

            REQUEST FOR PRODUCTION NO. 16:

                   All documents and communications containing or referring to any allocation,

            distribution, comparison or analysis of men and women at Nike HQ within or across any job

            grouping. This request includes all documents and underlying data relating to studies, reviews,

            analyses, surveys, compilations, or audits related to the effect or impact that any of the following

            Nike policies or practices that apply to HQ employees has had on female HQ employees: (a)

            compensation; (b) job assignment; (c) job applications and decisions on job applications for new

            hires, lateral moves, and promotions, including collection and use of prior compensation and

            work experience; (d) performance evaluations; (e) CFE ratings; (f) Potential Appraisal; and/or

            (g) promotions. This request also includes the document or communication issued on or about

            April 2017 by David Ayre or HR referring to pay equity, or any review, analysis, or summary of

            pay equity. This request also includes any analyses, studies, reports, or other documents related

            to the evaluation of, pursuant to the provisions of the Uniform Guidelines, whether any

            employment or selection practice had an adverse impact on female employees. This request also

            includes any annual reviews of pay and promotion practices conducted as part of Nike's

            commitment to and signing of the White Equal Pay Pledge as described in Nike's FY16/17

            Sustainable Business Report (page 56). The time-period for this request is January 1, 2010 to

            the present.

            REQUEST FOR PRODUCTION NO. 17:

                   All documents and communications related to any validation study or studies for policies



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            or practices that apply to HQ employees and relate to any of the following: (a) compensation; (b)

            job assignments; (c) job applications and decisions on job applications for new hires, lateral

            moves, and promotions, including collection and use of prior compensation and work

            experience; (d) performance evaluations; (e) CFE ratings; (:f) Potential Appraisal; and/or (g)

            promotions. This request includes:

                   a.      All documents specified or described in the documentation section, 29 C.F .R. §

                   1607.15 or otherwise in the Uniform Guidelines;

                   b.      All documents showing that Nike conducted "an investigation of suitable

                   alternative procedures" that would have less or no adverse impact than any procedures

                   used "and suitable methods of using the selection procedure which have as little impact

                   as possible .... " 29 C.F.R. § 1607.3B.

            The time-period for this request is January 1, 2010 to the present.

            REQUEST FOR PRODUCTION NO. 18:

                   If Nike contends that any of the following policies or practices that apply to HQ

            employees are job-related or consistent with business necessity, produce all documents and

            communications supporting that contention. This request includes the following policies and

            practices: (a) compensation; (b) job assignment; (c) job applications and decisions on job

            applications for new hires, lateral moves, and promotions, including collection and use of prior

            compensation and work experience; (d) performance evaluations; (e) CFE ratings; (:f) potential

            appraisal; and (g) promotions. The time-period for this request is January 1, 2010 to the present.

            REQUEST FOR PRODUCTION NO. 19:

                   All documents and communications related to any job analysis conducted by Nike for

            any position held by HQ employees. The time-period for this request is January 1, 2010 to the



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            present.

            REQUEST FOR PRODUCTION NO. 20:

                   All documents and communications relating to any action Nike has undertaken or

            considered to address any disparities or potential disparities between male and female HQ

            employees relating to (a) compensation; (b) job assignment; (c) job applications and decisions on

            job applications for new hires, lateral moves, and promotions, including collection and use of

            prior compensation and work experience; (d) performance evaluations; (e) CFE ratings; (f)

            potential appraisal; and (g) promotions.

            REQUEST FOR PRODUCTION NO. 21:

                   All documents and communications related to any HQ executive's involvement with,

            decision about or review of any HQ employee's CFE rating and/or any HQ employee's CFE

            rating-related compensation, including salary increases, equity distributions or PSP Bonuses.

            REQUEST FOR PRODUCTION NO. 22:

                   All documents and communications concerning the preparation for, conducting of, or

            reporting about calibration meetings. This request includes (a) all related trainings and training

            materials for employees, managers, and/or HR; and (b) documents identifying persons involved

            with these calibration meetings.

            REQUEST FOR PRODUCTION NO. 23:

                   All documents and communications relating to the creation or allocation of budgets that

            Nike uses for HQ employees' compensation, including CFE ratings-related compensation. This

            request includes all documents and communications concerning the creation of such budgets,

            providing or assigning any part of such budgets to any job grouping or decisions about

            allocations of such budgets to any HQ employee.



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            REQUEST FOR PRODUCTION NO. 24:

                   All documents and communications concerning Two Times Pay for any HQ employee

            and containing or referring to any analyses by any person in HR, recommendations by any

            person in HR or HQ executive, or any determinations or reviews by a HQ executive.

            REQUEST FOR PRODUCTION NO. 25:

                   For any proposed promotion or application for promotion of a HQ employee that was

            provided to any HQ executive, all documents and communications concerning such proposed

            promotion or application for promotion. This request includes documents and communications

            concerning any changes to compensation that relate to such promotion or potential promotion.

            REQUEST FOR PRODUCTION NO. 26:

                   All policies and practices relating to sex discrimination affecting employees at Nike HQ.

            This request includes the (a) Harassment-Zero tolerance policy, Zero Tolerance, Playing Fair,

            and A Matter of Respect; (b) all related trainings and training materials for employees, managers,

            and/or HR; and (c) documents identifying persons involved with disseminating, implementing,

            monitoring, and enforcing these policies and practices.

            REQUEST FOR PRODUCTION NO. 27:

                   All complaints, allegations, reports, investigations, recommended responses to

            complaints, and enacted responses to complaints relating to sex discrimination at Nike HQ.

            REQUEST FOR PRODUCTION NO. 28:

                   All documents and communications relating to the involvement of any HQ executive in

            any decision or review related to any complaint of sex discrimination at Nike HQ.

            REQUEST FOR PRODUCTION NO. 29:

                   All documents and communications related to sex discrimination that were provided by



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            or to any HQ executive or member of Nike's board of directors, including minutes, agendas, and

            reports.

            REQUEST FOR PRODUCTION NO. 30:

                       All policies and practices relating to the orientation and/or on-boarding process of HQ

            employees. This request includes: (a) all related trainings and training materials for employees,

            managers, and/or HR; and (b) documents identifying persons involved with disseminating,

            implementing, monitoring, and enforcing these policies and practices.

            REQUEST FOR PRODUCTION NO. 31:

                       All of Nike's employee manuals or handbooks, including all documents contained on

            Nike's Me Portal.

            REQUEST FOR PRODUCTION NO. 32:

                       All policies and practices relating to the retention, preservation, backing-up/archiving or

            destruction of documents, computer data, system data, and email files. This includes (a) the

            creation, maintenance, access, and storage of archived and backup files or data; and (b) on-site or

            off-site storage of documents.

            REQUEST FOR PRODUCTION NO. 33:

                       Nike-created maps and/or documents sufficient to identify the location of all Nike HQ

            buildings.

            REQUEST FOR PRODUCTION NO. 34:

                       Documents sufficient to show all job descriptions and responsibilities for any of the

            following people: (a) Trevor Edwards; (b) David Ayre; (c) Jayme Martin; (d) Gino Fisanotti; (e)

            Daniel Tawiah; (f) Steve Lesnard; (g) Simon Pestridge; (h) Vikrent Sing; (i) Antoine Andrews;

            G) Greg Thompson; (k) Helen Kim; (1) Tommy Kain; (m) Jack Gold; (n) Josh Simon; or (o) Kris


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            Aman. For each such person, the time-period for this request is from July 1, 2013 to the present.

            REQUEST FOR PRODUCTION NO. 35:

                    All documents and communications related to any workplace complaints (including

            those submitted to Matter of Respect, AlertLine or otherwise) or investigation concerning any of

            the following people at any time between January 2010 to the present: (a) Trevor Edwards; (b)

            David Ayre; (c) Jayme Martin; (d) Gino Fisanotti; (e) Daniel Tawiah; (f) Steve Lesnard; (g)

            Simon Pestridge; (h) Vikrent Sing; (i) Antoine Andrews; G) Greg Thompson; (k) Helen Kim; (1)

            Tommy Kain; (m) Jack Gold; (n) Josh Simon; or (o) Kris Aman. This request includes all

            documents and communications related to responses to any such investigations or complaints,

            such as documents gathered, remedial action, reports, and recommendations.

            REQUEST FOR PRODUCTION NO. 36:

                    Documents and communications sufficient to show that Nike was considering or

            planning for Trevor Edwards as the next CEO of Nike. This request includes documents and

            communications sufficient to identify the considerations and bases for any decision to award a

            retention bonus to Trevor Edwards.

            REQUEST FOR PRODUCTION NO. 37:

                    All documents and communications related to the discipline, resignation, separation, or

            discharge of any of the following people: (a) Trevor Edwards; (b) David Ayre; (c) Jayme Martin;

            (d) Daniel Tawiah; (e) Steve Lesnard; (f) Simon Pestridge; (g) Vikrent Sing; (h) Antoine

            Andrews; (i) Greg Thompson; G) Helen Kim; (k) Tommy Kain; (1) Jack Gold; or (m) Kris

            Aman.

            REQUEST FOR PRODUCTION NO. 38:

                    All documents and communications related to the promotion of any of the following to



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            Vice-President, including any documents or communications provided to or by any person

            involved in the decisions to promote: (a) Trevor Edwards; (b) David Ayre; (c) Jayme Martin; (d)

            Gino Fisanotti; (e) Daniel Tawiah; (f) Steve Lesnard; (g) Simon Pestridge; (h) Vikrent Sing; (i)

            Antoine Andrews; G) Greg Thompson; (k) Helen Kim; (1) Tommy Kain; (m) Jack Gold; or (n)

            Kris Aman.

            REQUEST FOR PRODUCTION NO. 39:

                   All documents and communications related to any document created, edited, reviewed,

            signed, or sent by Monique Matheson around April 2018 that contained any reference to "bias,"

            the "hiring process," prior compensation history, or any potential disparities in pay or

            promotions. This request includes this document and all versions of this document.

            REQUEST FOR PRODUCTION NO. 40:

                   All documents and communications related to any communications with reporters during

            the period of March 1, 2018 to the present that relate to the allegations in this action. This

            request includes any transcripts, notes, or documents prepared before, during, or after such

            statements or discussions. This request also includes any such documents and communications

            related to either of the following statements made to the New York Times: (a) "an insular group

            of high-level managers;" or (b) "protected each other and looked the other way."

            REQUEST FOR PRODUCTION NO. 41:

                   All documents and communications related to the document or communication sent by,

            or on behalf of, Nike's CEO around March 15, 2018 that included any of the following

            statements: (a) "Over the past few weeks, we've become aware ofreports of behavior occurring

            within our organization that do not reflect our core values of inclusivity, respect and

            empowerment;" (b) "we are going to be doing a comprehensive review of our HR systems and



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            practices along with elevating our complaint process for matter of respect issues;" (c) "we will

            also create a mandatory manager training program so that everyone understands what we expect

            and what they need to do to reinforce our core values;" (d) "in light of my desire to accelerate

            change, I've made the decision to restructure my leadership team into a different alignment that

            will allow for closer management and a sharper focus on our culture;" or (e) "Trevor Edwards

            has decided to resign as Nike Brand President and will retire in August." This request includes

            all versions of this document or communication, any documents or communications from or to

            any HQ executive, member of Nike's board of directors, or person in HR related to this

            document or communication.

            REQUEST FOR PRODUCTION NO. 42:

                   All documents and communications related to any speech by Nike's CEO's around May

            3, 2018 that included any of these statements: (a) "that underserved us in recent years;" (b)

            "restore trust in places where it has eroded;" (c) "we are looking into every concern;" or (d) that

            Nike needs to change its hiring, compensation, or promotion systems. This request includes all

            transcripts and recordings of the speech containing these statements, any documents or

            communications considered, reviewed, or created in preparation for the speech, and documents

            summarizing the speech. This request also includes any documents or communications related to

            the speech and created, sent, or finalized after the speech by any HQ executive or person in HR.

            REQUEST FOR PRODUCTION NO. 43:

                   All documents and communications related to the drafting of any of the below statements

            in Nike's FY16/17 Sustainable Business Report, including all versions of these statements and

            all documents and communications considered for, relied upon for, or concerning any of these

            statements. This request includes documents showing all policies and practices related any of



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            the following statements.

                           a.      "In early 2018, we became aware ofreports of behavior within our

            organization that did not reflect our core values of inclusivity, respect, and empowerment" (page

            55);

                           b.      "We took swift action, committing to a wide-ranging approach to evolving

            our culture, transforming how we approach leadership, and investing in programs to unlock and

            accelerate us toward an environment that is more inclusive and empowering" (page 55);

                           c.      "we announced an overall review of our HR systems and practices, while

            elevating our confidential complaint process" (page 55);

                           d.      "We engage and inspire our workforce by offering opportunities for

            career growth and development, in addition to providing equitable and competitive pay and

            benefits" (page 55);

                           e.      "We created a mandatory manager training that reinforces the role of

            respect, inclusion, and accountability that will roll out to people managers globally in 2018. We

            also increased our investment in leadership training and accountability" (page 55);

                           f.      "remove bias from critical moments of the hiring process by creating more

            inclusive job descriptions, enabling blind resume reviews, eliminating the collection of candidate

            salary history, and using data to inform hiring decisions" (page 56);

                           g.      "At NIKE, we define pay equity as equal compensation for women, men,

            and all races/ethnicities who undertake the same work at the same level, experience, and

            performance - and this methodology aligns with top tier global companies" (page 56);

                           h.      "NIKE' s FYI 7 data show that for every $1 earned by men, women

            globally earned 99.9 cents" (page 56);



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                           1.      "We will move to a new team-based PSP (Performance Sharing Plan)

            bonus award to accelerate our culture to reward behaviors that reinforce teamwork and

            collaboration" (page 57);

                           J.      "There are three ways to increase representation - promotion, retention,

            and hiring- and we're working through strategic initiatives and action plans to enable each of

            them" (page 57); and

                           k.      Any of these initiatives: "FY19: Global Pay Equity," "FY19: New Bonus

            Structure," "FYl 9: Representative Accountability," "FYl 9: Diverse Talent Investment," "FYl 9:

            New Mentoring Program," "FY19: Unconscious Bias Awareness Training," "FY19: Manager

            Training," and "FY19: Immersive Executive Development." (pages 56-57).

                           1.      With respect to Nike signing the White Equal Pay Pledge (page 56):

            "declaring our commitment to review pay and promotion practices annually" and "ensure that

            women and men who undertake the same work at the same level are equitably compensated."

            REQUEST FOR PRODUCTION NO. 44:

                   All documents and communications related to the email from Mini Cypers, Regional

            Director Pacific Northwest, Anti-Defamation League, to Nike on February 12, 2018 that was

            sent to Steve.Connors@Nike.com, Alycia.Gongazlez@Nike.com,

            Monique.Matheson@Nike.com, and Kori.Vyse@Nike.com. This request includes any responses

            to this letter, any documents related to any investigation of any of the letter's allegations, and any

            remedial actions, including with respect to Phil Hodgson.

            REQUEST FOR PRODUCTION NO. 45:

                   All documents and communications related to any letter or other communication from

            Nikki Neuburger that was sent or provided to Nike's CEO that relating to sex discrimination at



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            Nike HQ.

            REQUEST FOR PRODUCTION NO. 46:

                   All documents and communications related to any survey, letter, other document, or other

            communication containing information or data concerning multiple female HQ employees and

            any sex discrimination at Nike HQ. This request includes any documents or communications

            titled or otherwise referred to as "My Experience" or "Starfish."

            REQUEST FOR PRODUCTION NO. 47:

                   All documents and communications related to any statements made around June or July

            2018 by Nike or Illana Finley to any reporter about pay equity, compensation, or pay analyses,

            including the following statements: (a) "strive to meet the diverse needs of our employees,

            deliver differentiated, competitive pay and benefits, and support a culture in which employees

            feel included and empowered;" (b) changes to Nike's pay and rewards; competitive pay

            adjustments; annual pay analysis; a deeper pay analysis of all Nike roles in 2018; (c) "as a result,

            we are making adjustments to some employee pay;" (c) Nike's definition of pay equity; (d) "we

            will maintain focus, driving with 1: 1 as our goal for both every year," (e) "we will monitor this

            data on an ongoing basis;" (f) "going forward, one PSP will measure success based primarily on

            companywide performance," (g) and bonus payouts were determined by a combination of

            company, team and individual performance. This request includes any documents or

            communications considered, reviewed, or created in preparation for these interviews or

            discussions, documents summarizing these interviews or discussions, and any communications

            sent about or in response to these interviews or discussions.

            REQUEST FOR PRODUCTION NO. 48:

                   All documents and communications that: (a) were provided to or by any HQ executive or



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            person in HR; and (b) show, discuss, analyze, or propose any formulation, description, or

            definition of pay equity between men and women that Nike has created, used, or considered.

            The time-period for this request is January 1, 2010 to the present.

            REQUEST FOR PRODUCTION NO. 49:

                      All documents and communications submitted to or received from the Equal

            Employment Opportunity Commissions, Office of Federal Contract Compliance Programs,

            Oregon's Bureau of Labor and Industries, or any other governmental agency relating to a claim,

            charge, or complaint of sex discrimination made by or on behalf of any woman who worked at

            Nike HQ.

            REQUEST FOR PRODUCTION NO. 50:

                      All signed witness statements relating to any of the claims or defenses in this action.

            REQUEST FOR PRODUCTION NO. 51:

                      Any insurance policy, contract, or agreement that may apply to any of the claims in this

            action.

            REQUEST FOR PRODUCTION NO. 52:

                      For each plaintiff, all documents and communications that are responsive to Oregon's

            personnel Records Request law, ORS 652,750, including all documents that "are used or have

            been used to determine:" the employee's qualification for employment, promotions, additional

            compensation, or employment termination or disciplinary action. For each plaintiff, the time-

            period for this request is from when the plaintiff first applied to work at Nike to the present.

            REQUEST FOR PRODUCTION NO. 53:

                      For each plaintiff, all documents and communications related to all compensation from

            Nike that was received, considered, or proposed at any time. This request includes all documents



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            and communications related to compensation received prior to Nike hiring them as an employee.

            This request also includes all documents and communications related to both: (a) any offer from

            Nike; and (b) any negotiation or request to negotiate starting salary or other employment-related

            terms. This request also includes also includes Personal Pay Statements. For each plaintiff, the

            time-period for this request is from when the plaintiff first started working at Nike to the present.

            REQUEST FOR PRODUCTION NO. 54:

                    For each plaintiff, all documents and communications related to any promotion applied

            for, considered for, or received at any time. For each such promotion, this request includes the

            position's job description, other documents containing job duties, job grouping, and

            compensation. This request also includes documents sufficient to identify the persons who

            applied, interviewed, and/or were chosen for the promotion. For each plaintiff, the time-period

            for this request is from when the plaintiff first started working at Nike to the present.

            REQUEST FOR PRODUCTION NO. 55:

                    For each plaintiff, all job descriptions and other documents containing job duties for

            positions they held at Nike HQ. For each plaintiff, the time-period for this request is from when

            the plaintiff first started working at Nike to the present.

            REQUEST FOR PRODUCTION NO. 56:

                    For each plaintiff, all final CFEs, mid-year CFEs, and Potential Appraisals. For each

            plaintiff, the time-period for this request is from when the plaintiff first started working at Nike

            to the present.

            REQUEST FOR PRODUCTION NO. 57:

                    For each plaintiff, documents sufficient to show the identity of all HQ employees in: (a)

            each plaintiff's job grouping; (b) who directly reported to plaintiff; (c) who plaintiff directly



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            reported to; or (d) who had any of the same direct reports as plaintiff at the same time as plaintiff

            or within one year before or after plaintiff held a position. For each plaintiff, the time-period for

            this request is from when the plaintiff first started working at Nike to the present.

            REQUEST FOR PRODUCTION NO. 58:

                    For each plaintiff, all documents and communications related to any investigation related

            to any plaintiff, including all documents and communications related to any complaint received

            by Nike (including through HR, Matter of Respect, or AlertLine) that was made by, made about,

            or related to plaintiff. This request includes documents and communications related to any such

            complaints, including investigations, documents gathered, witness statements, remedial action,

            reports, and recommendations. For each plaintiff, the time-period for this request is from when

            the plaintiff first started working at Nike to the present.

            REQUEST FOR PRODUCTION NO. 59:

                    For each plaintiff who is not currently a HQ employee, all documents and

            communications related to the separation of plaintiff, including documents and communications

            related to any exit interview. For each such plaintiff, the time-period for this request is from

            when the plaintiff first started working at Nike to her date of separation, unless responsive

            documents and communications post-dating separation exist.

            REQUEST FOR PRODUCTION NO. 60:

                    For plaintiff Anderson, all documents and communications related to her demotion from

            an E-Band or Director position to a U-Band or Manager position. This request includes all

            documents and communications created by, sent by, or sent to Daniel Tawiah, any person in HR,

            or any HQ executive. The time-period for this request is from when plaintiff Andersen first

            started working at Nike to the present.



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            REQUEST FOR PRODUCTION NO. 61:

                   From June 28, 2018 to the present, all documents and communications mentioning or

            referring to EEOC charges relating to this action, this action or any plaintiffs or person's

            involvement with either.

            REQUEST FOR PRODUCTION NO. 62:

                   All documents and communications related to both: (a) Shawn Hoy or Sean Cahill; and

            (b) compensation, any promotions applied for, employment status, separation, contractor status

            or this action. This request includes any recording of a conversation between Sean Cahill and

            any person at Nike during the period of August 15, 2018 through August 31, 2018 that was made

            during a call to the phone number on the notice of preservation sent to Mr. Cahill on August 15,

            2018. This request also includes documents sufficient to identify each person who was sent

            substantially the same notice of preservation that was sent to Mr. Cahill on August 15, 2018.

            REQUEST FOR PRODUCTION NO. 63:

                   All documents and communications related to plaintiff Hender and her job assignments,

            this action, job performance, evaluation, compensation or promotions.



              Dated: March 22, 2019                    Respectfully submitted,



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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION


 KELLY CAHILL et al., individually and on      Case No. 3:18-cv-01477-JR
 behalf of others similarly situated,

                      Plaintiffs,

 v.                                            DEFENDANT NIKE, INC.’S
                                               OBJECTIONS AND RESPONSES TO
                                               PLAINTIFFS’ FIRST SET OF
                                               REQUESTS FOR PRODUCTION

 NIKE, INC., an Oregon Corporation,

                      Defendant(s).




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TO PLAINTIFFS KELLY CAHILL, AND SARA JOHNSTON, LINDSAY ELIZABETH,
AND HEATHER HENDER, AND TO THEIR ATTORNEYS OF RECORD:
         Defendant Nike, Inc. (“Defendant” or “Nike”) hereby objects and otherwise responds to
Plaintiffs’ First Set of Requests for Production as follows:



                            NIKE’S PRELIMINARY STATEMENT
         1.     Nike has not completed its investigation relating to this action, has not completed

discovery in this action, and has not completed preparation for trial. As discovery proceeds,
facts, information, evidence, documents, and things may be discovered that are not set forth in

these responses, but which may have been responsive to Plaintiffs’ Requests. The following
responses are based on Nike’s knowledge, information, and belief at this time. Nike assumes no

obligation to voluntarily supplement or amend these responses to reflect information, evidence,

documents or things discovered following service of these responses. Furthermore, these
responses were prepared based on Nike’s good faith interpretation and understanding of the
individual Requests and are subject to correction for inadvertent errors or omissions, if any.

These responses are given without prejudice to subsequent revision or supplementation based

upon any information, evidence and documentation that hereinafter may be discovered. Nike
reserves the right to refer to, to conduct discovery with reference to, or to offer into evidence at

the time of trial, any and all facts, evidence, documents and things developed during the course
of discovery and trial preparation, notwithstanding the reference to facts, evidence, documents

and things in these responses.
         2.     To the extent that any Request seeks documents that are also sought by or

identified pursuant to any other Request, Nike declines to produce or identify multiple copies of

such documents, and states that each document produced pursuant to any Request is also
produced pursuant to every other Request to which it is or may be responsive.




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         3.    To the extent that any Request seeks documents that have already been produced,
or which have been identified as exhibits to any depositions in this action, Nike declines to
produce or identify such documents.
         4.    To the extent that any Request seeks documents that are protected by the attorney-

client privilege and/or attorney work product doctrine, or any other applicable privilege or
immunity, Nike declines to produce such documents, which would include and would not be

limited to:
               (a)      All documents that constitute or record correspondence or other

communications between counsel for Nike or its agents or employees and Nike or its agents or

employees regarding this action;

               (b)      All documents prepared for use in this or other litigation including notes,

memoranda, draft pleadings and correspondence prepared by, at the direction of, or for review by
counsel for Nike; and

               (c)      All documents that constitute or record correspondence or other

communications between Nike and counsel for Nike regarding this or any other action.
         5.    As noted in Nike’s specific objections below, Plaintiffs’ Requests are overly

broad, not proportional to the needs of the case, and/or seek information that is not reasonably
accessible because of undue burden or cost. Nike further objects to the Requests on the ground

that the parties should work together to phase or prioritize discovery in a manner that is
proportional to the needs of the case, particularly given that this is a collective and class action.

Subject to and without in any way waiving its objections, Nike will meet and confer with
Plaintiffs to determine what specific documents are sought, and to determine whether the scope

of the Requests can be narrowed to a reasonable set of relevant documents based on the claims at

issue in this litigation and prioritized accordingly.
         6.    Nike objects to Plaintiffs’ Requests to the extent that they seek confidential and
personal identifying information pertaining to individuals who are not parties to this action, the



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disclosure of which would constitute an unwarranted invasion of the affected individuals’
constitutional, statutory, and/or common law rights to personal privacy and confidentiality.
         7.    Nike objects to Plaintiffs’ Requests to the extent that they are premature, as
discovery in this case has just begun, the Court has not yet entered a final order on Nike’s

Motion to Dismiss, and Nike has not yet answered Plaintiffs’ Complaint. Furthermore, Nike is
still investigating Plaintiffs’ claims and is not yet aware of all documents that it may use to

support its defenses.
         8.    As Plaintiffs are aware, the parties have met and conferred regarding, among

other things, a Joint ESI Stipulation (“ESI Stipulation”). That ESI Stipulation has not yet been

filed with, or entered by, the Court. Nike objects to the Requests to the extent they may be

inconsistent with the ESI Stipulation, and to the extent the ESI Stipulation has not been entered

by the Court. In addition, the parties have met and conferred regarding a proposed stipulated
Protective Order (“Protective Order”) and have been unable to reach agreement regarding the

appropriate form of Protective Order for this case. Nike further objects to the Requests to the

extent that they seek production of documents in the absence of the entry of a Protective Order,
and to the extent, where appropriate, an appropriate confidentiality designation has not been, or

cannot be, applied without a Protective Order. Finally, because this is a class and collective
action lawsuit involving potentially hundreds or thousands of employees, and personnel and pay

decisions made in connection with putative class members and their comparators, and because
the Requests seek sensitive, private, and/or confidential data, Nike objects to the Requests to the

extent they seek production of documents in the absence of a Data Handling Agreement or
stipulation governing the transmission, retransmission, storage, handling, or access of such

materials.




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    NIKE’S OBJECTIONS TO PLAINTIFFS’ INSTRUCTIONS AND DEFINITIONS
         1.    Nike objects to Plaintiffs’ Instructions to the extent that they conflict with the

Federal Rules of Civil Procedure, the Court’s Local Rules, the parties’ agreed ESI Stipulation, or
any other applicable rule or order that may be entered by the Court.
         2.    Nike objects to Plaintiffs’ Instruction regarding “[c]onsistent unique identifier” to
the extent it calls for Nike to create documents solely for purposes of this litigation that are not

maintained in the usual course of business, and/or to the extent it calls for Nike to alter or
augment documents for the purpose of complying with this Instruction.

         3.    Nike objects to Plaintiffs’ Definition of “Compensation,” and to each and every
Request that incorporates this term, on the grounds that it is vague and ambiguous as to “transfer

of money” and “other thing of value.” Nike further objects to this Definition on the grounds that

it assumes facts regarding Nike’s business policies and procedures that have not been confirmed
or denied by Nike and, as a result of which, may not be accurate or complete.

         4.    Nike objects to Plaintiffs’ Definitions of “Direct reporting,” “Directly Reported,”
and “Directly Report,” and to each and every Request that incorporates any of these terms, on the

grounds that they are vague and ambiguous as to “formal,” “supervision,” “direct and dotted line
reporting,” and “accountability.” Nike further objects to this Definition on the grounds that it

assumes facts regarding Nike’s business policies and procedures that have not been confirmed or

denied by Nike and, as a result of which, may not be accurate or complete.
         5.    Nike objects to Plaintiffs’ Definition of “HQ Employees,” and to each and every

Request that incorporates this term, on the grounds that it is vague and ambiguous as to “at Nike
HQ,” “salaried, corporate position,” “was or is a lower-level position,” and “Legal or Finance
departments.” Nike further objects to this Definition as overly broad to the extent that it includes

employees outside of Plaintiffs’ class or collective definitions, or purports to include independent
contractors, temporary workers, or other individuals not employed by Nike. Nike further objects

to this Definition on the grounds that it assumes facts regarding Nike’s business policies and



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procedures that have not been confirmed or denied by Nike and, as a result of which, may not be
accurate or complete.
         6.    Nike objects to Plaintiffs’ Definition of “HQ Executives,” and to each and every

Request that incorporates this term, on the grounds that it is vague and ambiguous as to “other
job title that is as or more or senior than” and “at the same or higher.” Nike further objects to
this Definition as overly broad to the extent that it includes employees outside of Plaintiffs’ class

or collective definitions, or purports to include independent contractors, temporary workers, or
other individuals not employed by Nike. Nike further objects to this Definition on the grounds

that it assumes facts regarding Nike’s business policies and procedures that have not been
confirmed or denied by Nike and, as a result of which, may not be accurate or complete.

         7.    Nike objects to Plaintiffs’ Definition of “HR,” and to each and every Request that
incorporates this term, on the grounds that it is vague and ambiguous as to “business unit[s],”
“business unit,” “reports to,” and “in charge of.” Nike further objects to this Definition on the

grounds that it assumes facts regarding Nike’s business policies and procedures that have not
been confirmed or denied by Nike and, as a result of which, may not be accurate or complete.
         8.    Nike objects to Plaintiffs’ Definition of “Job Grouping,” and to each and every
Request that incorporates this term, on the grounds that it is vague and ambiguous as to
“grouping or organization,” “job sub-family,” “pipeline,” “business unit,” and “category.” Nike
further objects to this Definition on the grounds that it assumes facts regarding Nike’s business

policies and procedures that have not been confirmed or denied by Nike and, as a result of
which, may not be accurate or complete.

         9.    Nike objects to Plaintiffs’ Definition of “Policies,” and to each and every Request
that incorporates this term, on the grounds that it is vague and ambiguous as to “policies, rules,
directives, protocols, and procedures.” Nike further objects to this Definition on the grounds that

it assumes facts regarding Nike’s business policies and procedures that have not been confirmed
or denied by Nike and, as a result of which, may not be accurate or complete.



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         10.   Nike objects to Plaintiffs’ Definition of “Potential Appraisal,” and to each and
every Request that incorporates this term, on the grounds that it is vague and ambiguous as to
“assessment” and “potential for advancement.” Nike further objects to this Definition on the
grounds that it assumes facts regarding Nike’s business policies and procedures that have not

been confirmed or denied by Nike and, as a result of which, may not be accurate or complete.
         11.   Nike objects to Plaintiffs’ Definition of “Practices,” and to each and every

Request that incorporates this term, on the grounds that it is vague and ambiguous as to
“systematic processes or established, recognized, habitual, customary, usual, regular, or

prescribed practices for achieving certain ends.” Nike further objects to this Definition on the

grounds that it assumes facts regarding Nike’s business policies and procedures that have not

been confirmed or denied by Nike and, as a result of which, may not be accurate or complete.

         12.   Nike objects to Plaintiffs’ Definition of “PSP Bonus,” and to each and every
Request that incorporates this term, on the grounds that it is vague and ambiguous as to “any

other bonuses awarded and related to CFE ratings.” Nike further objects to this Definition on the

grounds that it assumes facts regarding Nike’s business policies and procedures that have not
been confirmed or denied by Nike and, as a result of which, may not be accurate or complete.

         13.   Nike objects to Plaintiffs’ Definition of “Sex Discrimination,” and to each and
every Request that incorporates this term, on the grounds that it is vague and ambiguous in its

entirety. Nike further objects to this Definition on the grounds that it incorporates terms,
including legally defined terms, which are irrelevant to Plaintiffs’ class and collective claims of

unfair pay, promotion, and job channeling on the basis of sex.




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                NIKE’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                                REQUESTS FOR PRODUCTION
DOCUMENT REQUEST NO. 1:
         Documents that identify the following for each HQ employee who has worked for Nike at

any time during the covered period: (a) identity, including name, employee ID (or similar unique

identifier assigned by Nike), current position, and job grouping; (b) complete compensation
history at Nike including type or component, date and amount of paid, all recorded reasons for

paid compensation and changes thereto, and inputs used to calculate compensation; (c) final CFE
ratings (also referred to as Performance Appraisals); (d) Potential Appraisal final results; (e)

complete job history at Nike, including all held position titles, job codes, all other applicable job
groupings, dates of changes in any position title or job grouping, original hire date, rehire date,
and termination date, pay codes, pay grades, and compensation at each job position or job

grouping; and (e) demographics, including sex, age, race or ethnicity, and education level; and

(f) job application data for new hires, lateral moves, and promotions, including collection and
use of prior compensation, resumes, and prior work experience. For each such HQ employee,

the time-period for this request is from when the HQ employee first started working at Nike to
the present.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 1:
         Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “HQ employee,” “job grouping,” “complete compensation history,” “type or
component,” “recorded reasons,” “compensation,” “inputs used to calculate compensation,”

“complete job history,” “Potential Appraisal,” “Potential Appraisal final results,” “applicable job
groupings,” “demographics,” “education level,” “job application data,” “lateral moves,”
“promotions,” “collection and use,” and “prior work experience.” Nike further objects to this

Request on the grounds that it is compound and appears to squeeze multiple, distinct requests
into a single Request. Nike further objects to this Request on the grounds that it is unduly

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burdensome, oppressive, and overly broad as to time and scope because (1) it seeks documents
outside of the applicable statutory period(s), and (2) it seeks confidential and personal identifying
information pertaining to individuals who are not parties to this action, and the disclosure of such
information would constitute an unwarranted invasion of the affected individuals’ constitutional,

statutory, and/or common law rights to personal privacy and confidentiality. Nike further objects
to this Request on the grounds that it seeks information that is not relevant to the subject matter

of this litigation, is not proportional to the needs of the case, and/or seeks ESI that is not
reasonably accessible because of undue burden or cost. Specifically, this Request seeks

documents identifying the names, race, and ethnicity of current and former Nike “HQ

employees,” which are irrelevant to Plaintiffs’ class and collective claims of unfair pay,

promotion, and job channeling on the basis of sex. Nike further objects to this Request to the

extent that it seeks information protected by the attorney-client privilege and/or attorney work
product doctrine. Nike further objects to this Request on the grounds that it seeks private,

privileged, and confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 2:
         Documents that identify all systems used by Nike to track, store, access information or

generate reports (e.g., Performance Rating History Report) relating to HQ employees and any of

the following: (a) compensation; (b) job history; (c) job applications and decisions on job
applications for new hires, lateral moves, and promotions; (d) performance evaluations; (e) CFE
ratings; (f) Potential Appraisal; (g) demographics (sex, age, race or ethnicity, and education

level); (h) promotions; or (i) workplace complaints about sex discrimination (including those
submitted to Matter of Respect, AlertLine or otherwise) or other discrimination, including any
investigations or responses to such complaints. The time-period for this request is January 1,
2010 to the present except for (i), which is for the covered period.




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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 2:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “identify,” “systems,” “used by,” “track, store, access information or generate
reports,” “relating to,” “HQ employees,” “compensation,” “job applications,” “decisions,”
“lateral moves,” “promotions,” “Potential Appraisal,” “demographics,” “education level,”

“workplace complaints,” “sex discrimination,” “other discrimination,” and “investigations or
responses.” Nike further objects to this Request on the grounds that it is compound and appears

to squeeze multiple, distinct requests into a single Request. Nike further objects to this Request
on the grounds that it is unduly burdensome, oppressive, and overly broad as to time and scope

because (1) it asks Nike to identify each and every location where it may collect and/or store

data, (2) it seeks documents outside of the applicable statutory period(s), and (3) it seeks
confidential and personal identifying information pertaining to individuals who are not parties to

this action, and the disclosure of such information would constitute an unwarranted invasion of
the affected individuals’ constitutional, statutory, and/or common law rights to personal privacy

and confidentiality. Nike further objects to this Request on the grounds that it seeks information
that is not relevant to the subject matter of this litigation, is not proportional to the needs of the

case, and/or seeks ESI that is not reasonably accessible because of undue burden or cost.

Specifically, this Request seeks documents identifying the race and ethnicity of current and
former Nike “HQ employees,” which are irrelevant to Plaintiffs’ class and collective claims of
unfair pay, promotion, and job channeling on the basis of sex. Nike further objects to this
Request to the extent that it seeks information protected by the attorney-client privilege and/or
attorney work product doctrine. Nike further objects to this Request on the grounds that it seeks

private, privileged, and confidential commercial, financial, and/or proprietary business
information. Nike further objects to this Request to the extent that it calls for Nike to create
documents solely for use in this litigation that are not maintained in the usual course of business

or seeks documents not within Nike’s possession, custody, or control.

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DOCUMENT REQUEST NO. 3:
       All data and content dictionaries, glossaries, reference guides, field and code definitions,

training materials, and schema documents related to Nike’s use and maintenance of data systems
covered by Request for Production Nos. 1 through 2 or any other Request herein. For purposes
of these requests, schema refers to the organization of the data system, all fields contained in the
data system, descriptions/definitions of all data fields and related tables, the source of entries for

all data fields (i.e., whether derived or calculated from another data field from the data system or
other data systems or entered by key), the types of queries and/or reports available, and input and

output mapping of the data system to other databases or data systems.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 3:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “data and content,” “dictionaries,” “glossaries,” “reference guides,” “field and

code definitions,” “training materials,” “schema documents,” “related to,” “use and
maintenance,” “data system,” “fields contained in the data system,” “data fields,” “related

tables,” “source of entries,” “derived or calculated,” “entered by key,” “types of queries and/or
reports available,” “input and output mapping,” and “other databases.” Nike further objects to

this Request on the grounds that it is premature, unduly burdensome, oppressive, and overly
broad for the reasons identified in its objections to Plaintiffs’ Requests for Production Nos. 1 and

2, which Nike incorporates by reference as though fully set forth herein. Nike further objects to
this Request on the grounds that it seeks information that is not relevant to the subject matter of
this litigation. Nike further objects to this Request on the grounds that it is not proportional to

the needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden
or cost, insofar as this Request asks Nike to produce listings of every possible report or query
that can be run or extracted from any “database” or “data system” at Nike. Nike further objects
to this Request on the grounds that it seeks private, privileged, and confidential commercial,

financial, and/or proprietary business information. Nike further objects to this Request to the

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extent that it calls for Nike to create documents solely for use in this litigation that are not
maintained in the usual course of business or seeks documents not within Nike’s possession,
custody, or control.



DOCUMENT REQUEST NO. 4:
        All policies and practices related to job offers made for HQ employee positions at Nike
HQ. This request includes: (a) collection or use of prior compensation history, including any

mechanism used to collect such history (e.g., Consumer Reporting Agency); (b) terms of offers,
including compensation; (c) band level or job assignments; (d) negotiations related to offers; (e)
all related trainings and training materials for employees, managers, and/or HR; and (f)

documents identifying persons involved with disseminating, implementing, monitoring, and

enforcing these policies and practices. The time-period for this request is January 1, 2010 to the
present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 4:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “related to,” “job offers,” “HQ employee,” “positions,”

“collection or use of,” “compensation,” “prior compensation history,” “mechanism used to
collect,” “terms of offers,” “job assignments,” “negotiations,” “related trainings and training

materials,” “managers,” “identifying,” “involved with,” “disseminating, implementing,
monitoring, and enforcing.” Nike further objects to this Request on the grounds that it is
compound and appears to squeeze multiple, distinct requests into a single Request. Nike further

objects to this Request on the grounds that it is unduly burdensome, oppressive, and overly broad
as to time and scope because (1) it seeks documents outside of the applicable statutory period(s),
and (2) it is not possible to identify and produce documents that “identif[y] persons involved
with disseminating, implementing, monitoring, and enforcing these policies and practices,” as

each and every manager and supervisor at Nike HQ has some role in monitoring and/or

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enforcing “policies and practices” related to job offers at Nike HQ. Nike further objects to this
Request on the grounds that it seeks information that is not relevant to the subject matter of this
litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably
accessible because of undue burden or cost. Nike further objects to this Request to the extent

that it seeks information protected by the attorney-client privilege and/or attorney work product
doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and

confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 5:
       All policies and practices related to performance reviews of HQ employees. This request

includes: (a) all policies and practices related to CFE ratings of HQ employees, including any
definitions of CFE ratings, curves or percentages considered for CFE ratings, proposed CFE

ratings, and final determinations of CFE ratings; (b) the effect of CFE ratings on compensation;
(c) the effect of CFE ratings on promotions; (d) the relationship among budgets, CFE ratings,

and compensation; (e) all related trainings and training materials for employees, managers,
and/or HR; and (f) documents identifying persons involved with disseminating, implementing,

monitoring, and enforcing these policies and practices. The time-period for this request is

January 1, 2010 to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 5:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “related to,” “HQ employees,” “curves or
percentages,” “considered for,” “proposed,” “final determinations,” “effect of,” “relationship

among,” “compensation,” “budgets,” “related trainings and training materials,” “managers,”
“identifying,” “involved with” and “disseminating, implementing, monitoring, and enforcing.”
Nike further objects to this Request on the grounds that it is compound and appears to squeeze

multiple, distinct requests into a single Request. Nike further objects to this Request on the

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grounds that it is unduly burdensome, oppressive, and overly broad as to time and scope because
(1) it seeks documents outside of the applicable statutory period(s), and (2) it is not possible to
identify and produce documents that “identif[y] persons involved with disseminating,
implementing, monitoring, and enforcing these policies and practices,” as each and every

manager and supervisor at Nike HQ has some role in monitoring and/or enforcing “policies and
practices” related to performance reviews of Nike “HQ employees.” Nike further objects to this

Request on the grounds that it seeks information that is not relevant to the subject matter of this
litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably

accessible because of undue burden or cost. Nike further objects to this Request to the extent

that it seeks information protected by the attorney-client privilege and/or attorney work product

doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and

confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 6:
       All policies and practices relating to promotions for HQ employees, including

Organizational Talent Planning, Accelerate, and any other promotion-related program. This
request includes: (a) all policies and practices concerning both promotions of HQ employees and

any increases in compensation; (b) any questions or requirements related to job applications that
may disqualify any job applicant from getting a position, including “Disqualification Questions”

and “Prescreening Questionnaires;” (c) all related trainings and training materials for employees,
managers, and/or HR; and (d) documents identifying persons involved with disseminating,
implementing, monitoring, and enforcing these policies and practices. The time-period for this

request is January 1, 2010 to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 6:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “policies and practices,” “relating to,” “promotions,” “HQ employees,”

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“Organizational Talent Planning,” “Accelerate,” “promotion-related program,” “concerning,”
“compensation,” “questions or requirements,” “related to,” “may disqualify,” “job applicant,”
“getting a position,” “related trainings and training materials,” “managers,” “identifying,”
“involved with” and “disseminating, implementing, monitoring, and enforcing.” Nike further

objects to this Request on the grounds that it is overly broad, compound, and appears to squeeze
multiple, distinct requests into a single Request. Nike further objects to this Request on the

grounds that it is unduly burdensome, oppressive, and overly broad as to time and scope because
(1) it seeks documents outside of the applicable statutory period(s), and (2) it is not possible to

identify and produce documents that “identif[y] persons involved with disseminating,

implementing, monitoring, and enforcing these policies and practices,” as each and every

manager and supervisor at Nike HQ has some role in monitoring and/or enforcing “policies and

practices” related to promotions of Nike “HQ employees.” Nike further objects to this Request
on the grounds that it seeks information that is not relevant to the subject matter of this litigation,

is not proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible

because of undue burden or cost. Nike further objects to this Request to the extent that it seeks
information protected by the attorney-client privilege and/or attorney work product doctrine.

Nike further objects to this Request on the grounds that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 7:
       All policies and practices concerning “Potential Appraisal” and HQ employees. This
includes: (a) all related trainings and training materials for employees, managers, and/or HR; and
(b) documents identifying persons involved with disseminating, implementing, monitoring, and

enforcing these policies and practices. The time-period for this request is January 1, 2010 to the
present.




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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 7:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “concerning,” “Potential Appraisal,” “HQ employees,”
“trainings and training materials,” “managers,” “identifying,” “involved with,” and
“disseminating, implementing, monitoring, and enforcing.” Nike further objects to this Request

on the grounds that it is compound and appears to squeeze multiple, distinct requests into a
single Request. Nike further objects to this Request on the grounds that it is unduly burdensome,

oppressive, and overly broad as to time and scope because (1) it seeks documents outside of the
applicable statutory period(s), and (2) it is not possible to identify and produce documents that

“identif[y] persons involved with disseminating, implementing, monitoring, and enforcing these

policies and practices,” as each and every manager and supervisor at Nike HQ has some role in
monitoring and/or enforcing “policies and practices” related to “Potential Appraisal” of Nike

“HQ employees,” as Nike understands these terms. Nike further objects to this Request on the
grounds that it seeks information that is not relevant to the subject matter of this litigation, is not

proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because
of undue burden or cost. Nike further objects to this Request to the extent that it seeks

information protected by the attorney-client privilege and/or attorney work product doctrine.

Nike further objects to this Request on the grounds that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 8:
        All policies and practices related to compensation for HQ employees. This request

includes setting of starting and subsequent salary, salary ranges for all job groupings, Two Times
Pay, equity, PSP Bonuses, and consideration of prior compensation when setting starting
compensation. For PSP Bonuses, this request includes documents sufficient to describe all

formulas and components of any PSP Bonus calculated that Nike has used for HQ employees,

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including Team Award, Discretionary Award, Time in Plan, Weighted Achievement, Fiscal
Earnings, 1/2 Band Target, and Performance Modifier as well as the applicable percentages
applicable to each band level for the PSP calculation. This request also includes: (a) all related
trainings and training materials for employees, managers, and/or HR; and (b) documents

identifying persons involved with disseminating, implementing, monitoring, and enforcing these
policies and practices. The time-period for this request is January 1, 2010 to the present.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 8:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “related to,” “compensation,” “HQ employees,”

“setting,” “starting and subsequent salary,” “salary ranges,” “job groupings,” “equity,”
“consideration of,” “Time in Plan,” “Weighted Achievement,” “Performance Modifier,”

“applicable percentages,” “the PSP calculation,” “PSP Bonus(es),” “related training and training

materials,” “manager,” “identifying,” “involved with,” and “disseminating, implementing,
monitoring, and enforcing.” Nike further objects to this Request on the grounds that it is
compound and appears to squeeze multiple, distinct requests into a single Request. Nike further

objects to this Request on the grounds that it is unduly burdensome, oppressive, and overly broad

as to time and scope because (1) it seeks documents outside of the applicable statutory period(s),
and (2) it is not possible to identify and produce documents that “identif[y] persons involved
with disseminating, implementing, monitoring, and enforcing these policies and practices,” as

each and every manager and supervisor at Nike HQ has some role in monitoring and/or
enforcing “policies and practices” related to “compensation.” Nike further objects to this
Request on the grounds that it seeks information that is not relevant to the subject matter of this

litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably
accessible because of undue burden or cost. Nike further objects to this Request to the extent




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that it seeks information protected by the attorney-client privilege and/or attorney work product
doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 9:
       All policies and practices related to the assignment of HQ employees to job positions,
including new hires, reassignments, promotions or lateral moves. This request includes (a) all

policies and practices concerning any training or change in compensation related to
reassignments or lateral moves; (b) all related trainings and training materials for employees,
managers, and/or HR; and (c) documents identifying persons involved with disseminating,

implementing, monitoring, and enforcing these policies and practices. The time-period for this

request is January 1, 2010 to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 9:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “related to,” “assignment of,” “HQ employees,” “new

hires,” “reassignments,” “promotions,” “lateral moves,” “concerning,” “training or change in,”
“compensation,” “trainings and training materials,” “managers,” “HR,” and “identifying,”
“involved with,” and “disseminating, implementing, monitoring, and enforcing.” Nike further

objects to this Request on the grounds that it is compound and appears to squeeze multiple,
distinct requests into a single Request. Nike further objects to this Request on the grounds that it
is unduly burdensome, oppressive, and overly broad as to time and scope because (1) it seeks

documents outside of the applicable statutory period(s), and (2) it is not possible to identify and
produce documents that “identif[y] persons involved with disseminating, implementing,
monitoring, and enforcing these policies and practices,” as each and every manager and

supervisor at Nike HQ has some role in monitoring and/or enforcing “policies and practices”
related to employee assignments. Nike further objects to this Request on the grounds that it

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seeks information that is not relevant to the subject matter of this litigation, is not proportional to
the needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden
or cost. Nike further objects to this Request to the extent that it seeks information protected by
the attorney-client privilege and/or attorney work product doctrine. Nike further objects to this

Request on the grounds that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.


DOCUMENT REQUEST NO. 10:
       All policies and practices concerning workplace complaints (including those submitted to

Matter of Respect, AlertLine or otherwise). This request includes (a) the processes for
submitting or collecting complaints; (b) investigations of workplace complaints; (c) proposed

and enacted responses to workplace complaints, including information contained in “Next
Steps,” “Suggested Questions,” or any other documents used or supposed to be used by HR

and/or managers; (d) all related trainings and training materials for employees, managers, and/or

HR; and (e) documents identifying persons involved with disseminating, implementing,
monitoring, and enforcing these policies and practices.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 10:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “policies and practices,” “concerning,” “workplace complaints,” “processes,”
“submitting or collecting,” “investigations,” “proposed and enacted responses,” “used or
supposed to be used by,” “HR,” “managers,” “related trainings and training materials,”

“identifying,” “involved with,” “disseminating, implementing, monitoring, and enforcing.” Nike
further objects to this Request on the grounds that it is compound and appears to squeeze
multiple, distinct requests into a single Request. Nike further objects to this Request on the
grounds that it is unduly burdensome, oppressive, and overly broad as to scope because it is not

possible to identify and produce documents that “identif[y] persons involved with disseminating,

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implementing, monitoring, and enforcing these policies and practices,” as each and every
manager and supervisor at Nike HQ has some role in monitoring and/or enforcing “policies and
practices” related to the handling of workplace complaints. Nike further objects to this Request
on the grounds that it seeks information that is not relevant to the subject matter of this litigation,

is not proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible
because of undue burden or cost. Specifically, this action is about pay, promotions, and

allegations of job channeling, and any alleged complaints are irrelevant to these inquiries. In
addition, the Request seeks documents regarding all types of “workplace complaints,” which also

goes well beyond the scope of this action. Nike further objects to this Request to the extent that

it seeks information protected by the attorney-client privilege and/or attorney work product

doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and

confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 11:
       All documents and communications relating to any HQ executive’s involvement in the

setting or review of any policies or practices concerning HQ employees and any of the
following: (a) compensation; (b) job assignment; (c) job applications and decisions on job

applications for new hires, lateral moves, and promotions, including collection and use of prior
compensation and work experience; (d) performance evaluations; (e) CFE ratings; (f) Potential

Appraisal; (g) promotions; or (h) workplace complaints (including those submitted to Matter of
Respect, AlertLine or otherwise) about sex discrimination or other discrimination, including any
investigations or responses to such complaints.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 11:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “relating to,” “HQ executive,” “involvement in,” “setting or review,” “policies

or practices,” “concerning,” “HQ employees,” “job assignment,” “job applications,” “decisions,”

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“lateral moves,” “promotions,” “collection and use,” “prior compensation,” “work experience,”
“Potential Appraisal,” “workplace complaints,” “sex discrimination,” “other discrimination,”
“investigations,” and “responses.” Nike further objects to this Request on the grounds that it is
unduly burdensome, oppressive, and it seeks information that is not relevant to the subject matter

of this litigation, is not proportional to the needs of the case, and/or seeks ESI that is not
reasonably accessible because of undue burden or cost. Specifically, this Request seeks

documents identifying every “HQ executive” who may have been involved in any capacity in the
“setting or review[ing]” of Nike “policies,” including those related to “workplace complaints”

about “sex discrimination and other discrimination,” which are irrelevant to Plaintiffs’ class and

collective claims of unfair pay, promotion, and job channeling on the basis of sex. Nike further

objects to this Request to the extent that it seeks information protected by the attorney-client

privilege and/or attorney work product doctrine. Nike further objects to this Request on the
grounds that it seeks private, privileged, and confidential commercial, financial, and/or

proprietary business information.


DOCUMENT REQUEST NO. 12:
        All descriptions or analyses of job groupings at Nike HQ, including Nike’s Employee

Relations and Total Rewards business units. This request includes (a) for each job grouping, all

documents containing descriptions, qualifications, requirements, or tasks; (b) any audit, report,
transition-plan, or analysis concerning any job grouping, including any such documents related
to any reorganization involving HQ employees or HQ executives who are directly reported to;

(c) all related trainings and training materials for employees, managers, and/or HR; and
(d) documents identifying persons involved with developing and/or implementing these job
grouping descriptions and/or analyses.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 12:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

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ambiguous as to “descriptions or analyses,” “job grouping(s),” “business units,” “descriptions,
qualifications, requirements, or tasks,” “audit, report, transition-plan, or analysis,” “concerning,”
“related to,” “reorganization,” “HQ employees,” “HQ executive,” “directly reported to,”
“trainings and training materials,” “identifying,” and “developing and/or implementing.” Nike

further objects to the Request as unintelligible, in that it is impossible for Nike to respond
without speculating as to the meaning of the Request. Nike further objects to this Request on the

grounds that it is compound and appears to squeeze multiple, distinct requests into a single
Request. Nike further objects to this Request on the grounds that it is unduly burdensome,

oppressive, and seeks information that is not relevant to the subject matter of this litigation, is not

proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because

of undue burden or cost. Specifically, this Request seeks documents regarding Nike HQ

departments that are not within the scope of Plaintiffs’ proposed class and collective definition,
and any documents regarding “job groupings” in those departments are irrelevant to Plaintiffs’

class and collective claims of unfair pay, promotion, and job channeling on the basis of sex.

Nike further objects to this Request to the extent that it seeks information protected by the
attorney-client privilege and/or attorney work product doctrine. Nike further objects to this

Request on the grounds that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.


DOCUMENT REQUEST NO. 13:
       Organizational charts, lists or descriptive documents that identify Nike’s organizational
structure at Nike HQ throughout the covered period. This request includes (a) all direct reporting
lines to or from all HQ employees; (b) all direct reporting lines to and from all HQ executives

who are directly reported to; (c) the identities and office locations of HQ executives; (d) for each
job grouping, the identity of all people at Nike HQ who are both assigned to a job grouping and
are either: (i) in the Total Rewards business unit; (ii) in the Employee Relations business unit; or

(iii) an HQ executive who is directly reported to; (e) the organizational structure of HR; and

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(f) the organizational structure of employees responsible for information technology or electronic
information.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 13:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “HQ employees,” “HQ executive(s),” “lists or descriptive documents,”
“identify,” “organizational structure,” “direct reporting,” “direct reporting lines,” “directly

reported to,” “job grouping,” “office locations,” “identity,” “assigned to,” “business unit,” and
“responsible for information technology or electronic information.” Nike further objects to this

Request on the grounds that it is compound and appears to squeeze multiple, distinct requests
into a single Request. Nike further objects to this Request on the grounds that it is unduly
burdensome, oppressive, and overly broad as to scope because it seeks confidential and personal

identifying information pertaining to individuals who are not parties to this action, and the

disclosure of such information would constitute an unwarranted invasion of the affected
individuals’ constitutional, statutory, and/or common law rights to personal privacy and

confidentiality. Nike further objects to this Request on the grounds that it seeks information that
is not relevant to the subject matter of this litigation, is not proportional to the needs of the case,

and/or seeks ESI that is not reasonably accessible because of undue burden or cost. Specifically,

this Request seeks documents identifying individuals at Nike HQ who are not within the scope of
Plaintiffs’ proposed class and collective definition, and which are irrelevant to Plaintiffs’ class

and collective claims of unfair pay, promotion, and job channeling on the basis of sex. Nike
further objects to this Request to the extent that it seeks information protected by the attorney-
client privilege and/or attorney work product doctrine. Nike further objects to this Request on
the grounds that it seeks private, privileged, and confidential commercial, financial, and/or

proprietary business information, and to the extent that it calls for Nike to create documents
solely for use in this litigation that are not maintained in the usual course of business.



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DOCUMENT REQUEST NO. 14:
       Documents that relating to [sic] all job codes for positions at Nike HQ held by any HQ

employee. This request includes: (a) definitions or descriptions of such job codes, (b) how job
codes relate to any job grouping; (c) all factors impacting job codes (e.g., “individual
contributor” and “manager”) or impacted by job codes; and (d) documents that identify persons
involved with the creation, combination, change, evaluation, and analysis of these job codes.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 14:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “relating to,” “HQ employee,” “definitions or descriptions,” “relate to,” “job

grouping,” “factors,” “impacting,” “impacted,” “identify,” “involved with” and “the creation,
combination, change, evaluation, and analysis.” Nike further objects to this Request on the

grounds that it is unduly burdensome, oppressive, and overly broad as to time and scope because

it seeks documents outside of the applicable statutory period(s). Nike further objects to this
Request on the grounds that it seeks ESI that is not reasonably accessible because of undue
burden or cost. Nike further objects to this Request to the extent that it seeks information

protected by the attorney-client privilege and/or attorney work product doctrine. Nike further

objects to this Request on the grounds that it seeks private, privileged, and confidential
commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 15:
       All versions of any standard form used to create any job description and each job
description for any job at Nike HQ that was filled by any HQ employee.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 15:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “versions of,” “standard form,” “used to create,” “any job,” “filled by,” and

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“HQ employee.” Nike further objects to this Request on the grounds that it is unduly
burdensome, oppressive, and seeks information that is not relevant to the subject matter of this
litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably
accessible because of undue burden or cost. Specifically, it is entirely unclear how “standard

forms” for job descriptions, if any, are at all relevant to Plaintiffs’ class and collective claims of
unfair pay, promotion, and job channeling on the basis of sex. Nike further objects to this

Request to the extent that it seeks information protected by the attorney-client privilege and/or
attorney work product doctrine. Nike further objects to this Request on the grounds that it seeks

private, privileged, and confidential commercial, financial, and/or proprietary business

information.



DOCUMENT REQUEST NO. 16:
       All documents and communications containing or referring to any allocation, distribution,

comparison or analysis of men and women at Nike HQ within or across any job grouping. This
request includes all documents and underlying data relating to studies, reviews, analyses,

surveys, compilations, or audits related to the effect or impact that any of the following Nike
policies or practices that apply to HQ employees has had on female HQ employees: (a)

compensation; (b) job assignment; (c) job applications and decisions on job applications for new
hires, lateral moves, and promotions, including collection and use of prior compensation and
work experience; (d) performance evaluations; (e) CFE ratings; (f) Potential Appraisal; and/or

(g) promotions. This request also includes the document or communication issued on or about
April 2017 by David Ayre or HR referring to pay equity, or any review, analysis, or summary of
pay equity. This request also includes any analyses, studies, reports, or other documents related

to the evaluation of, pursuant to the provisions of the Uniform Guidelines, whether any
employment or selection practice had an adverse impact on female employees. This request also
includes any annual reviews of pay and promotion practices conducted as part of Nike’s



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commitment to and signing of the White Equal Pay Pledge as described in Nike’s FY16/17
Sustainable Business Report (page 56). The time-period for this request is January 1, 2010 to the
present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 16:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “containing or referring to,” “allocation, distribution, comparison, or analysis,”
“within or across” “job grouping,” “relating to,” “studies, reviews, analyses, surveys,
compilations, or audits,” “related to,” “effect or impact,” “policies or practices,” “apply to,” “HQ

employees,” “has had,” “job applications,” “decisions,” “lateral moves,” “promotions,”

“Potential Appraisal,” “collection and use of,” “prior compensation,” “work experience,”
“issued,” “HR,” “pay equity,” “review, analysis, or summary,” “analyses, studies, reports,”
“evaluation of,” “pursuant to,” “provisions,” “Uniform Guidelines,” “selection practice,”

“adverse impact,” “annual reviews” “conducted,” “commitment to,” and “signing.” Nike further

objects to this Request on the grounds that it is compound and appears to squeeze multiple,
distinct requests into a single Request. Nike further objects to this Request on the grounds that it

is unduly burdensome, oppressive, and overly broad as to time and scope because it seeks
documents outside of the applicable statutory period(s). Nike further objects to this Request on

the grounds that it seeks ESI that is not reasonably accessible because of undue burden or cost.
Nike further objects to this Request to the extent that it seeks information protected by the

attorney-client privilege and/or attorney work product doctrine. Nike further objects to this
Request on the grounds that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.




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DOCUMENT REQUEST NO. 17:
       All documents and communications related to any validation study or studies for policies

or practices that apply to HQ employees and relate to any of the following: (a) compensation; (b)
job assignments; (c) job applications and decisions on job applications for new hires, lateral
moves, and promotions, including collection and use of prior compensation and work
experience; (d) performance evaluations; (e) CFE ratings; (f) Potential Appraisal; and/or (g)

promotions. This request includes:
       a.      All documents specified or described in the documentation section, 29 C.F.R. §

               1607.15 or otherwise in the Uniform Guidelines;
       b.      All documents showing that Nike conducted “an investigation of suitable

               alternative procedures” that would have less or no adverse impact than any

               procedures used “and suitable methods of using the selection procedure which
               have as little impact as possible ....” 29 C.F.R. § 1607.3B.

The time-period for this request is January 1, 2010 to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 17:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “compensation,” “related to,” “validation study(ies),” “policies or practices,”

“apply to,” “HQ employees,” “job assignments,” “job applications,” “decisions,” “lateral
moves,” “promotions,” “collection and use of,” “prior compensation,” “work experience,”

“Potential Appraisal,” “promotions,” “Uniform Guidelines,” “would have less or no adverse
impact,” and “procedures.” Nike further objects to this Request on the grounds that it is
compound and appears to squeeze multiple, distinct requests into a single Request. Nike further
objects to this Request on the grounds that it is unduly burdensome, oppressive, and overly broad
as to time and scope because it seeks documents outside of the applicable statutory period(s).

Nike further objects to this Request on the grounds that it seeks ESI that is not reasonably
accessible because of undue burden or cost. Nike further objects to this Request to the extent

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that it seeks information protected by the attorney-client privilege and/or attorney work product
doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 18:
       If Nike contends that any of the following policies or practices that apply to HQ
employees are job-related or consistent with business necessity, produce all documents and

communications supporting that contention. This request includes the following policies and
practices: (a) compensation; (b) job assignment; (c) job applications and decisions on job
applications for new hires, lateral moves, and promotions, including collection and use of prior

compensation and work experience; (d) performance evaluations; (e) CFE ratings; (f) potential

appraisal; and (g) promotions. The time-period for this request is January 1, 2010 to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 18:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “HQ employees,” “contends,” “polices,” “policies or practices,” “apply to,”

“job-related or consistent with business necessity,” “supporting,” “contention,” “job
assignment,” “job application,” “decisions,” “lateral moves,” “promotions,” “collection and use
of,” “prior compensation,” “work experience,” and “potential appraisal.” Nike further objects to

this Request on the grounds that it is compound and appears to squeeze multiple, distinct
requests into a single Request. Nike further objects to this Request on the grounds that it is
unduly burdensome, oppressive, and overly broad as to time and scope because it seeks

documents outside of the applicable statutory period(s). Nike further objects to this Request on
the grounds that it seeks ESI that is not reasonably accessible because of undue burden or cost.
Nike further objects to this Request to the extent that it seeks information protected by the

attorney-client privilege and/or attorney work product doctrine. Nike further objects to this
Request as premature, as discovery in this case has just begun, and Nike has not yet answered

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Plaintiffs’ Complaint. As a result, Nike is still investigating Plaintiffs’ claims and is not yet
aware of all documents that it may use to support its defenses. Nike further objects to this
Request on the grounds that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.



DOCUMENT REQUEST NO. 19:
       All documents and communications related to any job analysis conducted by Nike for

any position held by HQ employees. The time-period for this request is January 1, 2010 to the
present.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 19:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “job analysis,” “conducted by,” “any position held by,” and “HQ

employees.” Nike further objects to this Request on the grounds that it is compound and appears
to squeeze multiple, distinct requests into a single Request. Nike further objects to this Request

on the grounds that it is unduly burdensome, oppressive, and overly broad as to time and scope
because it seeks documents outside of the applicable statutory period(s). Nike further objects to

this Request on the grounds that it seeks ESI that is not reasonably accessible because of undue
burden or cost. Nike further objects to this Request to the extent that it seeks information

protected by the attorney-client privilege and/or attorney work product doctrine. Nike further
objects to this Request on the grounds that it seeks private, privileged, and confidential
commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 20:
       All documents and communications relating to any action Nike has undertaken or
considered to address any disparities or potential disparities between male and female HQ

employees relating to (a) compensation; (b) job assignment; (c) job applications and decisions on

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job applications for new hires, lateral moves, and promotions, including collection and use of
prior compensation and work experience; (d) performance evaluations; (e) CFE ratings; (f)
potential appraisal; and (g) promotions.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 20:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “relating to,” “any action,” “undertaken,” “considered to address,” “disparities
or potential disparities,” “HQ employees,” “compensation,” “job assignment,” “job
applications,” “decisions,” “new hires,” “lateral moves,” “promotions,” “collection and use of,”

and “potential appraisal.” Nike further objects to this Request on the grounds that it is

compound and appears to squeeze multiple, distinct requests into a single Request. Nike further
objects to this Request on the grounds that it is unduly burdensome, oppressive, and overly broad
as to scope. The Request also seeks confidential and personal identifying information pertaining

to individuals who are not parties to this action, and the disclosure of such information would

constitute an unwarranted invasion of the affected individuals’ constitutional, statutory, and/or
common law rights to personal privacy and confidentiality. Nike further objects to this Request

on the grounds that it seeks ESI that is not reasonably accessible because of undue burden or
cost. Nike further objects to this Request to the extent that it seeks information protected by the

attorney-client privilege and/or attorney work product doctrine. Nike further objects to this
Request on the grounds that it seeks private, privileged, and confidential commercial, financial,

and/or proprietary business information.
       Nike denies that there are any “disparities or potential disparities” between male and
female “HQ employees” that need to be “address[ed],” as contemplated by this Request.




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DOCUMENT REQUEST NO. 21:
       All documents and communications related to any HQ executive’s involvement with,

decision about or review of any HQ employee’s CFE rating and/or any HQ employee’s CFE
rating-related compensation, including salary increases, equity distributions or PSP Bonuses.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 21:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “related to,” “HQ executive,” “involvement with,” “decision about,” “review
of,” “HQ employee,” “rating-related compensation,” “PSP Bonuses,” and “equity distributions.”
Nike further objects to this Request on the grounds that it is unduly burdensome, oppressive, and

overly broad as to scope because (1) it seeks confidential and personal identifying information

pertaining to individuals who are not parties to this action, and the disclosure of such information
would constitute an unwarranted invasion of the affected individuals’ constitutional, statutory,
and/or common law rights to personal privacy and confidentiality, and (2) it calls for Nike to

review documents and communications related to every CFE rating and related “compensation”

decision(s) for each current and former Nike “HQ employee,” since CFE ratings and
“compensation” related to those ratings are conducted on an individualized basis. Nike further

objects to this Request on the grounds that it seeks ESI that is not reasonably accessible because
of undue burden or cost. Nike further objects to this Request to the extent that it seeks

information protected by the attorney-client privilege and/or attorney work product doctrine.
Nike further objects to this Request on the grounds that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.




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DOCUMENT REQUEST NO. 22:
       All documents and communications concerning the preparation for, conducting of, or

reporting about calibration meetings. This request includes (a) all related trainings and training
materials for employees, managers, and/or HR; and (b) documents identifying persons involved
with these calibration meetings.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 22:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “concerning,” “preparation for,” “conducting of,” “reporting about,” and

“persons involved.” Nike further objects to this Request on the grounds that it is unduly
burdensome, oppressive, and overly broad as to scope because it would be impossible to produce

all documents that “identif[y] persons involved with these calibration meetings” as nearly every

manager and supervisor at Nike HQ participates in calibration meetings. Nike further objects to
this Request on the grounds that it seeks information that is not relevant to the subject matter of
this litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably

accessible because of undue burden or cost. Nike further objects to this Request to the extent

that it seeks information protected by the attorney-client privilege and/or attorney work product
doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and

confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 23:
       All documents and communications relating to the creation or allocation of budgets that
Nike uses for HQ employees’ compensation, including CFE ratings-related compensation. This

request includes all documents and communications concerning the creation of such budgets,
providing or assigning any part of such budgets to any job grouping or decisions about
allocations of such budgets to any HQ employee.



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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 23:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “relating to,” “creation,” “allocation,” “budgets,” “HQ employee(s),”
“compensation,” “job grouping,” “uses,” “concerning,” “providing or assigning,” “part of,” and
“decisions.” Nike further objects to this Request on the grounds that it is unduly burdensome,

oppressive, and overly broad as to scope because it seeks confidential and personal identifying
information pertaining to individuals who are not parties to this action, and the disclosure of such

information would constitute an unwarranted invasion of the affected individuals’ constitutional,
statutory, and/or common law rights to personal privacy and confidentiality. Nike further objects

to this Request on the grounds that it seeks ESI that is not reasonably accessible because of

undue burden or cost. Nike further objects to this Request to the extent that it seeks information
protected by the attorney-client privilege and/or attorney work product doctrine. Nike further

objects to this Request on the grounds that it seeks private, privileged, and confidential
commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 24:
       All documents and communications concerning Two Times Pay for any HQ employee
and containing or referring to any analyses by any person in HR, recommendations by any

person in HR or HQ executive, or any determinations or reviews by a HQ executive.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 24:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “concerning,” “HQ employee,” “containing,” “referring to,” “analyses,” “HR,”
“recommendations,” “HQ executive,” “determinations,” and “reviews.” Nike further objects to
this Request on the grounds that it is unduly burdensome, oppressive, and overly broad as to

scope because (1) it seeks confidential and personal identifying information pertaining to

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individuals who are not parties to this action, and the disclosure of such information would
constitute an unwarranted invasion of the affected individuals’ constitutional, statutory, and/or
common law rights to personal privacy and confidentiality, and (2) it calls for Nike to review
documents and communications related to every Two Times Pay decision for all current and

former Nike “HQ employees,” since such determinations were conducted on an individualized
basis. Nike further objects to this Request on the grounds that it seeks ESI that is not reasonably

accessible because of undue burden or cost. Nike further objects to this Request to the extent
that it seeks information protected by the attorney-client privilege and/or attorney work product

doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and

confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 25:
       For any proposed promotion or application for promotion of a HQ employee that was

provided to any HQ executive, all documents and communications concerning such proposed
promotion or application for promotion. This request includes documents and communications

concerning any changes to compensation that relate to such promotion or potential promotion.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 25:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “proposed promotion,” “application for promotion” “HQ employee,” “provided
to,” “HQ executive,” “concerning” “changes to compensation” and “relate to.” Nike further
objects to this Request on the grounds that it is unduly burdensome, oppressive, and overly broad

as to scope because it seeks confidential and personal identifying information pertaining to
individuals who are not parties to this action, and the disclosure of such information would
constitute an unwarranted invasion of the affected individuals’ constitutional, statutory, and/or
common law rights to personal privacy and confidentiality. The Request is also unduly

burdensome in that it would require Nike to review every email and other document provided to

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any “HQ executive” to determine whether it was related to a promotion or application for
promotion. Nike further objects to this Request on the grounds that it seeks ESI that is not
reasonably accessible because of undue burden or cost. Nike further objects to this Request to
the extent that it seeks information protected by the attorney-client privilege and/or attorney

work product doctrine. Nike further objects to this Request on the grounds that it seeks private,
privileged, and confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 26:
       All policies and practices relating to sex discrimination affecting employees at Nike HQ.

This request includes the (a) Harassment-Zero tolerance policy, Zero Tolerance, Playing Fair,
and A Matter of Respect; (b) all related trainings and training materials for employees, managers,

and/or HR; and (c) documents identifying persons involved with disseminating, implementing,
monitoring, and enforcing these policies and practices.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 26:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “relating to,” “sex discrimination,” “affecting

employees,” “related trainings and training materials,” “managers,” “identifying,” “involved
with,” and “disseminating, implementing, monitoring, and enforcing.” Nike further objects to

this Request on the grounds that it is unduly burdensome, oppressive, and overly broad as to
scope because it is not possible to produce all documents that “identif[y] persons involved with
disseminating, implementing, monitoring, and enforcing these policies and practices,” as each

and every manager and supervisor at Nike HQ has some role in monitoring and/or enforcing
“policies and practices” related to discrimination and harassment. Nike further objects to this
Request on the grounds that it seeks information that is not relevant to the subject matter of this
litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably

accessible because of undue burden or cost. Nike further objects to this Request to the extent

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that it seeks information protected by the attorney-client privilege and/or attorney work product
doctrine. Nike further objects to this Request on the grounds that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.
        Nike denies any “sex discrimination affecting employees at Nike HQ,” as contemplated

by this Request.



DOCUMENT REQUEST NO. 27:
        All complaints, allegations, reports, investigations, recommended responses to

complaints, and enacted responses to complaints relating to sex discrimination at Nike HQ.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 27:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “complaints,” “allegations,” “reports,” “investigations,” “recommended

responses,” “enacted responses,” “relating to,” and “sex discrimination.” Nike further objects to
this Request on the grounds that it is unduly burdensome, oppressive, and overly broad as to

scope because it seeks confidential and personal identifying information pertaining to individuals
who are not parties to this action, and the disclosure of such information would constitute an

unwarranted invasion of the affected individuals’ constitutional, statutory, and/or common law
rights to personal privacy and confidentiality. Nike further objects to this Request on the

grounds that it seeks information that is not relevant to the subject matter of this litigation, is not
proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because
of undue burden or cost. Specifically, this Request seeks documents and communications

regarding complaints of “sex discrimination” of any kind, which if any, do not form the basis of
Plaintiffs’ Complaint, and which are irrelevant to Plaintiffs’ class and collective claims of unfair
pay, promotion, and job channeling on the basis of sex. Nike further objects to this Request to




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the extent that it seeks information protected by the attorney-client privilege and/or attorney
work product doctrine. Nike further objects to this Request on the grounds that it seeks private,
privileged, and confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 28:
        All documents and communications relating to the involvement of any HQ executive in
any decision or review related to any complaint of sex discrimination at Nike HQ.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 28:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “relating to,” “involvement,” “HQ executive,” “decision,” “review,” “related

to,” “complaint,” and “sex discrimination.” Nike further objects to this Request on the grounds
that it is unduly burdensome, oppressive, and overly broad as to scope because it seeks

confidential and personal identifying information pertaining to individuals who are not parties to

this action, and the disclosure of such information would constitute an unwarranted invasion of
the affected individuals’ constitutional, statutory, and/or common law rights to personal privacy
and confidentiality. Nike further objects to this Request on the grounds that it seeks information

that is not relevant to the subject matter of this litigation, is not proportional to the needs of the

case, and/or seeks ESI that is not reasonably accessible because of undue burden or cost.
Specifically, this Request seeks documents and communications regarding complaints of “sex

discrimination” of any kind, which if any, do not form the basis of Plaintiffs’ Complaint, and
which are irrelevant to Plaintiffs’ class and collective claims of unfair pay, promotion, and job
channeling on the basis of sex. Nike further objects to this Request to the extent that it seeks

information protected by the attorney-client privilege and/or attorney work product doctrine.
Nike further objects to this Request on the grounds that it seeks private, privileged, and

confidential commercial, financial, and/or proprietary business information.



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DOCUMENT REQUEST NO. 29:
        All documents and communications related to sex discrimination that were provided by

or to any HQ executive or member of Nike’s board of directors, including minutes, agendas, and
reports.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 29:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “related to,” “sex discrimination,” “provided by or to,” “HQ executive,”
“member of Nike’s board of directors,” “agendas” and “reports.” Nike further objects to this
Request on the grounds that it is overly broad, unduly burdensome, oppressive, and seeks

information that is not relevant to the subject matter of this litigation, is not proportional to the

needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden or
cost. Specifically, it is entirely unclear how any documents and communications provided to
“Nike’s board of directors” that may reference “sex discrimination” are at all relevant to

Plaintiffs’ class and collective claims of unfair pay, promotion, and job channeling on the basis

of sex. Nike further objects to this Request to the extent that it seeks information protected by
the attorney-client privilege and/or attorney work product doctrine. Nike further objects to this

Request on the grounds that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.



DOCUMENT REQUEST NO. 30:
        All policies and practices relating to the orientation and/or on-boarding process of HQ
employees. This request includes: (a) all related trainings and training materials for employees,

managers, and/or HR; and (b) documents identifying persons involved with disseminating,
implementing, monitoring, and enforcing these policies and practices.




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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 30:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “relating to,” “orientation,” “on-boarding process,”
“HQ employees,” “related trainings and training materials,” “managers,” “HR,” “identifying,”
“involved with,” and “disseminating, implementing, monitoring, and enforcing these policies and

practices.” Nike further objects to this Request on the grounds that it is unduly burdensome,
oppressive, and overly broad as to scope because each and every manager and supervisor at Nike

HQ has some role in monitoring and/or enforcing “policies and practices” related to “the
orientation and/or on-boarding process.” Nike further objects to this Request on the grounds that

it seeks information that is not relevant to the subject matter of this litigation, is not proportional

to the needs of the case, and/or seeks ESI that is not reasonably accessible because of undue
burden or cost. Specifically, employee orientation and on-boarding is not the subject of this

action. Nike further objects to this Request to the extent that it seeks information protected by
the attorney-client privilege and/or attorney work product doctrine. Nike further objects to this

Request on the grounds that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.



DOCUMENT REQUEST NO. 31:
        All of Nike’s employee manuals or handbooks, including all documents contained on

Nike’s Me Portal.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 31:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “manuals,” “handbooks,” and “contained on.” Nike further objects to this




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Request on the grounds that it is unduly burdensome, oppressive, and seeks information that is
not relevant to the subject matter of this litigation, is not proportional to the needs of the case,
and/or seeks ESI that is not reasonably accessible because of undue burden or cost. Specifically,
this Request seeks every employee policy and procedure regardless of topic, which are irrelevant

to Plaintiffs’ class and collective claims of unfair pay, promotion, and job channeling on the
basis of sex. Nike further objects to this Request to the extent that it seeks private, privileged,

and confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 32:
        All policies and practices relating to the retention, preservation, backing-up/archiving or

destruction of documents, computer data, system data, and email files. This includes (a) the
creation, maintenance, access, and storage of archived and backup files or data; and (b) on-site or

off-site storage of documents.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 32:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “policies and practices,” “relating to,” “retention,” “preservation,” “backing-

up/archiving,” “destruction,” “computer data,” “system data,” “email files,” “creation,
maintenance, access, and storage,” “archived and backup files or data,” and “on-site or off-site.”

Nike further objects to this Request on the grounds that it is overly broad, unduly burdensome,
oppressive, and seeks information that is not relevant to the subject matter of this litigation, is not
proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because

of undue burden or cost. Specifically, this Request seeks documents regarding Nike’s
information technology practices, which are irrelevant to Plaintiffs’ class and collective claims of
unfair pay, promotion, and job channeling on the basis of sex. Nike further objects to this
Request to the extent that it seeks information protected by the attorney-client privilege and/or

attorney work product doctrine. Nike further objects to this Request on the grounds that it seeks

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private, privileged, and confidential commercial, financial, and/or proprietary business
information.


DOCUMENT REQUEST NO. 33:
       Nike-created maps and/or documents sufficient to identify the location of all Nike HQ

buildings.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 33:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “Nike-created,” “maps,” “sufficient to identify,” “location,” and “buildings.”

Nike further objects to this Request on the grounds that it is overly broad, unduly burdensome
and oppressive, and to the extent that the Request seeks information that is not relevant to the

subject matter of this litigation, is not proportional to the needs of the case, and/or seeks ESI that

is not reasonably accessible because of undue burden or cost. Specifically, it is entirely unclear
how maps of Nike HQ buildings are at all relevant to Plaintiffs’ class and collective claims of
unfair pay, promotion, and job channeling on the basis of sex. Nike further objects to this

Request on the grounds that it seeks information protected by the attorney-client privilege and/or

attorney work product doctrine. Nike further objects to this Request to the extent that it seeks
private, privileged, and confidential commercial, financial, and/or proprietary business
information.



DOCUMENT REQUEST NO. 34:
       Documents sufficient to show all job descriptions and responsibilities for any of the

following people: (a) Trevor Edwards; (b) David Ayre; (c) Jayme Martin; (d) Gino Fisanotti;
(e) Daniel Tawiah; (f) Steve Lesnard; (g) Simon Pestridge; (h) Vikrent Sing; (i) Antoine
Andrews; (j) Greg Thompson; (k) Helen Kim; (l) Tommy Kain; (m) Jack Gold; (n) Josh Simon;



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or (o) Kris Aman. For each such person, the time-period for this request is from July 1, 2013 to
the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 34:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “sufficient to show” and “responsibilities.” Nike further objects to this Request
on the grounds that it is unduly burdensome, oppressive, and overly broad as to time and scope

because (1) it seeks documents outside of the applicable statutory period(s), and (2) it seeks
confidential and personal identifying information pertaining to individuals who are not parties to

this action, and the disclosure of such information would constitute an unwarranted invasion of
the affected individuals’ constitutional, statutory, and/or common law rights to personal privacy
and confidentiality. Nike further objects to this Request on the grounds that it seeks information

that is not relevant to the subject matter of this litigation, is not proportional to the needs of the

case, and/or seeks ESI that is not reasonably accessible because of undue burden or cost.
Specifically, the individuals identified by Plaintiffs in this Request are not within the scope of

Plaintiffs’ proposed class and collective definition, nor have Plaintiffs identified them as
comparators, and any documents regarding their job duties and responsibilities are irrelevant to

Plaintiffs’ class and collective claims of unfair pay, promotion, and job channeling on the basis

of sex. Nike further objects to this Request to the extent that it seeks information protected by
the attorney-client privilege and/or attorney work product doctrine. Nike further objects to this

Request to the extent that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.


DOCUMENT REQUEST NO. 35:
        All documents and communications related to any workplace complaints (including those
submitted to Matter of Respect, AlertLine or otherwise) or investigation concerning any of the

following people at any time between January 2010 to the present: (a) Trevor Edwards;

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(b) David Ayre; (c) Jayme Martin; (d) Gino Fisanotti; (e) Daniel Tawiah; (f) Steve Lesnard;
(g) Simon Pestridge; (h) Vikrent Sing; (i) Antoine Andrews; (j) Greg Thompson; (k) Helen Kim;
(l) Tommy Kain; (m) Jack Gold; (n) Josh Simon; or (o) Kris Aman. This request includes all
documents and communications related to responses to any such investigations or complaints,

such as documents gathered, remedial action, reports, and recommendations.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 35:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “workplace complaints,” “investigation,” “concerning,” “related to,”

“responses,” “remedial action,” “reports,” and “recommendations.” Nike further objects to this
Request on the grounds that it is unduly burdensome, oppressive, and overly broad as to time and

scope because (1) it seeks documents outside of the applicable statutory period(s), and (2) it

seeks confidential and personal identifying information pertaining to individuals who are not
parties to this action, and the disclosure of such information would constitute an unwarranted
invasion of the affected individuals’ constitutional, statutory, and/or common law rights to

personal privacy and confidentiality. Nike further objects to this Request on the grounds that it

seeks information that is not relevant to the subject matter of this litigation, is not proportional to
the needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden

or cost. Specifically, the individuals identified by Plaintiffs in this Request are not within the
scope of Plaintiffs’ proposed class and collective definition, nor have Plaintiffs identified them as

comparators, and any documents and communications regarding “workplace complaints or
investigations,” if any, are irrelevant to Plaintiffs’ class and collective claims of unfair pay,

promotion, and job channeling on the basis of sex. Nike further objects to this Request to the

extent that it seeks information protected by the attorney-client privilege and/or attorney work
product doctrine. Nike further objects to this Request to the extent that it seeks private,

privileged, and confidential commercial, financial, and/or proprietary business information.



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DOCUMENT REQUEST NO. 36:
       Documents and communications sufficient to show that Nike was considering or

planning for Trevor Edwards as the next CEO of Nike. This request includes documents and
communications sufficient to identify the considerations and bases for any decision to award a
retention bonus to Trevor Edwards.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 36:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “sufficient to show,” “considering or planning,” “sufficient to identify,”

“considerations and bases,” “any decision,” and “award.” Nike further objects to this Request on
the grounds that it is unduly burdensome, oppressive, and overly broad as to scope because it

seeks confidential and personal identifying information pertaining to individuals who are not

parties to this action, and the disclosure of such information would constitute an unwarranted
invasion of the affected individuals’ constitutional, statutory, and/or common law rights to
personal privacy and confidentiality. Nike further objects to this Request on the grounds that it

seeks information that is not relevant to the subject matter of this litigation, is not proportional to

the needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden
or cost. Specifically, Trevor Edwards is not within the scope of Plaintiffs’ proposed class and

collective definition, nor have Plaintiffs identified him as a comparator, and any documents and
communications relating to his promotion to CEO, “compensation,” or any retention bonus are

completely irrelevant to Plaintiffs’ class and collective claims of unfair pay, promotion, and job
channeling on the basis of sex. Nike further objects to this Request to the extent that it seeks

information protected by the attorney-client privilege and/or attorney work product doctrine.

Nike further objects to this Request to the extent that it seeks private, privileged, and confidential
commercial, financial, and/or proprietary business information.




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DOCUMENT REQUEST NO. 37:
        All documents and communications related to the discipline, resignation, separation, or

discharge of any of the following people: (a) Trevor Edwards; (b) David Ayre; (c) Jayme Martin;
(d) Daniel Tawiah; (e) Steve Lesnard; (f) Simon Pestridge; (g) Vikrent Sing; (h) Antoine
Andrews; (i) Greg Thompson; (j) Helen Kim; (k) Tommy Kain; (1) Jack Gold; or (m) Kris
Aman.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 37:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “discipline” “resignation,” “separation,” and “discharge.” Nike

further objects to this Request on the grounds that it is unduly burdensome, oppressive, and
overly broad as to scope because it seeks confidential and personal identifying information

pertaining to individuals who are not parties to this action, and the disclosure of such information

would constitute an unwarranted invasion of the affected individuals’ constitutional, statutory,
and/or common law rights to personal privacy and confidentiality. Nike further objects to this
Request on the grounds that it seeks information that is not relevant to the subject matter of this

litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably

accessible because of undue burden or cost. Specifically, the individuals identified by Plaintiffs
in this Request are not within the scope of Plaintiffs’ proposed class and collective definition, nor
have Plaintiffs identified them as comparators, and any documents and communications

regarding their discipline, resignation, separation, or discharge are irrelevant to Plaintiffs’ class
and collective claims of unfair pay, promotion, and job channeling on the basis of sex. Nike
further objects to this Request to the extent that it seeks information protected by the attorney-

client privilege and/or attorney work product doctrine. Nike further objects to this Request to the
extent that it seeks private, privileged, and confidential commercial, financial, and/or proprietary
business information.



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DOCUMENT REQUEST NO. 38:
       All documents and communications related to the promotion of any of the following to

Vice-President, including any documents or communications provided to or by any person
involved in the decisions to promote: (a) Trevor Edwards; (b) David Ayre; (c) Jayme Martin;
(d) Gino Fisanotti; (e) Daniel Tawiah; (f) Steve Lesnard; (g) Simon Pestridge; (h) Vikrent Sing;
(i) Antoine Andrews; (j) Greg Thompson; (k) Helen Kim; (l) Tommy Kain; (m) Jack Gold; or

(n) Kris Aman.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 38:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “promotion,” “provided to or by,” and “involved in the decisions.”

Nike further objects to this Request on the grounds that it is unduly burdensome, oppressive, and
overly broad as to scope because it seeks confidential and personal identifying information

pertaining to individuals who are not parties to this action, and the disclosure of such information

would constitute an unwarranted invasion of the affected individuals’ constitutional, statutory,
and/or common law rights to personal privacy and confidentiality. Nike further objects to this
Request on the grounds that it seeks information that is not relevant to the subject matter of this

litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably

accessible because of undue burden or cost. Specifically, the individuals identified by Plaintiffs
in this Request are not within the scope of Plaintiffs’ proposed class and collective definition, nor

have Plaintiffs identified them as comparators, and any documents and communications
regarding their promotions are irrelevant to Plaintiffs’ class and collective claims of unfair pay,
promotion, and job channeling on the basis of sex. Nike further objects to this Request to the

extent that it seeks information protected by the attorney-client privilege and/or attorney work
product doctrine. Nike further objects to this Request to the extent that it seeks private,

privileged, and confidential commercial, financial, and/or proprietary business information.



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DOCUMENT REQUEST NO. 39:
        All documents and communications related to any document created, edited, reviewed,

signed, or sent by Monique Matheson around April 2018 that contained any reference to “bias,”
the “hiring process,” prior compensation history, or any potential disparities in pay or
promotions. This request includes this document and all versions of this document.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 39:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “created, edited, reviewed, signed, or sent,” “reference to,” “hiring

process,” “prior compensation history,” “potential disparities,” “pay or promotions,” and “all
versions.” Nike further objects to this Request on the grounds that it is unduly burdensome,

oppressive, and overly broad as to scope because (1) it seeks confidential and personal

identifying information pertaining to individuals who are not parties to this action, and the
disclosure of such information would constitute an unwarranted invasion of the affected
individuals’ constitutional, statutory, and/or common law rights to personal privacy and

confidentiality, and (2) it is impossible for Nike to ascertain every single document or

communication that Monique Matheson may have reviewed in or around April 2018, as
contemplated by this Request. Nike further objects to this Request on the grounds that it seeks

information that is not relevant to the subject matter of this litigation, is not proportional to the
needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden or

cost. Specifically, Ms. Matheson is not within the scope of Plaintiffs’ proposed class and
collective definition, nor is she otherwise relevant to Plaintiffs’ class and collective claims of

unfair pay, promotion, and job channeling on the basis of sex. Nike further objects to this

Request on the grounds that it seeks information protected by the attorney-client privilege and/or
attorney work product doctrine. Nike further objects to this Request to the extent that it seeks

private, privileged, and confidential commercial, financial, and/or proprietary business
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DOCUMENT REQUEST NO. 40:
       All documents and communications related to any communications with reporters during

the period of March 1, 2018 to the present that relate to the allegations in this action. This
request includes any transcripts, notes, or documents prepared before, during, or after such
statements or discussions. This request also includes any such documents and communications
related to either of the following statements made to the New York Times: (a) “an insular group

of high-level managers;” or (b) “protected each other and looked the other way.”
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 40:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “relate[d] to,” “reporters,” “transcripts,” “notes,” “prepared,” “statements,” and

“discussions.” Nike further objects to this Request on the grounds that it is unduly burdensome
and oppressive, and to the extent that the Request seeks information that is not relevant to the

subject matter of this litigation, is not proportional to the needs of the case, and/or seeks ESI that

is not reasonably accessible because of undue burden or cost. Specifically, communications
between Nike and reporters, if any, are irrelevant to Plaintiffs’ class and collective claims of
unfair pay, promotion, and job channeling on the basis of sex. Nike further objects to this

Request on the grounds that it seeks information protected by the attorney-client privilege and/or

attorney work product doctrine. Nike further objects to this Request to the extent that it seeks
private, privileged, and confidential commercial, financial, and/or proprietary business

information.


DOCUMENT REQUEST NO. 41:
       All documents and communications related to the document or communication sent by,
or on behalf of, Nike’s CEO around March 15, 2018 that included any of the following
statements: (a) “Over the past few weeks, we’ve become aware of reports of behavior occurring

within our organization that do not reflect our core values of inclusivity, respect and

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empowerment;” (b) “we are going to be doing a comprehensive review of our HR systems and
practices along with elevating our complaint process for matter of respect issues;” (c) “we will
also create a mandatory manager training program so that everyone understands what we expect
and what they need to do to reinforce our core values;” (d) “in light of my desire to accelerate

change, I’ve made the decision to restructure my leadership team into a different alignment that
will allow for closer management and a sharper focus on our culture;” or (e) “Trevor Edwards

has decided to resign as Nike Brand President and will retire in August.” This request includes
all versions of this document or communication, any documents or communications from or to

any HQ executive, member of Nike’s board of directors, or person in HR related to this

document or communication.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 41:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “sent by, or on behalf of,” “systems and practices,” “all versions,”

“HQ executive,” “member of Nike’s board of directors,” and “HR.” Nike further objects to this
Request on the grounds that it is unduly burdensome and oppressive, and to the extent that the

Request seeks information that is not relevant to the subject matter of this litigation, is not

proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because

of undue burden or cost. Specifically, it is entirely unclear how the statements identified by
Plaintiffs in this Request are at all relevant to Plaintiffs’ class and collective claims of unfair pay,
promotion, and job channeling on the basis of sex. Nike further objects to this Request on the
grounds that it seeks information protected by the attorney-client privilege and/or attorney work
product doctrine. Nike further objects to this Request to the extent that it seeks private,

privileged, and confidential commercial, financial, and/or proprietary business information.




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DOCUMENT REQUEST NO. 42:
        All documents and communications related to any speech by Nike’s CEO’s around

May 3, 2018 that included any of these statements: (a) “that underserved us in recent years;”
(b) “restore trust in places where it has eroded;” (c) “we are looking into every concern;” or
(d) that Nike needs to change its hiring, compensation, or promotion systems. This request
includes all transcripts and recordings of the speech containing these statements, any documents

or communications considered, reviewed, or created in preparation for the speech, and
documents summarizing the speech. This request also includes any documents or

communications related to the speech and created, sent, or finalized after the speech by any HQ
executive or person in HR.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 42:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “speech,” “compensation,” “promotion systems,” “transcripts and recordings,”

“containing,” “considered, reviewed, or created,” “in preparation for,” “summarizing,” “related
to,” “created, sent, or finalized,” “HQ executive,” and “HR.” Nike further objects to this

Request on the grounds that it is unduly burdensome and oppressive, and to the extent that the

Request seeks information that is not relevant to the subject matter of this litigation, is not

proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because
of undue burden or cost. Specifically, it is entirely unclear how statements (a)-(c) identified by
Plaintiffs in this Request are at all relevant to Plaintiffs’ class and collective claims of unfair pay,
promotion, and job channeling on the basis of sex. Nike further objects to this Request on the
grounds that it seeks information protected by the attorney-client privilege and/or attorney work

product doctrine. Nike further objects to this Request to the extent that it seeks private,
privileged, and confidential commercial, financial, and/or proprietary business information.




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DOCUMENT REQUEST NO. 43:
       All documents and communications related to the drafting of any of the below statements

in Nike’s FY16/17 Sustainable Business Report, including all versions of these statements and
all documents and communications considered for, relied upon for, or concerning any of these
statements. This request includes documents showing all policies and practices related any of
the following statements.

       a.      “In early 2018, we became aware of reports of behavior within our organization
that did not reflect our core values of inclusivity, respect, and empowerment” (page 55);

       b.      “We took swift action, committing to a wide-ranging approach to evolving our
culture, transforming how we approach leadership, and investing in programs to unlock and

accelerate us toward an environment that is more inclusive and empowering” (page 55);

       c.      “we announced an overall review of our HR systems and practices, while
elevating our confidential complaint process” (page 55);

       d.      “We engage and inspire our workforce by offering opportunities for career growth
and development, in addition to providing equitable and competitive pay and benefits” (page 55);

       e.      “We created a mandatory manager training that reinforces the role of respect,
inclusion, and accountability that will roll out to people managers globally in 2018. We also

increased our investment in leadership training and accountability” (page 55);

       f.      “remove bias from critical moments of the hiring process by creating more
inclusive job descriptions, enabling blind resume reviews, eliminating the collection of candidate

salary history, and using data to inform hiring decisions” (page 56);
       g.      “At NIKE, we define pay equity as equal compensation for women, men, and all
races/ethnicities who undertake the same work at the same level, experience, and performance -

and this methodology aligns with top tier global companies” (page 56);
       h.      “NIKE’s FY17 data show that for every $1 earned by men, women globally

earned 99.9 cents” (page 56);



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       i.        “We will move to a new team-based PSP (Performance Sharing Plan) bonus
award to accelerate our culture to reward behaviors that reinforce teamwork and collaboration”
(page 57);
       j.        “There are three ways to increase representation -promotion, retention, and hiring

– and we’re working through strategic initiatives and action plans to enable each of them”
(page 57); and

       k.        Any of these initiatives: “FY19: Global Pay Equity,” “FY19: New Bonus
Structure,” “FY19: Representative Accountability,” “FY19: Diverse Talent Investment,” “FY19:

New Mentoring Program,” “FY19: Unconscious Bias Awareness Training,” “FY19: Manager

Training,” and “FY19: Immersive Executive Development.” (pages 56-57).

       l.        With respect to Nike signing the White Equal Pay Pledge (page 56): “declaring

our commitment to review pay and promotion practices annually” and “ensure that women and
men who undertake the same work at the same level are equitably compensated.”

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 43:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “HR,” “related to,” “the drafting,” “all versions,” “considered for, relied upon

for, or concerning,” “policies and practices,” “related,” and “signing.” Nike further objects to
this Request on the grounds that it is unduly burdensome and oppressive, and to the extent that

the Request seeks information that is not relevant to the subject matter of this litigation, is not
proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because
of undue burden or cost. Specifically, it is entirely unclear how this information is at all relevant

to Plaintiffs’ class and collective claims of unfair pay, promotion, and job channeling on the
basis of sex, which represents a subset of Nike’s total global workforce. Nike further objects to
this Request on the grounds that it seeks information protected by the attorney-client privilege




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and/or attorney work product doctrine. Nike further objects to this Request to the extent that it
seeks private, privileged, and confidential commercial, financial, and/or proprietary business
information.



DOCUMENT REQUEST NO. 44:
        All documents and communications related to the email from Mini Cypers, Regional
Director Pacific Northwest, Anti-Defamation League, to Nike on February 12, 2018 that was

sent to Steve.Connors@Nike.com, Alycia.Gongazlez@Nike.com,
Monique.Matheson@Nike.com, and Kori.Vyse@Nike.com. This request includes any responses
to this letter, any documents related to any investigation of any of the letter’s allegations, and any

remedial actions, including with respect to Phil Hodgson.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 44:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “the email,” “any responses,” “this letter,” “investigation,”

“allegations,” “remedial actions,” and “with respect to.” Nike further objects to this Request on
the grounds that it is unduly burdensome, oppressive, and overly broad because it seeks

confidential and personal identifying information pertaining to former Nike employees who are
not parties to this action, and the disclosure of such information would constitute an unwarranted
invasion of the affected individuals’ constitutional, statutory, and/or common law rights to

personal privacy and confidentiality. Nike further objects to this Request to the extent it seeks
information that is not relevant to the subject matter of this litigation, is not proportional to the
needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden or

cost. Specifically, it is entirely unclear how communications between Nike and the Anti-
Defamation League, if any, are relevant to this litigation. Nike further objects to this Request on




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the grounds that it seeks information protected by the attorney-client privilege and/or attorney
work product doctrine. Nike further objects to this Request to the extent that it seeks private,
privileged, and confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 45:
       All documents and communications related to any letter or other communication from
Nikki Neuburger that was sent or provided to Nike’s CEO that relating to sex discrimination at

Nike HQ.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 45:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “other communication,” “related to,” “sent or provided to,” “relating to” and

“sex discrimination.” Nike further objects to this Request on the grounds that it is unduly
burdensome, oppressive, and seeks information that is not relevant to the subject matter of this

litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably
accessible because of undue burden or cost. Nike further objects to this Request on the grounds

that it seeks information protected by the attorney-client privilege and/or attorney work product

doctrine. Nike further objects to this Request to the extent that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 46:
       All documents and communications related to any survey, letter, other document, or other
communication containing information or data concerning multiple female HQ employees and

any sex discrimination at Nike HQ. This request includes any documents or communications
titled or otherwise referred to as “My Experience” or “Starfish.”




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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 46:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “survey,” “data,” “concerning,” “multiple female HQ employees,”
“sex discrimination,” and “My Experience,” “Starfish,” or “otherwise referred to.” Nike further
objects to this Request on the grounds that it is unduly burdensome, oppressive, and overly broad

as to scope because it seeks confidential and personal identifying information pertaining to
individuals who are not parties to this action, and the disclosure of such information would

constitute an unwarranted invasion of the affected individuals’ constitutional, statutory, and/or
common law rights to personal privacy and confidentiality. Nike further objects to this Request

on the grounds that it seeks information that is not relevant to the subject matter of this litigation

and not proportional to the needs of the case because it seeks information unrelated to Plaintiffs’
pay, promotion, and alleged job channeling claims. Nike further objects to this Request on the

grounds that it seeks ESI that is not reasonably accessible because of undue burden or cost. Nike
further objects to this Request to the extent that it seeks information protected by the attorney-

client privilege and/or attorney work product doctrine. Nike further objects to this Request to the
extent that it seeks private, privileged, and confidential commercial, financial, and/or proprietary

business information.


DOCUMENT REQUEST NO. 47:
       All documents and communications related to any statements made around June or
July 2018 by Nike or Illana[sic] Finley to any reporter about pay equity, compensation, or pay
analyses, including the following statements: (a) “strive to meet the diverse needs of our

employees, deliver differentiated, competitive pay and benefits, and support a culture in which
employees feel included and empowered;” (b) changes to Nike’s pay and rewards; competitive
pay adjustments; annual pay analysis; a deeper pay analysis of all Nike roles in 2018; (c) “as a

result, we are making adjustments to some employee pay;” (c) Nike’s definition of pay equity;

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(d) “we will maintain focus, driving with 1:1 as our goal for both every year,” (e) “we will
monitor this data on an ongoing basis;” (f) “going forward, one PSP will measure success based
primarily on companywide performance,” (g) and bonus payouts were determined by a
combination of company, team and individual performance. This request includes any

documents or communications considered, reviewed, or created in preparation for these
interviews or discussions, documents summarizing these interviews or discussions, and any

communications sent about or in response to these interviews or discussions.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 47:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “any reporter,” “pay equity,” “compensation,” “pay analyses,”

“rewards,” “competitive pay adjustments,” “pay analysis,” “deeper,” “all Nike roles,”
“definition,” “determined by,” “combination of company, team and individual performance,”

“considered, reviewed, or created,” “in preparation for,” “interviews or discussions,”

“summarizing,” and “sent about or in response to.” Nike further objects to this Request on the
grounds that it is compound and appears to squeeze multiple, distinct requests into a single
Request. Nike further objects to this Request on the grounds that it is unduly burdensome,

oppressive, and seeks information that is not relevant to the subject matter of this litigation, is not

proportional to the needs of the case, and/or seeks ESI that is not reasonably accessible because
of undue burden or cost. Nike further objects to this Request on the grounds that it seeks

information protected by the attorney-client privilege and/or attorney work product doctrine.
Nike further objects to this Request to the extent that it seeks private, privileged, and confidential
commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 48:
       All documents and communications that: (a) were provided to or by any HQ executive or

person in HR; and (b) show, discuss, analyze, or propose any formulation, description, or

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definition of pay equity between men and women that Nike has created, used, or considered.
The time-period for this request is January 1, 2010 to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 48:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “provided to or by,” “HQ executive,” “show, discuss, analyze, or propose,”
“formulation, description, or definition,” “pay equity,” and “created, used, or considered.” Nike

further objects to this Request on the grounds that it is unduly burdensome, oppressive, and
overly broad as to time and scope because it seeks documents outside of the applicable statutory

period(s). Nike further objects to this Request on the grounds that it seeks ESI that is not
reasonably accessible because of undue burden or cost. Nike further objects to this Request on
the grounds that it seeks information protected by the attorney-client privilege and/or attorney

work product doctrine. Nike further objects to this Request on the grounds that it seeks private,

privileged, and confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 49:
       All documents and communications submitted to or received from the Equal

Employment Opportunity Commissions, Office of Federal Contract Compliance Programs,

Oregon’s Bureau of Labor and Industries, or any other governmental agency relating to a claim,
charge, or complaint of sex discrimination made by or on behalf of any woman who worked at
Nike HQ.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 49:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “submitted to,” “received from,” “other governmental agency,” “relating to,”
“claim,” “charge,” “complaint,” “sex discrimination,” and “by or on behalf of.” Nike further

objects to this Request on the grounds that it is unduly burdensome, oppressive, and overly broad

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as to time and scope because it seeks confidential and personal identifying information
pertaining to individuals who are not parties to this action, and the disclosure of such information
would constitute an unwarranted invasion of the affected individuals’ constitutional, statutory,
and/or common law rights to personal privacy and confidentiality. Nike further objects to this

Request on the grounds that it seeks information that is not relevant to the subject matter of this
litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably

accessible because of undue burden or cost. Specifically, this Request seeks documents and
communications pertaining to administrative charges that do not form that basis of Plaintiffs’

Complaint and which are irrelevant to Plaintiffs’ class and collective claims of unfair pay,

promotion, and job channeling on the basis of sex. Nike further objects to this Request on the

grounds that it seeks information protected by the attorney-client privilege and/or attorney work

product doctrine. Nike further objects to this Request to the extent that it seeks private,
privileged, and confidential commercial, financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 50:
          All signed witness statements relating to any of the claims or defenses in this action.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 50:
          Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “witness statements” and “relating to.” Nike further objects to this Request to
the extent that it seeks information protected by the attorney-client privilege and/or attorney
work product doctrine.



DOCUMENT REQUEST NO. 51:
          Any insurance policy, contract, or agreement that may apply to any of the claims in this
action.



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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 51:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “may apply.” Nike further objects to this Request on the grounds that it seeks
information that is not relevant to the subject matter of this litigation, is not proportional to the
needs of the case, and/or seeks ESI that is not reasonably accessible because of undue burden or

cost. Nike further objects to this Request to the extent that it seeks private, privileged, and
confidential commercial, financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 52:
        For each plaintiff, all documents and communications that are responsive to Oregon’s

personnel Records Request law, ORS 652,750, including all documents that “are used or have
been used to determine:” the employee’s qualification for employment, promotions, additional

compensation, or employment termination or disciplinary action. For each plaintiff, the time-
period for this request is from when the plaintiff first applied to work at Nike to the present.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 52:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “responsive to,” “used or have been used,” “qualification,” “promotion,”
“additional compensation,” and “disciplinary action.” Nike further objects to this Request on the
grounds that it is duplicative of information previously requested by and/or provided to

Plaintiffs, unduly burdensome, oppressive, and overly broad as to scope because it seeks
documents outside of the applicable statutory period(s). Nike further objects to this Request on
the grounds that it seeks ESI that is not reasonably accessible because of undue burden or cost.
Nike further objects to this Request to the extent that it seeks information protected by the




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attorney-client privilege and/or attorney work product doctrine. Nike further objects to this
Request to the extent that it seeks private, privileged, and confidential commercial, financial,
and/or proprietary business information.



DOCUMENT REQUEST NO. 53:
       For each plaintiff, all documents and communications related to all compensation from
Nike that was received, considered, or proposed at any time. This request includes all documents

and communications related to compensation received prior to Nike hiring them as an employee.
This request also includes all documents and communications related to both: (a) any offer from
Nike; and (b) any negotiation or request to negotiate starting salary or other employment-related

terms. This request also includes also includes Personal Pay Statements. For each plaintiff, the

time-period for this request is from when the plaintiff first started working at Nike to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 53:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “compensation,” “considered,” “proposed,” “received prior to,”

“offer,” “negotiation,” “request to negotiate,” and “employment-related terms.” Nike further
objects to this Request on the grounds that it is duplicative of information previously requested
by and/or provided to Plaintiffs, unduly burdensome, oppressive, and overly broad as to scope

because it seeks documents outside of the applicable statutory period(s). Nike further objects to
this Request on the grounds that it seeks ESI that is not reasonably accessible because of undue
burden or cost. Nike further objects to this Request to the extent that it seeks information

protected by the attorney-client privilege and/or attorney work product doctrine. Nike further
objects to this Request to the extent that it seeks private, privileged, and confidential commercial,
financial, and/or proprietary business information.




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DOCUMENT REQUEST NO. 54:
       For each plaintiff, all documents and communications related to any promotion applied

for, considered for, or received at any time. For each such promotion, this request includes the
position’s job description, other documents containing job duties, job grouping, and
compensation. This request also includes documents sufficient to identify the persons who
applied, interviewed, and/or were chosen for the promotion. For each plaintiff, the time-period

for this request is from when the plaintiff first started working at Nike to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 54:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “compensation,” “related to,” “promotion,” “applied for,” “considered for,” “job

duties,” “job grouping,” “sufficient to identify,” “applied for,” “interviewed,” and “chosen for.”
Nike further objects to this Request on the grounds that it is duplicative of information

previously requested by and/or provided to Plaintiffs, unduly burdensome, oppressive, and

overly broad as to time and scope because (1) it seeks documents outside of the applicable
statutory period(s), and (2) it seeks confidential and personal identifying information pertaining
to individuals who are not parties to this action (and who may never have even worked at Nike),

and the disclosure of such information would constitute an unwarranted invasion of the affected

individuals’ constitutional, statutory, and/or common law rights to personal privacy and
confidentiality. Nike further objects to this Request on the grounds that it seeks ESI that is not

reasonably accessible because of undue burden or cost. Nike further objects to this Request to
the extent that it seeks information protected by the attorney-client privilege and/or attorney
work product doctrine. Nike further objects to this Request to the extent that it seeks private,

privileged, and confidential commercial, financial, and/or proprietary business information.




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DOCUMENT REQUEST NO. 55:
        For each plaintiff, all job descriptions and other documents containing job duties for

positions they held at Nike HQ. For each plaintiff, the time-period for this request is from when
the plaintiff first started working at Nike to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 55:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference
as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

ambiguous as to “job duties.” Nike further objects to this Request on the grounds that it is
duplicative of information previously requested by and/or provided to Plaintiffs, unduly
burdensome, oppressive, and overly broad as to scope because it seeks documents outside of the

applicable statutory period(s). Nike further objects to this Request on the grounds that it seeks

ESI that is not reasonably accessible because of undue burden or cost. Nike further objects to
this Request to the extent that it seeks information protected by the attorney-client privilege
and/or attorney work product doctrine. Nike further objects to this Request to the extent that it

seeks private, privileged, and confidential commercial, financial, and/or proprietary business

information.


DOCUMENT REQUEST NO. 56:
        For each plaintiff, all final CFEs, mid-year CFEs, and Potential Appraisals. For each

plaintiff, the time-period for this request is from when the plaintiff first started working at Nike
to the present.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 56:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “Potential Appraisals.” Nike further objects to this Request on the grounds that
it seeks ESI that is not reasonably accessible because of undue burden or cost. Nike further

objects to this Request on the grounds that it is duplicative of information previously requested

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by and/or provided to Plaintiffs, unduly burdensome, oppressive, and overly broad as to scope
because it seeks documents outside of the applicable statutory period(s).


DOCUMENT REQUEST NO. 57:
       For each plaintiff, documents sufficient to show the identity of all HQ employees in:

(a) each plaintiff’s job grouping; (b) who directly reported to plaintiff; (c) who plaintiff directly
reported to; or (d) who had any of the same direct reports as plaintiff at the same time as plaintiff
or within one year before or after plaintiff held a position. For each plaintiff, the time-period for
this request is from when the plaintiff first started working at Nike to the present.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 57:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “sufficient to show,” “identity,” “HQ employees,” “job grouping,” “reported

to,” “the same direct reports,” “the same time,” and “held a position.” Nike further objects to
this Request on the grounds that it is duplicative of information previously requested by and/or

provided to Plaintiffs, unduly burdensome, oppressive, and overly broad as to time and scope
because (1) it seeks documents outside of the applicable statutory period(s), and (2) it seeks

confidential and personal identifying information pertaining to individuals who are not parties to
this action, and the disclosure of such information would constitute an unwarranted invasion of

the affected individuals’ constitutional, statutory, and/or common law rights to personal privacy
and confidentiality. Nike further objects to this Request on the grounds that it seeks ESI that is
not reasonably accessible because of undue burden or cost. Nike further objects to this Request

to the extent that it seeks information protected by the attorney-client privilege and/or attorney
work product doctrine. Nike further objects to this Request to the extent that it seeks private,
privileged, and confidential commercial, financial, and/or proprietary business information.
Nike further objects to this Request in that is it duplicative of the documents and information

sought in Plaintiffs’ Request for Production No. 1.

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DOCUMENT REQUEST NO. 58:
        For each plaintiff, all documents and communications related to any investigation related

to any plaintiff, including all documents and communications related to any complaint received
by Nike (including through HR, Matter of Respect, or AlertLine) that was made by, made about,
or related to plaintiff. This request includes documents and communications related to any such
complaints, including investigations, documents gathered, witness statements, remedial action,

reports, and recommendations. For each plaintiff, the time-period for this request is from when
the plaintiff first started working at Nike to the present.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 58:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “investigation,” “related to,” “complaint,” “received by,” “made about,”

“related to,” “gathered,” “witness statements,” “remedial action,” “reports,” and
“recommendations.” Nike further objects to this Request on the grounds that it is duplicative of

information previously requested by and/or provided to Plaintiffs, unduly burdensome,
oppressive, and overly broad as to time and scope because (1) it seeks documents outside of the

applicable statutory period(s), and (2) it seeks confidential and personal identifying information

pertaining to individuals who are not parties to this action, and the disclosure of such information
would constitute an unwarranted invasion of the affected individuals’ constitutional, statutory,

and/or common law rights to personal privacy and confidentiality. Nike further objects to this
Request on the grounds that it seeks information that is not relevant to the subject matter of this
litigation, is not proportional to the needs of the case, and/or seeks ESI that is not reasonably
accessible because of undue burden or cost. Specifically, this Request seeks any documents and

communications regarding investigations and complaints that are irrelevant to Plaintiffs’ class
and collective claims of unfair pay, promotion, and job channeling on the basis of sex. Nike
further objects to this Request to the extent that it seeks information protected by the attorney-

client privilege and/or attorney work product doctrine. Nike further objects to this Request to the

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extent that it seeks private, privileged, and confidential commercial, financial, and/or proprietary
business information.


DOCUMENT REQUEST NO. 59:
       For each plaintiff who is not currently a HQ employee, all documents and

communications related to the separation of plaintiff, including documents and communications
related to any exit interview. For each such plaintiff, the time-period for this request is from
when the plaintiff first started working at Nike to her date of separation, unless responsive
documents and communications post-dating separation exist.

OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 59:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is duplicative
of information previously requested by and/or provided to Plaintiffs, vague, and ambiguous as to

“HQ employee,” “related to,” “separation,” and “date of separation.” Nike further objects to this
Request on the grounds that it seeks ESI that is not reasonably accessible because of undue

burden or cost. Nike further objects to this Request to the extent that it seeks information
protected by the attorney-client privilege and/or attorney work product doctrine. Nike further

objects to this Request to the extent that it seeks private, privileged, and confidential commercial,
financial, and/or proprietary business information.



DOCUMENT REQUEST NO. 60:
       For plaintiff Anderson, all documents and communications related to her demotion from
an E-Band or Director position to a U-Band or Manager position. This request includes all

documents and communications created by, sent by, or sent to Daniel Tawiah, any person in HR,
or any HQ executive. The time-period for this request is from when plaintiff Andersen first
started working at Nike to the present.



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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 60:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “demotion from,” “created by,” “sent by,” “sent to,” “any person in
HR,” and “HQ executive.” Nike further objects to this Request on the grounds that it is unduly
burdensome, oppressive, and overly broad as to time and scope because (1) it seeks documents

outside of the applicable statutory period(s), (2) it seeks confidential and personal identifying
information pertaining to individuals who are not parties to this action, and the disclosure of such

information would constitute an unwarranted invasion of the affected individuals’ constitutional,
statutory, and/or common law rights to personal privacy and confidentiality. Nike further objects

to this Request on the grounds that it seeks information that is not relevant to the subject matter

of this litigation, is not proportional to the needs of the case, and/or seeks ESI that is not
reasonably accessible because of undue burden or cost. Specifically, this Request seeks “all

documents and communications” between Daniel Tawiah and other Nike employees, which are
irrelevant to Plaintiffs’ class and collective claims of unfair pay, promotion, and job channeling

on the basis of sex. Nike further objects to this Request to the extent that it seeks information
protected by the attorney-client privilege and/or attorney work product doctrine. Nike further

objects to this Request to the extent that it seeks private, privileged, and confidential commercial,

financial, and/or proprietary business information.


DOCUMENT REQUEST NO. 61:
        From June 28, 2018 to the present, all documents and communications mentioning or
referring to EEOC charges relating to this action, this action or any plaintiff’s or person’s

involvement with either.
OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 61:
        Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and

Page 66        DEFENDANT NIKE, INC.’S OBJECTIONS AND RESPONSES TO
               PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

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ambiguous as to “mentioning or referring,” “relating to,” “relating to this action, this action” and
“involvement with either.” Nike further objects to this Request on the grounds that it is unduly
burdensome, oppressive, and overly broad as to scope because it seeks confidential and personal
identifying information pertaining to individuals who are not parties to this action, and the

disclosure of such information would constitute an unwarranted invasion of the affected
individuals’ constitutional, statutory, and/or common law rights to personal privacy and

confidentiality. Nike further objects to this Request on the grounds that it seeks information that
is not relevant to the subject matter of this litigation, is not proportional to the needs of the case,

and/or seeks ESI that is not reasonably accessible because of undue burden or cost. Specifically,

this Request seeks documents pertaining to individual EEOC charges that do not form that basis

of Plaintiffs’ Complaint and which are irrelevant to Plaintiffs’ class and collective claims of

unfair pay, promotion, and job channeling on the basis of sex. Nike further objects to this
Request on the grounds that it seeks information protected by the attorney-client privilege and/or

attorney work product doctrine. Nike further objects to this Request to the extent that it seeks

private, privileged, and confidential commercial, financial, and/or proprietary business
information.


DOCUMENT REQUEST NO. 62:
        All documents and communications related to both: (a) Shawn Hoy or Sean Cahill; and

(b) compensation, any promotions applied for, employment status, separation, contractor status
or this action. This request includes any recording of a conversation between Sean Cahill and
any person at Nike during the period of August 15, 2018 through August 31, 2018 that was made

during a call to the phone number on the notice of preservation sent to Mr. Cahill on August 15,
2018. This request also includes documents sufficient to identify each person who was sent
substantially the same notice of preservation that was sent to Mr. Cahill on August 15, 2018.




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                PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 62:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is vague and
ambiguous as to “related to,” “compensation,” “applied for,” “separation,” “contractor status,”
and “recording of a conversation.” Nike further objects to this Request on the grounds that it is
unduly burdensome, oppressive, and overly broad because it seeks confidential and personal

identifying information pertaining to individuals who are not parties to this action, and the
disclosure of such information would constitute an unwarranted invasion of the affected

individuals’ constitutional, statutory, and/or common law rights to personal privacy and
confidentiality. Nike further objects to this Request to the extent it seeks information that is not

relevant to the subject matter of this litigation, is not proportional to the needs of the case, and/or

seeks ESI that is not reasonably accessible because of undue burden or cost. Specifically, Shawn
Hoy, and Sean Cahill are not within the scope of Plaintiffs’ proposed class and collective

definition, nor are they otherwise identified in or relevant to Plaintiffs’ class and collective
claims of unfair pay, promotion, and job channeling on the basis of sex. Furthermore, despite

repeated requests, Plaintiffs’ counsel has not confirmed to Nike that they represent Mr. Hoy
and/or Mr. Cahill in any capacity, in this litigation or otherwise, and Nike declines to provide

information, if any, regarding Mr. Hoy and/or Mr. Cahill to third parties. Nike further objects to

this Request on the grounds that it seeks information protected by the attorney-client privilege
and/or attorney work product doctrine. Nike further objects to this Request to the extent that it

seeks private, privileged, and confidential commercial, financial, and/or proprietary business
information.



DOCUMENT REQUEST NO. 63:
       All documents and communications related to plaintiff Hender and her job assignments,
this action, job performance, evaluation, compensation or promotions.



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               PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

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OBJECTIONS AND RESPONSE TO DOCUMENT REQUEST NO. 63:
       Nike refers to its objections to Plaintiffs’ Definitions and incorporates them by reference

as though fully set forth herein. Nike objects to this Request on the grounds that it is overly
broad, vague, and ambiguous as to “related to,” “job assignments,” “this action,” “job
performance,” “evaluation,” “compensation,” and “promotion.” Nike further objects to this
Request on the grounds that it seeks ESI that is not reasonably accessible because of undue

burden or cost. Nike further objects to this Request to the extent that it seeks information
protected by the attorney-client privilege and/or attorney work product doctrine.


Dated: April 25, 2019                         /s/ Felicia A. Davis

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                                              danielprince@paulhastings.com
                                              Zach P. Hutton (pro hac vice)
                                              zachhutton@paulhastings.com
                                              Felicia A. Davis (pro hac vice)
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                                              Facsimile: (503) 220-2480

                                              Attorneys for Defendant NIKE, INC.




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               PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

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                                    PROOF OF SERVICE
STATE OF CALIFORNIA                                       )
                                                          ) ss:
CITY OF LOS ANGELES AND COUNTY OF                         )
LOS ANGELES                                               )


               I am employed in the City of Los Angeles and County of Los Angeles,
State of California. I am over the age of 18, and not a party to the within action. My
business address is 515 South Flower Street, Twenty-Fifth Floor, Los Angeles, CA
90071-2228.
                 On April 25, 2019, I served the foregoing document(s) described as:
DEFENDANT NIKE, INC.'S OBJECTIONS AND RESPONSES TO PLAINTIFFS'
FIRST SET OF REQUESTS FOR PRODUCTION
on the interested parties by placing a true and correct copy thereof in a sealed envelope(s)
addressed as follows:
                 Please see attached Service List.
                 VIA OVERNIGHT MAIL:
      •          VIA - ~_ _ _ _ _ :By delivering such document(s) to an overnight
                 mail service or an authorized courier in a sealed envelope or package
                 designated by the express service courier addressed to the person( s) on
                 whom it is to be served.
                 VIA U.S. MAIL:
                 I am readily familiar with the firm's practice of collection and processing of
                 correspondence for mailing. Under that practice such sealed envelope( s)
                 would be deposited with the U.S. postal service on April 25, 2019 with
                 postage thereon fully prepaid, at Los Angeles, California.
                 VIA PERSONAL DELIVERY:
      •          I personally delivered such sealed envelope( s) by hand to the offices of the
                 addressee( s) pursuant to CCP § 1011.
                 VIA FACSIMILE:
      •          The facsimile transmission report indicated that the transmission was
                 complete and without error. The facsimile was transmitted to Facsimile
                 #     .        on April 25, 2019 at_~· A copy of that report, which was
                 properly issued by the transmitting machine, is attached hereto. [Permitted
                 by written agreement of the parties.]

               I declare under penalty of perjury under the laws of the United States that
the above is true and correct. Executed on ~~r~l~2019, at Los >--"\II.I-,...,.-..,,. California.

                                               if




LEGAL_US_W # 98052904.1



                                                          Goldstein Decl. Ex. B, Page 70 of 71
Case 3:18-cv-01477-JR            Document 350     Filed 09/15/23      Page 107 of 153




                                       Service List


       Laura Salemo Owens                       Laura L. Ho
       Markowitz Herbold PC                     Goldstein, Borgen, Dardarian & Ho
       1211 SW Fifth Avenue                     300 Lakeside Drive
       Suite 3000                               Suite 1000
       Portland, OR 97204-3730                  Oakland, CA 94612

       Craig Ackerman                           India Lin Bodien
       Ackermann & Tilaj ef PC                  India Lin Bodien, Attorney At Law
       1180 S. Beverly Drive                    2522 North Proctor Street, #387
       Suite 610                                Tacoma, WA 98406-5338
       Los Angeles, CA 9003 5




                                          -2-
LEGAL_US_W # 98052904.1



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 From:                  Laboe, Daniel
 To:                    Lst-Talent.Acquisition.Americas
 CC:                    Lupo, Kim; Westling, Daniel; Lin-Meyer, Monica
 Sent:                  10/12/2017 7: 15:46 PM
 Subject:               Commitment to Pay Equity



U.S. TA team-
As part of NIKE, lnc.'s commitment to Diversity & Inclusion, we continually evolve our practices and programs with pay
and hiring equity in mind. In support of our commitment, we recently shared that we will no longer ask candidates about
their compensation history. This is one way we create a positive and inclusive experience for each candidate, while
ensuring all candidates who are considered for the same work at the same level and experience are offered equitable
compensation.
The U.S. Talent Acquisition team plays a critical role in implementing this practice. Going forward, U.S. TA is solely
responsible for discussing compensation expectations with candidates. All other hiring partners should not ask
candidates about compensation.
In addition, our Total Rewards partners have created an updated Offer llnlake r:·orm to collect this information from
candidates. There are two versions of this form: one for offers that include equity compensation (E and S band
candidates), and one for offers without equity (V through U band candidates). Please use this form as you work with Total
Rewards to construct offers for your roles.
Please review the resources on the TA Pllaybook - which includes the one-pager we will be sharing with HRBPs and other
COE partners - plus the following information:
     • Lawful & Unlawful Questions
     • TA Comp History Practice one-pager
     • lYJ?iJ..?,9er Plavbook . . . Hiring
     • Hiring Process
Be aware that hiring & interviewing resources on the IHIR Websii'le, INA DTC Zero and other key internal websites now
reflect this practice, in support of our D&I commitment. Our standard communications to hiring managers & interviewers
will also prominently feature these updates-including interview invites from our coordinators, and system notifications
from Taleo.
We will offer additional training opportunities later in October to review scenarios and best practices for conversations
with hiring managers, interviewers and candidates. Until then, please direct any questions to me.
Thanks,
Dan
Daniel Laboe/ Sr Director Talent Acquistion Operations & Innovation

~-·
                         CONVERSE*)                            Hurley)(




Confidential                                                                                            NI KE 00024 727
                                                                         Goldstein Decl. Ex. C, Page 1 of 1
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              IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF OREGON
                            PORTLAND DIVISION
KELLY CAHILL, et al.,
individually and on behalf
of others similarly situated,                    No.
            Plaintiffs,                          3:18-cv-01477-JR
      v.
NIKE INC., an Oregon
Corporation,
            Defendant.




      REMOTE 30(b)(6) VIDEOCONFERENCE DEPOSITION OF
                               SHINE THOMAS
                  Taken in behalf of Plaintiffs
                             March 26, 2021




                                           Goldstein Decl. Ex. D, Page 1 of 3
            Case 3:18-cv-01477-JR   Document 350      Filed 09/15/23   Page 110 of 153

                                    Thomas, Shine - 30(b)(6)                      March 26, 2021

                                                                                    Page 213
 1               our hiring managers and interview teams.                          It
 2               looks like this calls out interview invites from
 3               coordinators.         I'm not sure of the details of
 4               what this is referring to.
 5       Q.      There were standard communications that talent
 6               acquisition sends to hiring managers and
 7               interviewers; is that correct?
 8       A.      So we communicate with our hiring managers all
 9               the time.      So a communication could be
10               considered standard.              We do have, in this case
11               this refers to interview invites.                      But there are
12               multiple points of communication with a hiring
13               manager.
14       Q.      And these standard communications prominently
15               feature the updates described in this e-mail;
16               correct?
17                     MS. DAVIS:          Objection.
18                     Go ahead.
19                     THE WITNESS:           Yeah.       I don't know what the
20               execution of that was at that time.
21       Q.      BY MR. BYRON GOLDSTEIN:                 And the second bullet
22               point for following information, it says, the
23               second document is "TA comp history practice,
24               one-pager."
25                     I'm introducing that document which has been


                                    Beovich Walter & Friend
     1-800-541-4452                      503-228-7201                        www.bwfreporters.com
                                                           Goldstein Decl. Ex. D, Page 2 of 3
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                                    Thomas, Shine - 30(b)(6)                       March 26, 2021

                                                                                     Page 214
1                previously been introduced as Exhibit 513.                               And
2                that is NIKE_00002070.
3        A.      I have the document.
4        Q.      Thank you, Shine.             And the file name in the
5                metadata Nike produced is TA comp history policy
6                change, two-pager, August 24, 2017, and there's
7                also a title of the document listed that says TA
8                policy change one-pager final.                        Even though the
9                title of this document, according to Nike's
10               metadata produced is TA policy change, one-pager
11               final, is this the document referenced in 673 TA
12               comp history practice one-pager?
13       A.      I assume so.         It has the same title.
14       Q.      At the bottom of the first page it says, "This
15               policy only applies to external applicants,
16               which includes all ETW's."                    Do you see that?
17       A.      I see that.
18       Q.      This document is thus announcing a change in
19               Nike policy; correct?
20       A.      Yes.    So some elements of this is a change in
21               policy and some elements of this is a change in
22               guideline.
23       Q.      Is one of the change in policies, do you see
24               where it says "Nike employees may no longer"?
25       A.      I do.


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     1-800-541-4452                      503-228-7201                        www.bwfreporters.com
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      Case 3:18-cv-01477-JR             Document 350           Filed 09/15/23       Page 112 of 153




1(213) 683-6169
danielprince@paulhastings.com


VIA E-MAIL                                                                                      98484.00003

September 21, 2020


Barry Goldstein
bgoldstein@gbdhlegal.com
Byron Goldstein
brgoldstein@gbdhlegal.com
James Kan
jkan@gbdhlegal.com
Goldstein, Borgen, Dardarian & Ho
300 Lakeside Dr., Suite 1000
Oakland, CA 94612

Re:   Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR

Dear Counsel:

We write regarding certain categories of documents identified in the Court’s Order dated August 10, 2020
(Dkt. # 111, the “Order”).

First, with respect to policies regarding the collection and/or use of prior compensation history before
August 24, 2017, the Order stated that “Nike shall make one final attempt at locating any such policies
and if such records exist produce them to plaintiffs. If Nike reports that no such records exist, the Court
will accept Nike’s representation on this issue.” (Order p. 3.) Following additional diligent search and
reasonable inquiry, Nike has not located, nor is it aware of, any written policies regarding the collection or
use of prior compensation history beyond the documents previously produced.

Second, regarding PSP plans, the Order stated that “[t]o the extent Nike has responsive documents,
beyond brochures, that specifically detail the PSP used by policymakers, it shall provide them to
plaintiffs.” (Order p. 4.) We specifically investigated statements in the document cited by Plaintiffs, which
referenced 18 PSP plans prior to FY18 and 11 PSP plans in FY18. Those different “plans” actually refer
to different financial targets for different geographies and teams in prior years — which were not
published — before Nike moved to one company-wide PSP plan in FY19. But, those specific financial
targets (or “plans”) all fell under the same plan umbrella, which are the PSP brochures for each FY that
Nike has produced. We collected a few more documents that were included in our production on
September 18, 2020. Otherwise, following additional diligent search and reasonable inquiry, Nike has not
located, nor is it aware of, any responsive documents beyond the documents previously produced.

Third, with respect to policies regarding the “preferred candidate” approach, the Order stated that “Nike
shall make another attempt at locating such documents and to the extent they exist, it shall produce the
‘preferred candidate’ policy to plaintiffs.” (Order p. 5.) Following additional diligent search and
reasonable inquiry, Nike has not located, nor is it aware of, any written policies regarding a “preferred
candidate approach.”




                                                                    Goldstein Decl. Ex. E, Page 1 of 2
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Barry Goldstein
Byron Goldstein
James Kan
September 21, 2020
Page 2


Fourth, regarding “policies related to the determination of whether employees are in the correct job code,
band, and/or level from before 2018,” the Order stated “[i]f they exist, they shall be produced.” (Order p.
6.) Following additional diligent search and reasonable inquiry, Nike has not located, nor is it aware of,
any responsive documents beyond the documents previously produced.

Last, we note that Nike’s September 18, 2020 production also included, among other documents, the
following: (1) documents concerning the “Excelerate” program (Order p. 5); (2) “Internal Investigations
Guidance” (Order p. 6); (3) pre-2018 versions of Nike’s Matter of Respect policy (Order p. 7); and (4) the
“complete survey results” for the “Starfish Survey” (Order p. 8).

Sincerely,

/s/ Daniel Prince

Daniel Prince
of Paul Hastings LLP




                                                                Goldstein Decl. Ex. E, Page 2 of 2
        Case 3:18-cv-01477-JR         Document 350         Filed 09/15/23      Page 114 of 153




1(213) 683-6120
feliciadavis@paulhastings.com


June 2, 2021                                                                              98484.00003

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Byron Goldstein (brgoldstein@gbdhlegal.com)
James Kan (jkan@gbdhlegal.com)
Mengfei Sun (msun@gbdhlegal.com)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612

Re:      Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR

Dear Counsel:

This letter responds to your June 1, 2021 meet and confer letter. On May 13, 2021, you
indicated a desire to conduct Rule 30(b)(6) depositions on the following data-related topics:
(1) meaning and uses of data Nike produced from Taleo on November 23, 2020; (2) data
related to plaintiffs’ channeling allegations for initial job assignment; (3) data related to plaintiffs’
promotions allegations; (4) data concerning organizational structure; and (5) covered
employees’ prior work history and education. I had asked for several weeks before this letter
that you provide the scope of any data-related depositions you wished to conduct, as it is
impossible to designate one witness on all subjects “data-related.” When we finally received
your letter, we promptly began responding to your questions, believing your representations that
doing so could avoid the necessity of additional depositions. Unfortunately, despite Nike’s best
efforts to compromise, it appears that you are insisting on a deponent on every topic. We
respond to each request in turn below:
      1. Meaning and uses of data Nike produced from Taleo on November 23, 2020
Although the fact discovery period in this case is now closed, we have agreed to provide a
Rule 30(b)(6) witness to provide testimony regarding the data contained within Nike’s Taleo
system. I communicated this to you via email on June 1, 2021, before transmittal of your meet
and confer letter.
      2. Data related to plaintiffs’ channeling allegations for initial job assignment
Your letter lacks foundation and incorrectly assumes that Nike “channels” applicants to any
particular job. The Rule 30(b)(6) witness on June 3, 2021 will be prepared to explain this to you,
to the extent that your questions relate to data contained within Nike’s Taleo system. This
should be more than sufficient to educate you regarding your “channeling” allegations.
      3. Data related to plaintiffs’ promotions allegations
To the extent this request seeks information outside of Taleo, you are correct that the June 3,
2021 witness will not offer such testimony. We plan to respond to your questions in writing, but
do not intend to designate a witness on this topic. You have all of the data you need to run a




                                                                 Goldstein Decl. Ex. F, Page 1 of 2
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June 2, 2021
Page 2




promotions analysis. There is no need at this pre-certification stage of the case for a witness on
this topic.
   4. Data concerning organizational structure
Your letter on this topic is disappointing. Nike has far exceeded its obligations to produce
organizational charts in this case. First, we have produced more than 5,000 organizational
charts reflecting Nike’s vast and complex organizational structure. Second, we took the
extraordinary step of engaging a third party vendor to create documents that did not otherwise
exist—organizational charts that reflect the reporting structure of litigation-relevant employees
through the CEO, each year, from 2015 through 2020—which is what you claimed that you
needed. This is unprecedented. We have never before created documents for an opposing
party in a case. Yet, as you have demonstrated throughout this case, nothing is good enough,
and you demand more. Your position on this point is absurd, harassing, and inconsistent with
the Federal or Local Rules.
   5. Covered employees’ prior work history and education
As set forth in my June 1, 2021 letter, also sent before your meet and confer letter, Nike does
not systematically collect education or prior work experience for incumbent employees. The
only place this data can be found on a reliable basis is in the Taleo system, where education
and prior work experience—as self-reported by the applicant—is found for individuals who have
applied for a position through the Taleo system. My letter also explained how the Taleo data
can be matched against the other data produced in this matter. No deposition testimony on this
topic is needed.
Finally, contrary to the assertions in your letter, Nike has not withheld any relevant data.
Throughout this matter, Plaintiffs have attempted to use discovery as a fishing expedition. You
have asked Nike to turn over anything—and everything—that you deem relevant. That is not
consistent with the Federal Rules of Civil Procedure or Evidence. You can feel free to ask the
Taleo deponent about reference manuals or data dictionaries that you assume exist. We have
not been able to locate any. But the witness will be more than happy to answer your questions,
which should resolve any concerns that Nike engages in the purported “channeling” claims you
allege.


Sincerely,

/s/ Felicia A. Davis

Felicia A. Davis
of PAUL HASTINGS LLP



LEGAL_US_W # 108277427.1




                                                           Goldstein Decl. Ex. F, Page 2 of 2
                          Case 3:18-cv-01477-JR                                                        Document 350                                       Filed 09/15/23                             Page 116 of 153
                                                                                                             New Intake Form - Mid-Tier Exec




OFFER INTAKE FORM
Date Submitted:                                                                                            Desired Delivery Date:
Submitted By:                                                                                              HRBP Associated with Hire:
CURRENT CANDIDATE INFORMATION                                                                                                                                                                           <--- USE FOR EXTERNAL OFFERS
Candidate Name:                                                                       Current Company:
Location (City, State):                                                               Company Stock Symbol:
Company Fiscal Year End:                                    < Select >
Job Title:
BASE PAY EXPECTATIONS
Annual Base Salary Expectations:
BONUS EXPECTATIONS
Annual Bonus Target % Expectations:
Annual Bonus Target Amt Expectations:
EQUITY EXPECTATIONS - UNVESTED EQUITY OR DEFERRED COMPENSATION THAT CANDIDATE WOULD FORFEIT OR HAVE CANCELLED BY VIRTUE OF THE CANDIDATE’S RESIGNATION FROM THEIR CURRENT
EMPLOYER IN NEXT 24 MONTHS

Vehicle Type 1:                                                     < Select >                       Vesting Schedule:
Equity Target:                                                                   <Select>            Is Award Size Based on Perf:                 < Select >
Vehicle Type 2:                                                     < Select >                       Vesting Schedule:
Equity Target:                                                                   <Select>            Is Award Size Based on Perf:                 < Select >
Vehicle Type 3:                                                     < Select >                       Vesting Schedule:
Equity Target:                                                                   <Select>            Is Award Size Based on Perf:                 < Select >
LONG-TERM CASH EXPECTATIONS
Long-Term Cash Target:
ADDITIONAL COMPENSATION EXPECTATIONS
Does the candidate have any additional compensation expectations that should be considered (e.g. requests for allowances, additional bonuses, etc.)? Please explain and provide award type/size
expectations.



NIKE JOB INFORMATION                                                                                                                                                                                    <--- USE FOR EXTERNAL OFFERS ONLY
Hiring Manager Name:                                                                                       Proposed Start Date:
Position Title:                                                                                            Job Location:                                < Select >
Position Number:                                                                                           Cost Center:
Job Code:                                                                                                  Job Band:
Job Title:                                                                                                 Pay Range Minimum:
Job Pipeline:                                                                                              Pay Range Median:
Job Family:                                                                                                Pay Range Maximum:
MOBILITY/IMMIGRATION                                                                                                                                                                                    <--- USE FOR EXTERNAL OFFERS ONLY
                                                                                                           Has Pre-Offer Relocation Consultation
Has Pre-Offer Immigration Assessment been initiated?                     < Select >                                                                     < Select >
                                                                                                           been initiated?
Visa or Sponsorship Required:                                            < Select >                        Homeowner or Renter:                         < Select >
Type:                                                                                                      Potential Loss on Sale:                      < Select >
Explanation:                                                                                               Explanation:




Are there any unique relocation issues? Is the candidate being localized? If so, please provide context.




CONTEXT & TALENT STORY                                                                                                                                                                                  <--- USE FOR EXTERNAL OFFERS ONLY
BUSINESS/HIRING MANAGER VIEWPOINT: Does the hiring manager have compensation recommendations in mind for salary, sign-on, stock, etc.?




TALENT STORY: What will the candidate bring to Nike? Why is this the best candidate for the job? Is this candidate a "unicorn" or the best available?




ADDITIONAL INFO: Is there any additional information that should be considered in developing this offer?




ATTACHMENTS                                                                                                                                                                                             <--- USE FOR EXTERNAL OFFERS ONLY
 Candidate                                                                                                            Documentation Supporting                          Additional
                                   < Select >                                                                                                   < Select >                              < Select >
  Resume:                                                                                                                         Localization:                      Attachments:




NIKE_00024726_Confidential.xlsx                                                                                                                                                                                                             1 of 1




                                                                                                                                                                 Goldstein Decl. Ex. G, Page 1 of 7
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                                                                                                           New Intake Form - Below Mid Exe




OFFER INTAKE FORM
Date Submitted:                                                                         Desired Delivery Date:
Submitted By:                                                                           HRBP Associated with Hire:
CURRENT CANDIDATE INFORMATION                                                                                                                                                                             <--- USE FOR EXTERNAL OFFERS
Candidate Name:                                                                    Current Company:
Location (City, State):                                                            Company Stock Symbol:
Company Fiscal Year End:                          < Select >
Job Title:
BASE PAY EXPECTATIONS
Annual Base Salary Expectations:
BONUS EXPECTATIONS
Annual Bonus Target % Expectations:
Annual Bonus Target Amt Expectations:
ADDITIONAL COMPENSATION EXPECTATIONS
Does the candidate have any additional compensation expectations that should be considered (e.g. requests for allowances, additional bonuses, equity, etc.)? Please explain and provide award type/size
expectations.




NIKE JOB INFORMATION                                                                                                                                                                                      <--- USE FOR EXTERNAL OFFERS
Hiring Manager Name:                                                                    Proposed Start Date:
Position Title:                                                                         Job Location:                       < Select >
Position Number:                                                                        Cost Center:
Job Code:                                                                               Job Band:
Job Title:                                                                              Pay Range Minimum:
Job Pipeline:                                                                           Pay Range Median:
Job Family:                                                                             Pay Range Maximum:
MOBILITY/IMMIGRATION                                                                                                                                                                                      <--- USE FOR EXTERNAL OFFERS ONLY
Has Pre-Offer Immigration Assessment been                                               Has Pre-Offer Relocation
                                                      < Select >                                                            < Select >
initiated?                                                                              Consultation been initiated?
Visa or Sponsorship Required:                         < Select >
Type:
Explanation:                                                                            Explanation:




Are there any unique relocation issues? Is the candidate being localized? If so, please provide context.




CONTEXT & TALENT STORY                                                                                                                                                                                    <--- USE FOR EXTERNAL OFFERS ONLY
BUSINESS/HIRING MANAGER VIEWPOINT: Does the hiring manager have compensation recommendations in mind for salary, sign-on, stock, etc.?




TALENT STORY: What will the candidate bring to Nike? Why is this the best candidate for the job? Is this candidate a "unicorn" or the best available?




ADDITIONAL INFO: Is there any additional information that should be considered in developing this offer?




ATTACHMENTS                                                                                                                                                                                               <--- USE FOR EXTERNAL OFFERS ONLY
                                                                                             Documentation Supporting                       Additional
                   Candidate Resume: < Select >                                                                        < Select >                                           < Select >
                                                                                                         Localization:                   Attachments:




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                                                                        Intake Form - Current


OFFER INTAKE FORM
Date Submitted:                                                                         Desired Delivery Date:
Submitted By:                                                                           HRBP Associated with Hire:
CURRENT CANDIDATE INFORMATION
Candidate Name:                                                                         EE ID:                             Internal Offers Only
Location (City, State):                                                                 Current Company:
Company Fiscal Year End:              < Select >                                        Company Stock Symbol:
Job Title:
BASE PAY
Annual Base Salary:
BONUS
Annual Bonus Target %:                                                                  Previous Bonus Amount Paid:
Annual Bonus Target Amt:                                                                Anticipated Bonus Amount:
Bonus Payout Frequency:                                                                 Bonus Payout Date:
Does the candidate need to be employed on a certain date to receive the bonus? If so, what date?
If the candidate leaves their current company, what amount will they receive in prorated bonus?
EQUITY
Vehicle Type 1:                       < Select >                                        Vesting Schedule:
Equity Target:                                         <Select>                         Is Award Size Based on Perf:       < Select >
Vehicle Type 2:                       < Select >                                        Vesting Schedule:
Equity Target:                                         <Select>                         Is Award Size Based on Perf:       < Select >
Vehicle Type 3:                       < Select >                                        Vesting Schedule:
Equity Target:                                         <Select>                         Is Award Size Based on Perf:       < Select >
LONG-TERM CASH
Long-Term Cash Target:                                                                  Performance Period:
ADDITIONAL COMPENSATION
Is there any additional compensation that should be considered (e.g. allowances, additional bonuses, etc.)? Please explain and provide award type/size.




NIKE JOB INFORMATION
Hiring Manager Name:                                                                    Proposed Start Date:
Position Title:                                                                         Job Location:                      < Select >
Position Number:                                                                        Cost Center:
Job Code:                                                                               Job Band:
Job Title:                                                                              Pay Range Minimum:
Job Pipeline:                                                                           Pay Range Median:
Job Family:                                                                             Pay Range Maximum:
MOBILITY/IMMIGRATION
Has Pre-Offer Immigration                                                               Has Pre-Offer Relocation
                                      < Select >                                                                           < Select >
Assessment been initiated?                                                              Consultation been initiated?

Visa or Sponsorship Required:         < Select >                                        Homeowner or Renter:               < Select >
Type:                                                                                   Potential Loss on Sale:            < Select >
Explanation:                                                                            Explanation:




Are there any unique relocation issues? Is the candidate being localized? If so, please provide context.




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                                                                       Intake Form - Current


OFFER INTAKE FORM




CONTEXT & TALENT STORY
CANDIDATE EXPECTATIONS: Please provide information related to any discussions related candidate expectations around salary, sign-on, etc.




BUSINESS/HIRING MANAGER VIEWPOINT: Does the hiring manager have compensation recommendations in mind for salary, sign-on, stock, etc.?




TALENT STORY: What will the candidate bring to Nike? Why is this the best candidate for the job? Is this candidate a "unicorn" or the best available?




ADDITIONAL INFO: Is there any additional information that should be considered in developing this offer?




ATTACHMENTS
      Candidate                           Equity Award Summary or                            Documentation Supporting                            Additional
                     < Select >                                          < Select >                                          < Select >                       < Select >
       Resume:                                          Statement:                                       Localization:                        Attachments:




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                                                                         Intake Form Example


OFFER INTAKE FORM EXAMPLE
Date Submitted:                       3/2/2017                                          Desired Delivery Date:             3/9/2017
Submitted By:                         Daffy Duck                                        HRBP Associated with Hire:         Bugs Bunny
CURRENT CANDIDATE INFORMATION
Candidate Name:                       Stan Podolak                                      EE ID:                             Internal Offers Only
Location (City, State):               Birmingham, AL                                    Current Company:                   Birmingham Barons
Company Fiscal Year End:              June                                              Company Stock Symbol:              MLBB
Job Title:                            Publicist and Personal Assistant
BASE PAY
Annual Base Salary:                   $100,000
BONUS
Annual Bonus Target %:                15%                                               Previous Bonus Amount Paid:        $20,000
Annual Bonus Target Amt:              $15,000                                           Anticipated Bonus Amount:          $17,500
Bonus Payout Frequency:               Annual                                            Bonus Payout Date:                 7/1/2017
Does the candidate need to be employed on a certain date to receive the bonus? If so, what date?                           6/1/2017
If the candidate leaves their current company, what amount will they receive in prorated bonus?                            $2,500
EQUITY
Vehicle Type 1:                       RSUs                                              Vesting Schedule:                  3 Year Cliff Vest
Equity Target:                        50,000            Dollars                         Is Award Size Based on Perf:       No
Vehicle Type 2:                       Stock Options                                     Vesting Schedule:                  4 Year Annual Vest
Equity Target:                        15,000            Shares                          Is Award Size Based on Perf:       Yes
Vehicle Type 3:                       < Select >                                        Vesting Schedule:                  n/a
Equity Target:                        n/a               <Select>                        Is Award Size Based on Perf:       < Select >
LONG-TERM CASH
Long-Term Cash Target:                $10,000                                           Performance Period:                2 Year Cliff Vest
ADDITIONAL COMPENSATION
Is there any additional compensation that should be considered (e.g. allowances, additional bonuses, etc.)? Please explain and provide award type/size.
No special circumstances.


NIKE JOB INFORMATION
Hiring Manager Name:                  Lola Bunny                                        Proposed Start Date:               4/1/2017
Position Title:                       Operations Director                               Job Location:                      Beaverton, OR
Position Number:                      2596648                                           Cost Center:                       109987
Job Code:                             A0937                                             Job Band:                          E
Job Title:                            DIR: LOGISTICS                                    Pay Range Minimum:                 $125,000
Job Pipeline:                         LOGISTICS & SERVICES                              Pay Range Median:                  $150,000
Job Family:                           PRODUCT DELIVERY                                  Pay Range Maximum:                 $175,000
MOBILITY/IMMIGRATION
Has Pre-Offer Immigration                                                               Has Pre-Offer Relocation
                                      Yes                                                                                  Yes
Assessment been initiated?                                                              Consultation been initiated?

Visa or Sponsorship Required:         Yes                                               Homeowner or Renter:               Homeowner
Type:                                 H1-B Visa                                         Potential Loss on Sale:            Yes
Explanation:                          Hoping to relocate this candidate from the        Explanation:                       Candidate owns a house. Loss on sale assistance
                                      Center of the Earth to Beaverton. Will require an                                    will likely be required, pending assessment by
                                      H1-B Visa.                                                                           Cartus.




Are there any unique relocation issues? Is the candidate being localized? If so, please provide context.
Candidate will need 3 months temporary housing.




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                                                                          Intake Form Example


OFFER INTAKE FORM EXAMPLE




CONTEXT & TALENT STORY
CANDIDATE EXPECTATIONS: Please provide information related to any discussions related candidate expectations around salary, sign-on, etc.
Candidate is expecting sign-on of at least $100K




BUSINESS/HIRING MANAGER VIEWPOINT: Does the hiring manager have compensation recommendations in mind for salary, sign-on, stock, etc.?
Hiring manager believes this is the best candidate possible and is ok with the $500K sign-on.




TALENT STORY: What will the candidate bring to Nike? Why is this the best candidate for the job? Is this candidate a "unicorn" or the best available?
Candidate is has potential to save struggling business unit based on skills and experience. Brings assets to Nike that we don't currently have on the bench.




ADDITIONAL INFO: Is there any additional information that should be considered in developing this offer?
Candidate has 2 additional offers on the table at this time.




ATTACHMENTS
      Candidate                             Equity Award Summary or                             Documentation Supporting                              Additional
                         Yes                                                   Yes                                                   Yes                           No
       Resume:                                            Statement:                                        Localization:                          Attachments:




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                                                                                              Equity Statement Examples




                                  IDEAL!                                                             OKAY                                                    NOT ENOUGH DETAIL




                                                                           With info from candidate: "Stock vests 50% in year 2 and the
                                                                                            remaining 50% in year 5"




  Annual awards listed separately with award type, vesting          This isn’t ideal since it doesn’t show any details about the          This summary looks nice but doesn’t have the level of detail
  details including # of shares, vesting dates & number of          original award size, or vesting timing. But with vesting              that we need. Are these awards in the format of options or
  shares already vested. If this were for options, it should also   schedule details, we can still determine walkaway value               RSUs? How many shares/options have been awarded and
  show award strike price.                                                                                                                when do they vest?




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              IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF OREGON
                            PORTLAND DIVISION
KELLY CAHILL, et al.,
individually and on behalf
of others similarly situated,                    No.
            Plaintiffs,                          3:18-cv-01477-JR
      v.
NIKE INC., an Oregon
Corporation,
            Defendant.




      REMOTE 30(b)(6) VIDEOCONFERENCE DEPOSITION OF
                               SHINE THOMAS
                  Taken in behalf of Plaintiffs
                             March 26, 2021




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                                                                                    Page 202
1                longer asking candidates about the compensation
2                history was at least in part because of a
3                commitment to pay equity?
4        A.      That's what it says in the e-mail.                        I recall
5                this being primarily because the law had changed
6                as well.
7        Q.      And then the next paragraph begins with the U.S.
8                talent acquisition team plays a critical role in
9                implementing this practice.                   Is that an accurate
10               statement?
11       A.      It is an accurate statement.
12       Q.      In the third paragraph it states, "In addition,
13               our Total Rewards partners have created an
14               updated offer intake form to collect this
15               information from candidates."
16                      So there was an offer intake form that
17               existed prior to this e-mail; correct?
18       A.      Yeah.     That's what the e-mail says.                     I can't
19               remember all the dates of everything, but I'm
20               sure that's correct.
21       Q.      And then there was a new updated version of the
22               offer intake form that began around the time of
23               this e-mail; correct?
24       A.      Correct.
25       Q.      And so Nike created an updated offer intake form


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     1-800-541-4452                      503-228-7201                        www.bwfreporters.com
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                                    Thomas, Shine - 30(b)(6)                      March 26, 2021

                                                                                    Page 203
1                around October 2017, around the same time that
2                Nike changed its policy to no longer ask
3                candidates about their compensation history;
4                correct?
5        A.      The offer intake form was updated and our policy
6                changed as well as the law around asking for
7                compensation history.
8        Q.      And the offer intake form was updated because of
9                this policy change?
10       A.      That's what the e-mail says.                    I will say the
11               offer intake --
12       Q.      What's that?
13       A.      That's what the e-mail says.
14       Q.      And based on this e-mail and who it's from and
15               who's cc'd, do you believe this is an accurate
16               statement?
17       A.      I have no reason to doubt the accuracy of the
18               statement.
19       Q.      What does the reference to Total Rewards
20               partners mean?
21       A.      There are different partners that have different
22               functions of Nike with regards to compensation.
23       Q.      Is that the compensation organization within
24               human resources?
25       A.      That is correct.


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             Shareholders
             Linda M. Dardarian                                                                                          Of Counsel
             Laura L. Ho                                                                                          Barry Goldstein
             James Kan                                                                                              David Borgen
             Andrew P. Lee                                                                                        Morris J. Baller


                                                              June 15, 2021
                                                                                                      Via E-Mail Only
             Daniel Prince                                                              danielprince@paulhastings.com
             Felicia A. Davis                                                            feliciadavis@paulhastings.com
             Laura Zabele                                                                laurazabele@paulhastings.com
             PAUL HASTINGS LLP
             515 S. Flower Street, 25th Floor
             Los Angeles, CA 90071

                            Cahill, et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR

             Dear Counsel,

                     Although Rule 26(e) “creates an ongoing duty to supplement or correct prior disclosures
             or discovery responses without the need for a request from another party,” Brown v. Wal-Mart
             Store, Inc., 2018 WL 2011935, at *2 (N.D. Cal. Apr. 27, 2018) (citation and internal quotations
             omitted), Plaintiffs must again write to remind Nike it has failed to produce documents that
             should have been produced prior to the close of the discovery period.

                     Please promptly produce the below documents. These documents are responsive to RFPs
             served over two years ago, covered by discovery orders, and Nike knows these documents
             existed. Yet, Nike neither produced these documents nor informed Plaintiffs that it was
             withholding these documents. Please thus explain why Nike failed to produce this discovery so
             that the Parties can meet and confer about what additional steps should be taken. If Nike no
             longer has any of these documents, please promptly let us know when the documents were
             deleted or otherwise became inaccessible, by whom, and why.

                            1.     Pre-2018 versions of the Offer Intake Form. Thomas 202:12-203:18; Exhibit 673.

                            2.     Pre-2018 Versions of Manager Playbook, Hiring. Thomas 210:10-23; Exhibit
                                   673.

                            3.     Pre-2018 Versions of Hiring Process. Thomas 210:10-23; Exhibit 673.

                            4.     Pre-December 2018 Hiring Philosophy and Guidelines. Thomas 55:5-17. Exhibit
                                   660.

                            5.     Complete versions of the Talent Acquisition Playbook. Thomas 204:12-206:10
                                   (Talent Acquisition playbook is the main source of guidelines and policies for TA
                                   members, and “[a]ll these tools that are available are typically housed in the TA
                                   playbook and there are always guidelines and tools.”); see also id. at 157:16-
                                   160:12; Exhibits 669, 670, 671, 673.

           155 Grand Avenue, Suite 900, Oakland, CA 94612          Tel 510. 763. 9800   Fax 510. 835. 1417   www.gbdhlegal.com
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                   6.      Compensation Guidelines for External Hires and Total Compensation Hiring
                           Tool. Thomas 167:6-69:17 (“assume [the Compensation guidelines for external
                           hires and the Total Compensation Hiring Tool] provide guidelines around
                           compensation as a data point in making the final offer recommendations.”);
                           Exhibit 670.

                   7.      Taleo Question Library with Answers. Thomas 161:24-162:3; Exhibit 670.

                   8.      FPT Access Form. Thomas 167:6-19, 174:7-20; Exhibit 669.

                   9.      Manager Excellence and Manager Manifesto. Heinle 114:11-22, 115:17-21.

                   10.     Employees chosen for Xcelerate. This data may show that Nike’s top
                           management and HR disproportionately selected men for Xcelerate. Nike does
                           not assert this data is non-existent and does not provide any basis for withholding
                           other than saying that Nike has unilaterally determined that the discovery is
                           irrelevant. Further, Nike failed to even respond to the meet and confer on the
                           unproduced Xcelerate data for ten months, almost two months after the discovery
                           deadline it sought, and more than six weeks after it represented to the Court it
                           would respond, ECF No. 114 at 20.

                   11.     Talent Move form and any other documents filled out for talent planned /
                           noncompetitive promotions. Heinle 47:6, 48:10-50:4. Ms. Heinle testified that
                           Nike fills out forms and spreadsheets concerning noncompetitive promotions.
                           Heinle 198:12-199:7. Ms. Heinle, however, did not know the name of the form,
                           what information is in the form, or where the data was entered (though she
                           assumed SAP). Id. at 198:24-199:7 (Ms. Heinle believes this form is “submitted
                           to our HR operations group that would then enter the data,” and Ms. Heinle was
                           not sure where the data was entered into but assumes SAP).

                   12.     Online Assessments for Leadership Potential Assessment (“LPA”) and Talent
                           Segmentation. Heinle 207:13-19 (To assess potential for LPA, from at least 2015
                           until LPA ended, there was an online assessment that consisted of various
                           questions, part of which is shown in the image in the top right on slide 20 of
                           Exhibit 647); id. at 207:23-208:14 (online assessment that is part of the talent
                           segmentation process). The screenshot on slide 20 of Exhibit 647 does not show
                           all the questions for the LPA assessment, and the witness did not know what the
                           other questions were. Id. at 207:20-22.

                   13.     Risk of Loss and Impact of Loss data from the period when Nike did the
                           Leadership Potential Assessment, 2018 and before. Ms. Heinle testified that Nike
                           collected this data. Heinle 37:17-23. Exhibit 500 at slide 40 states that these two
                           factors were used prior to 2019 when making pay recommendations and
                           determinations, so Nike must have collected the data on these two factors.

                   14.     Criteria to Recruit. Thomas 260:3-261:7




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                   15.     Fill Strategy guidelines, which means a determination about how a position is
                           going to be filled. Heinle 124:13-125:2. Ms. Heinle believes there are guidelines
                           regarding fill strategy, but she did not know the names of those guidelines.
                           Heinle 133:6-11. 1

                   16.     Documents and communications showing what, how, and the substance of
                           Succession Management Systems or Related Systems. Nike’s Rule 30(b)(6)
                           witness testified that she believed Nike’s Succession Management System and
                           “SMS SumTotal” are succession planning systems. Heinle 239:13-240:21 2

                   17.     Documents showing how Nike used Taleo, Avature, SAP, and other systems for
                           sourcing candidates who were hired into Covered Positions, related to
                           noncompetitive promotions, matching, or initial job assignments, and what data
                           was collected regarding same. Nike has possession, custody, or control of such
                           documents, which are responsive to RFPs 2-3. The importance of this discovery
                           is underscored by the fact that Nike choose to not prepare its Rule 30(b)(6)
                           witnesses for Topics noticed on October 28, 2020 concerning this information. 3
                           Nike also failed to appear for parts of these Topics; for example, Nike failed to
                           appear with respect to the data collected and systems it used to source candidates,


           1
             Ms. Heinle was otherwise unprepared to testify about policies, practices, guidelines, or
           trainings concerning noncompetitive promotions. When asked whether there were guidelines or
           policies regarding noncompetitive promotions and approvals, Ms. Heinle answered, “I don’t
           know.” Heinle 70:20-71:1. Ms. Heinle also did not know if there were trainings about
           noncompetitive promotions. Id. at 132:24-133:5.
           2
            SumTotal “can develop talent pools … to drive decision-making,” “identify top talent,” “build
           bench strength,” “cultivate new leaders,” “improve internal career mobility,” and “create
           dynamic talent pools.” https://www.sumtotalsystems.com/solutions/talent-
           development/succession (SumTotal’s homepage).
           3
             For example, when asked about systems Nike maintains data related to noncompetitive
           promotions and/or job transfers from 2015 to the present, Ms. Heinle answered: “I believe most
           of our data is housed in SAP. I do not know what data is included – I don't know all our other
           systems or where it would be.” Heinle 75:17-76:6. After identifying the employees who would
           have information to answer this question, the witness testified she did not talk to them in
           preparation for the deposition, Ms. Heinle did not do anything to prepare with respect to the data
           concerning noncompetitive promotions or job changes, and Ms. Heinle also testified that she did
           “nothing” to prepare for this deposition regarding anything about impact of loss or risk of loss
           with respect to LPA. Id. at 76:7-23, 172:23-173:11, Heinle 230:22-231:16. Ms. Thomas
           testified she did not do anything to prepare for topic 11, which concerns systems Nike used,
           other than speak to outside counsel, who provided no new facts. Thomas 173:11-22. Ms.
           Thomas did not learn anything new during preparation for the deposition, did not look for any
           documents on her own, or talk to anyone other than counsel during preparation for the
           deposition. Id. at 14:12-18, 18:17-19:2. She did not review any transcripts from prior
           depositions. Id. at 29:25-30:3.



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                           which caused women to disproportionally apply to lower-level jobs than men.
                           Nike also made other efforts to prevent Plaintiffs from obtaining this discovery. 4



                                                         Sincerely,



                                                         Byron Goldstein

           Enclosures

           cc:     James Kan
                   Barry Goldstein
                   Mengfei Sun
                   Laura Salerno Owens
                   Kathryn A. Roberts




           4
             For example, Nike’s November 22, 2020 letter stated Nike “produced all of the fields available
           in [SAP], even those that are not consistently used” (Nike’s Nov. 22, 2020 letter at 3), but Nike
           was then forced to admit for the first time on March 14, 2021 that that it had not produced all
           data fields in SAP (Nike’s Mar. 14, 2021 letter at 3).



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              IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF OREGON
                            PORTLAND DIVISION
KELLY CAHILL, et al.,
individually and on behalf
of others similarly situated,                    No.
            Plaintiffs,                          3:18-cv-01477-JR
      v.
NIKE INC., an Oregon
Corporation,
            Defendant.




      REMOTE 30(b)(6) VIDEOCONFERENCE DEPOSITION OF
                               SHINE THOMAS
                  Taken in behalf of Plaintiffs
                             March 26, 2021




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                                    Thomas, Shine - 30(b)(6)                      March 26, 2021

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1                       Exhibit 672.
2                       MS. DAVIS:          Byron, I believe the offer
3                modeling tool was Exhibit 672.
4                       MR. BYRON GOLDSTEIN:                   Thank you, Felicia.
5        Q.      BY MR. BYRON GOLDSTEIN:                  Exhibit 673 is
6                NIKE_00024727.
7        A.      I have that open.
8        Q.      Great.     If you look at the "to" field of this.
9                So this is an e-mail that's from Daniel Laboe
10               and it's sent on August -- October 12, 2017.
11               Based on the "to" field which has some, looks
12               like a list of people and that it's addressed to
13               the USDA team, was this sent to all talent
14               acquisition employees at Nike World
15               Headquarters?
16       A.      Yes.
17       Q.      Was it sent to any employees who did not work in
18               talent acquisition?
19       A.      It looks like there's some people copied in
20               there who do not work in talent acquisition, if
21               that's what you mean.
22       Q.      And those four names are Kim Lupo, Dan Westling
23               and Monica Lin-Meyer?
24       A.      Yes.
25       Q.      Other than those four people, did anyone other


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                                    Thomas, Shine - 30(b)(6)                      March 26, 2021

                                                                                    Page 210
1                director of operations, but I don't know what
2                changes there are.
3        Q.      BY MR. BYRON GOLDSTEIN:                  Did you talk to Dan?
4                I'm sorry.
5        A.      I'm sorry.         I said he had changes to his title,
6                but he's a senior director.
7        Q.      Did you talk to Dan Laboe in preparation for
8                this deposition?
9        A.      I did not.
10       Q.      And do you see above "Hiring Process," "Manager
11               Playbook Hiring" is listed there?
12       A.      Yes.
13       Q.      And so that's a prior version of Exhibit 662?
14               Exhibit 662 is from December 2018?
15       A.      I assume so.
16       Q.      And because this was a change in policy
17               announcement all of these or those two
18               documents, "Manager Playbook Hiring" and "Hiring
19               Process" would have been updated at this time;
20               correct?
21       A.      I assume that would have been the process.                              I'm
22               not responsible for that.                     So I can't answer
23               specifically.
24       Q.      Does Nike still have the prior versions prior to
25               this e-mail or any versions between 2015 to


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                                    Thomas, Shine - 30(b)(6)                      March 26, 2021

                                                                                    Page 211
1                October 2017 about the hiring processor manager
2                playbook hiring?
3        A.      I do not know.
4        Q.      Is Nike's document retention policy easy to
5                locate for Nike employees?
6                       MS. DAVIS:          Objection; outside the scope,
7                may call for speculation.
8                       If you know.
9                       THE WITNESS:           I don't know.            I've never
10               needed to look for that.                  I do not know.
11       Q.      BY MR. BYRON GOLDSTEIN:                  In your experience at
12               Nike, does Nike's document retention policy
13               consistently or inconsistently apply?
14                      MS. DAVIS:          Objection; outside the scope,
15               calls for speculation.
16                      THE WITNESS:           I don't know the answer to
17               that question.
18       Q.      BY MR. BYRON GOLDSTEIN:                  So under the bullet
19               points it says, "Be aware that hiring and
20               interviewing resources on the HR website NA DTC
21               Zero and other key internal websites now reflect
22               this practice in support of our D&I commitment."
23                      D&I refers to diversity and inclusion?
24       A.      Yes.
25       Q.      What are the other key internal websites


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                                    Thomas, Shine - 30(b)(6)                      March 26, 2021

                                                                                    Page 212
1                referenced there?
2        A.      So the HR website is on Zero, which is our
3                intranet, and that is where all these
4                guidelines, et cetera, are housed.                        North, NADTC
5                stands for North America direct consumer, but
6                I'm not sure what is actually housed on that
7                part of the intranet.
8        Q.      Okay.     Who manages the HR website?
9                       MS. DAVIS:          Objection; outside the scope.
10                      THE WITNESS:           I would assume communications
11               manager.      I don't know exactly.
12       Q.      BY MR. BYRON GOLDSTEIN:                  Do you know what
13               changes were made to the hiring and interviewing
14               resources around October 2017 that were on the
15               HR website NA DTC Zero or other key internal
16               websites?
17       A.      Based on this e-mail, it looks like these
18               documents were updated.                  Outside of that I do
19               not know.
20       Q.      The next sentence references standard
21               communications to hiring managers and
22               interviewers.          What are the standard
23               communications to hiring managers?
24       A.      I'm sorry.         I can't -- Oh, I just found that.                       I
25               think we have many methods of communicating with


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From:                 HR Communications
To:                   Janke, Amy
Sent:                 9/14/2017 7:00:13 PM
Subject:              HRBP Update: September 14, 2017




             In This Issue:                                              September 14, 2017
                ®   New U.S. Legislation Impacting Candidate Questions
                    About Salary History


             Talent Acquisition Operations
             New U.S. legislation impacting candidate questions about
             salary history
             Relevance: Any employee who interviews a candidate based in the U.S. or Puerto Rico.
             Requested Action: Awareness of new legislation that affects what employers can ask

                                                                                             NIKE_00023658
                                                                    Goldstein Decl. Ex. L, Page 1 of 2
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  candidates about their compensation histories. Help TA build awareness & drive the
  change with your business teams.
  This October, cities and states across the U.S. will enact new laws that improve workers’
  abilities to earn competitive and equitable pay in the marketplace. In the spirit of Nike’s
  culture & values, we support these new regulations, and are proactively adopting an
  internal policy to ensure we remain compliant.

  What you need to know:

  Beginning October 1, interviewers can no longer ask candidates to share their
  current compensation or any compensation history. Compensation questions now fall
  under non-discrimination legal statutes, and violations will incur fines and/or legal action.

  This new policy also means that Nike may no longer:

           Use salary as a tool to disqualify candidates, or as a screening criteria.
       ®
           Require candidates to satisfy a minimunvymaximum salary for a position.
       ®   Record salary history in our ATS or CRM systems.
       ®   Search public records for candidates’ compensation history, even if the information
           is readily available.

  Instead, our conversations with candidates must focus on their compensation
  expectations. Since we can no longer ask candidates to provide actual compensation
  figures, Nike will use the candidate’s salary expectations—compiled with market
  information—to inform and create our offers.

  Talent Acquisition Operations is currently working with HR COE partners to align their
  processes to this new policy. Training sessions and communications are planned
  throughout September to ensure recruiters, hiring managers & interviewers at corporate &
  retail adopt to this new policy. Hiring & interviewing resources on the HR Website, DTC
  Zero and other key internal websites will also be updated prior to October 1.

  To drive awareness & adoption of this change in the business, recruiters are prepared
  with talking points to include in their ongoing conversations with hiring managers. The HR
  Business Planning & Delivery team is also equipped with this walking deck to prepare
  HRBPs and Business Leadership for this policy change.

  »»   Questions? Contact Marc Caputo, recruiter & project manager.



  About HRBP Update: The HRBP Update is a bi-weekly communication to business-facing HR
  with important HR information about current business priorities and what to expect in the
  future. For questions or comments, contact the HR Communications & Branding team.




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                                                                                               NIKE_00023659
                                                                      Goldstein Decl. Ex. L, Page 2 of 2
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                                           July 11, 2023
                                                                                 Via E-Mail Only
Daniel Prince                                                      danielprince@paulhastings.com
Felicia A. Davis                                                    feliciadavis@paulhastings.com
PAUL HASTINGS LLP
515 S. Flower Street, 25th Floor
Los Angeles, CA 90071

       Cahill, et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR

Dear Counsel,

        Plaintiffs allege Nike had a practice of using prior pay when setting starting salary until
about October 2017. Nike, however, has not produced any policies, guidelines, trainings,
descriptions, or forms that it used when setting starting pay from this period (pre-October 2017).
Plaintiffs asked for this discovery in RFP Nos. 4 and 8. The Court ordered Nike to produce this
discovery (ECF No. 89).

        Plaintiffs are again asking Nike to engage in a transparent and collaborative process.
Please thus let us know the following information soon so the Parties can then discuss how to
locate this outstanding discovery efficiently and effectively.

           1. In response to Plaintiffs’ RFP No. 4, what efforts and methods did you undertake
to locate responsive discovery related to the setting of starting pay from the pre-October 2017
period? If these efforts were limited to a certain time period, locations, custodians, or search
terms, can you please let us know each of those parameters?

           2. In response to Plaintiffs’ RFP No. 8, what efforts and methods did you undertake
to locate responsive discovery related to the setting of starting pay from the pre-October 2017
period? If these efforts were limited to a certain time period, locations, custodians, or search
terms, can you please let us know each of those parameters?

          3. In response to the October 2019 Order (ECF No. 89), what efforts and methods
did you undertake to locate responsive discovery related to the setting of starting pay from the
pre-October 2017 period? If these efforts were limited to a certain time period, locations,
custodians, or search terms, can you please let us know each of those parameters?

                                              Sincerely,



                                              Byron Goldstein




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July 17, 2023

Via E-Mail (brgoldstein@gbdhlegal.com)

Byron Goldstein
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612

Re:    Cahill, et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR,
       U.S. District Court, D. Oregon

Dear Counsel:

Thank you for your July 11, 2023 correspondence. As you note, NIKE remains
committed to a transparent and collaborative post-certification discovery period. NIKE
has produced a significant amount of information and we look forward to working
together to conclude discovery on the claims asserted by the four named Plaintiffs.

First, we understand Plaintiffs’ allegations and believe that NIKE has complied with the
Court’s October 31, 2019 order requiring, in pertinent part, policies maintained during
the relevant time periods “regarding hiring, firing, pay, promotions, and compensation
systems[.]” ECF No. 89. While we have not performed an exhaustive review of Nike’s
document production for this purpose, a quick search reveals several responsive
documents. See, e.g., NIKE_00000264, NIKE_00000568, NIKE_00002070,
NIKE_00002072, NIKE_00002321, NIKE_00019411, and NIKE_00023659. 1

However, to the extent Plaintiffs believe there is a “policy” relating to the use of prior
compensation history, the Court ruled that “there is insufficient evidence that Nike has a
company-wide policy of collection prior pay data[,]” and that “[t]he evidence does not
demonstrate a centralized decision-making process that collected prior pay data used to
make starting pay decisions.” ECF No. 310 at 47. Plaintiffs’ suspicion—without
evidence—that certain documents may exist does not support an order compelling
production of the same. See, e.g., Boston v. Clubcorp USA, Inc., No. CV 18-3746 PSG
(SS), 2019 U.S. Dist. LEXIS 72975, at *21-22 (C.D. Cal. Mar. 11, 2019).




1 Plaintiffs’ letter specifically identified the 2017 time period, although we note that

NIKE’s production also included policy documents from other timeframes. See, e.g.,
NIKE 00001637 (2018), NIKE_00001707 (2018), NIKE_00001740 (2018),
NIKE_00014021 (2019), and NIKE_00003314 (2019).




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Second, we believe that Plaintiffs’ request for NIKE’s “methods” of identifying
responsive documents—including search terms, locations, custodians, etc.—is
inappropriate and not supported by any Order in this case. In fact, courts in this circuit
and other circuits routinely deny such requests for “discovery on discovery.” See, e.g.,
246 Sears Rd. Realty Corp. v. Exxon Mobil Corp., No. 09-CV-889 (NGG) (JMA), 2011
U.S. Dist. LEXIS 165391 (E.D.N.Y. Apr. 1, 2011) (denying motion to compel production
of information showing the names of custodians from which information was collected,
location of relevant data, and defendant’s search methodology); Jensen v. BMW of N.
Am., LLC, 328 F.R.D. 557 (S.D. Cal. 2019) (denying motion to compel production of
sources of information searched, search methods employed, search terms employed,
and the identification of custodians from whom information was gathered); Karrani v.
JetBlue Airways Corp., No. C18-1510 RSM, 2019 U.S. Dist. LEXIS 89031 (W.D. Wash.
May 28, 2019) (denying motion to compel where “[p]laintiff effectively seeks discovery
on JetBlue’s discovery process”).

We likewise believe that compliance with this request would invade the attorney work
product doctrine and/or attorney-client privilege, and on that basis, we must decline the
invitation. See, e.g., Fish v. Air & Liquid Sys. Corp., No. GLR-16-496, 2017 U.S. Dist.
LEXIS 24188, at *66 (D. Md. Feb. 21, 2017) (“[T]he manner in which [defendant] and its
attorneys conducted discovery (e.g. who was involved and ‘all documents concerning
same’) – ‘discovery on discovery’ – is not an appropriate topic of discovery and
numerous courts have disallowed such discovery.”) (citing cases).

Best regards,

/s/ Daniel Prince

Daniel Prince
of Paul Hastings LLP

cc: Felicia A. Davis (feliciadavis@paulhastings.com); Craig J. Ackermann
(cja@ackermanntilajef.com); and Brian Denlinger (bd@ackermanntilajef.com)




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                                                     July 20, 2023
                                                                                           Via E-Mail Only
           Daniel Prince                                                     danielprince@paulhastings.com
           Felicia A. Davis                                                   feliciadavis@paulhastings.com
           PAUL HASTINGS LLP
           515 S. Flower Street, 25th Floor
           Los Angeles, CA 90071

                  Cahill, et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR
                  Plaintiffs’ Request for Production No. 53

           Dear Counsel,

                   Nike received Plaintiffs’ RFP No. 53 on March 22, 2019. Most of the responsive
           discovery remains outstanding. Rule 26(e) “creates an ongoing duty to supplement or correct
           prior disclosures or discovery responses without the need for a request from another party.”
           Brown v. Wal-Mart Store, Inc., 2018 WL 2011935, at *2 (N.D. Cal. Apr. 27, 2018) (citation and
           internal quotations omitted).

                  RFP No. 53 requests:

                  For each plaintiff, all documents and communications related to all compensation
                  from Nike that was received, considered, or proposed at any time. This request
                  includes all documents and communications related to compensation received prior
                  to Nike hiring them as an employee. This request also includes all documents and
                  communications related to both: (a) any offer from Nike; and (b) any negotiation
                  or request to negotiate starting salary or other employment-related terms. This
                  request also includes also includes Personal Pay Statements. For each plaintiff, the
                  time-period for this request is from when the plaintiff first started working at Nike
                  to the present.

           Nike, however, has not produced most of the documents and communications related to the
           setting of starting pay for each Plaintiff. It has not produced any communications related to the
           setting of starting pay for each Plaintiff.

                  Regarding annual salary increases, bonuses, and equity considerations for each Plaintiff,
           Nike has not produced any communications. Nor has it produced any documents related to
           considerations or determinations of these categories of compensation. Likewise, there are no
           communications or documents produced related to compensation considerations or
           determinations when each Plaintiff had a lateral move or a promotion.




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           Cahill, et al. v. Nike, Inc.                    -2-                                   July 20, 2023


                   Nike created reports for 2x pay that included each Plaintiff that were distributed to other
           employees for consideration or review. Yet Nike has not produced any of these reports,
           communications, or documents concerning discussions, considerations, or determinations of any
           Plaintiff’s compensation.

                    According to Nike’s response to RFP No. 53, it is not withholding any documents based
           on any of its objections because it does not state whether any responsive discovery is being
           withheld on the basis of any of its objections. See FRCP 34(b)(2)(C) (“An objection must state
           whether any responsive materials are being withheld on the basis of that objection.”). Nor could
           its boilerplate objections to RFP No. 53 justify withholding any responsive discovery. See FRCP
           34(b)(2)(B) (For each item or category, the response must either state that inspection and related
           activities will be permitted as requested or state with specificity the grounds for objecting to the
           request, including the reasons.”).

                   Please promptly produce this important discovery and please provide us a date certain by
           which Nike will complete its production of documents and communications responsive to RFP
           No. 53.

                                                         Sincerely,



                                                         Byron Goldstein

           BRG/kbm




873884.3


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                                                      July 27, 2023
                                                                                            Via E-Mail Only
           Daniel Prince                                                      danielprince@paulhastings.com
           Felicia A. Davis                                                    feliciadavis@paulhastings.com
           PAUL HASTINGS LLP
           515 S. Flower Street, 25th Floor
           Los Angeles, CA 90071

                   Cahill, et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR
                   Nike’s failure to produce discovery responsive to RFP No. 4, RFP No. 8, and the Court’s
                   October 31, 2019 Order concerning policies, guidelines, trainings, descriptions, and
                   forms that Nike used when setting starting pay from the pre-October 2017 period.

           Dear Counsel,

                    Nike does not dispute it has failed to produce any policies, guidelines, trainings, or forms
           that it used when setting starting pay before it made a “policy change” around October 2017.
           Although you cite seven documents in your July 17, 2023 letter, you do not claim any of those
           seven documents are policies, guidelines, trainings, descriptions, or forms that Nike used when
           setting starting pay from the pre-October 2017 period. Nor could you because none are. 1

                   Nike does not dispute it has failed to complete its production of discovery responsive to
           RFPs 4 and 8 concerning the pre-October 2017 period. Although Plaintiffs’ July 11 letter asks
           about these two RFPs, Nike’s July 17 does not even mention RFPs 4 and 8.

                   Instead, Nike takes the position that it does not have to be transparent or produce
           discovery unless Plaintiffs have evidence that first proves the requested discovery exists. The
           requesting party, of course, is not required to prove the existence of each document and
           communication before the responding party is required to produce the discovery. Regardless,
           Plaintiffs have repeatedly identified discovery Nike has failed to produce, including in their
           December 20, 2019 meet and confer letter, Plaintiffs’ submissions to the Court in support of their
           June 30, 2020 request to the Court for an Order compelling discovery Nike had failed to produce,
           and Plaintiffs’ June 15, 2021 meet and confer letter.

                    Unfortunately, Nike thus appears to decline engaging in a transparent and collaborative
           discovery process. Its claims of “work product doctrine and/or attorney-client privilege” do not
           justify this lack of transparency and collaboration because Nike’s collection of responsive



           1
            The seven documents Nike cited are: NIKE_00000264, NIKE_00000568, NIKE_00002070,
           NIKE_00002072, NIKE_00002321, NIKE_00019411, and NIKE_00023659


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           Cahill, et al. v. Nike, Inc.                    -2-                                   July 27, 2023


           discovery is about facts concerning the fulfillment of its discovery obligations. See e.g., Apple,
           Inc. v. Samsung Elecs. Co., 2013 WL 1942163, at *2-3 and n.10 (N.D. Cal. May 9, 2013)
           (ordering production of search terms and custodians because it “will aid in uncovering the
           sufficiency of Google’s production and serves greater purposes of transparency in discovery”).

                   Please provide the information requested in Plaintiffs’ July 11 letter concerning what
           efforts and methods were undertaken to locate discovery responsive to RFP No. 4, RFP No. 8,
           and the Court’s October 31, 2019 Order, as well as any limitations Nike imposed concerning
           time period, locations, custodians, or search terms.

                  We are requesting a meet and confer call to discuss these issues, please let us know when
           you have some availability.


                                                         Sincerely,



                                                         Byron Goldstein

           BRG/kbm




873896.1


                                                                      Goldstein Decl. Ex. M, Page 7 of 15
      Case 3:18-cv-01477-JR               Document 350             Filed 09/15/23   Page 146 of 153




VIA E-MAIL                                                                                    98484.00003

July 31, 2023


Barry Goldstein (bgoldstein@gbdhlegal.com)
Byron Goldstein (brgoldstein@gbdhlegal.com)
James Kan (jkan@gbdhlegal.com)
Mengfei Sun (msun@gbdhlegal.com)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612

Re:       Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR
          Plaintiffs’ Request for Production No. 53

Dear Counsel:

We write in response to Plaintiffs’ July 20, 2023 letter regarding Nike’s production of documents in
response to Plaintiffs’ RFP No. 53 (served on March 22, 2019). There, Plaintiffs assert that “[m]ost of the
responsive discovery remains outstanding” in response to this request. This is incorrect.

Nike has produced substantial documents that are responsive to RFP No. 53 for each Plaintiff. For
example, Nike has produced the following categories of documents for one or more of the Plaintiffs:

      •    Job History Reports (e.g., NIKE_00008720)
      •    IRS Form W-2s (e.g., NIKE_00002353-56)
      •    Personal Pay Statements (e.g., NIKE_00015838)
      •    Earnings Statements (e.g., NIKE_00008697)
      •    Offer Letters (e.g. NIKE_00014653)
      •    Wage History Reports (e.g., NIKE_00003085)
      •    Job Application Notes (e.g., NIKE_00003087-88)
      •    Job Requisitions Offer Summaries (e.g., NIKE_00023691-97)
      •    SAP Reports (e.g., NIKE_00023818)
      •    Wage and Deduction Reports (e.g., NIKE_00019241-42)
      •    Stock Grant Agreements (e.g., NIKE_00014685-719)

Thus, contrary to Plaintiffs’ assertions, Nike is not withholding documents responsive to this request. Nike
previously produced the documents in its possession that it located after a reasonable search.

In any event, we will work with Nike to perform a reasonable inquiry and diligent search for non-privileged
documents created since February 2021 that are responsive to RFP No. 53. To the extent any such
documents exist, we will produce the same.




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              Sincerely,

              /s/ Daniel Prince

              Daniel Prince
              of Paul Hastings LLP




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VIA E-MAIL                                                                                       98484.00003

August 2, 2023


Barry Goldstein (bgoldstein@gbdhlegal.com)
Byron Goldstein (brgoldstein@gbdhlegal.com)
James Kan (jkan@gbdhlegal.com)
Mengfei Sun (msun@gbdhlegal.com)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612

Re:    Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR

Dear Counsel:

We write in response to Plaintiffs’ July 27, 2023 letter and to follow-up on our July 17, 2023
correspondence.

As an initial matter, we disagree with the numerous mischaracterizations contained in your July 27 letter,
including with respect to Nike’s document production, its compliance with the Court’s October 31, 2019
order, or otherwise. Nor do we believe the constant stream of hyperbolic statements to be helpful during
this process.

In any event, Plaintiffs’ position collapses on itself. Your July 11 letter highlights the Court’s October 31,
2019 order requiring, in pertinent part, policies or documents maintained during the relevant time periods
“regarding hiring, firing, pay, promotions, and compensation systems[.]” ECF No. 89. Your same letter
asserts that “Plaintiffs asked for this discovery in RFP Nos. 4 and 8.” July 11, 2023 Letter from B.
Goldstein. Nevertheless, while it disclaimed any obligation to do Plaintiffs’ work or to perform an
exhaustive review of its own production for this purpose, Nike performed a courtesy search to identify
responsive documents. Nike provided the Bates numbers for those documents on July 17, both in the
text of paragraph 2 and in footnote 1. As Nike explained on July 17, those documents were and are
responsive to the Court’s October 31, 2019 order—that means, by extension, they also are responsive to
RFP Nos. 4 and 8.

We again underscore the fact that Nike has no obligation to run document searches for Plaintiffs or to
create information to prove elements of Plaintiffs’ case. Nike has conducted a reasonable and diligent
search for documents within its custody and control; it likewise has produced non-privileged, responsive
documents. Plaintiffs continue to refuse to accept responses that do not comport with their preconceived
(and unfounded) theories in this matter.

Finally, as stated in our July 17 letter, Nike declines to provide “discovery on discovery” concerning its
“methods” of identifying responsive documents in this case. The request is improper and not supported
by the case law or the facts. Discovery in this case began around 2018, and Nike has produced tens of
thousands of pages of documents before the extensive briefing on class certification in the District Court
and the Ninth Circuit. Where appropriate, Nike will supplement its production. But Plaintiffs’ insistence




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on “discovery on discovery,” especially at this late juncture, is unduly burdensome, time-consuming, and
threatens to make the discovery process ad infinitum.

To the extent you would like to meet and confer, we propose Friday, August 4 (between 3pm-5pm PT), or
we can find time next week.

Sincerely,

/s/ Daniel Prince

Daniel Prince
of Paul Hastings LLP




                                                           Goldstein Decl. Ex. M, Page 11 of 15
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Byron Goldstein

From:                                                                                                                                                                                                                                                               Prince, Daniel <danielprince@paulhastings.com>
Sent:                                                                                                                                                                                                                                                               Tuesday, August 8, 2023 5:40 PM
To:                                                                                                                                                                                                                                                                 Byron Goldstein; Davis, Felicia A.; Jackson, Lindsey C.
Cc:                                                                                                                                                                                                                                                                 James Kan; Mengfei Sun; Barry Goldstein
Subject:                                                                                                                                                                                                                                                            RE: Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR


Byron:

I hope you’re enjoying your time away from the office. As I think we’ve stated before, we have produced to you what
we believe exists -- and, as we have noted, we’re currently working to supplement, where appropriate.

We are fine with discussing these issues further to avoid any miscues. August 14 is not great for me, but we can aim for
open windows on August 15 or 18 if you advise as to your availability.

Daniel

From: Byron Goldstein <brgoldstein@gbdhlegal.com>
Sent: Sunday, August 6, 2023 9:53 PM
To: Prince, Daniel <danielprince@paulhastings.com>; Davis, Felicia A. <feliciadavis@paulhastings.com>; Jackson, Lindsey
C. <lindseyjackson@paulhastings.com>
Cc: James Kan <jkan@gbdhlegal.com>; Mengfei Sun <msun@gbdhlegal.com>; Barry Goldstein
<bgoldstein@gbdhlegal.com>
Subject: [EXT] RE: Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR
Daniel, We are trying to get infor mation t o meet an d con fer abo ut Nike’s continu ed fail ure to pro duce dis covery from the pre-Octo ber 201 7 period that was use d for s etting of starting pay. Wit h respe ct to the October 3 1, 201 9 Order, i n your
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Daniel,

We are trying to get information to meet and confer about Nike’s continued failure to produce discovery from the pre-
October 2017 period that was used for setting of starting pay.

With respect to the October 31, 2019 Order, in your August 2, 2023 letter, you represent that Nike “conducted a
reasonable and diligent search” for discovery from the “relevant time periods.” For this Order, what did Nike use as the
“relevant time period” for collecting and producing discovery concerning the setting of starting pay?

We have asked you several times whether you did the required searching and collecting of discovery potentially
responsive to RFP No. 4 or RFP No. 8. You have refused to clearly represent that you did. Please let us know. And, if so,
are you representing that Nike has completed its production in response to RFP 4 and to RFP 8? Please also let us know
if you have withheld any discovery based on any of the objections in the responses to the first set of RFPs.

In your August 2, 2023 letter, you accuse us of “numerous mischaracterizations” but you neither state what we
mischaracterize nor provide any support for this serious contention. If you do have support for this accusation, please let
us know right away because we want to continue to maintain accuracy, we make effort to do so, and we have thus
diligently reviewed all the discovery you produced.



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                   Case 3:18-cv-01477-JR                Document 350             Filed 09/15/23         Page 151 of 153

Please let us know the answers to our questions. I look forward to speaking to you soon about the discovery issues we
identified in our July letters. I am out of the country currently, but I can speak anytime on August 14. Do you have any
time that day?

Thank you,
Byron

From: Vermeulen, Lisa A. <LisaVermeulen@paulhastings.com>
Sent: Wednesday, August 2, 2023 4:33 PM
To: Barry Goldstein <bgoldstein@gbdhlegal.com>; Byron Goldstein <brgoldstein@gbdhlegal.com>; James Kan
<jkan@gbdhlegal.com>; Mengfei Sun <msun@gbdhlegal.com>
Cc: Prince, Daniel <danielprince@paulhastings.com>; Davis, Felicia A. <feliciadavis@paulhastings.com>; Jackson, Lindsey
C. <lindseyjackson@paulhastings.com>
Subject: Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR

Dear Counsel,

Please see attached correspondence from Daniel Prince in response to your July 27, 2023, letter.

Best Regards,
Lisa Vermeulen




                                 Lisa Vermeulen | Client Service Specialist
 PAU L    Paul Hastings LLP | 515 South Flower Street, Twenty-Fifth Floor, Los Angeles, CA 90071 |
 HASTINGS Direct: +1.213.683.5712 | Main: +1.213.683.6000 | Fax: +1.213.627.0705 |
          lisavermeulen@paulhastings.com | www.paulhastings.com




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Byron Goldstein

From:                                                                                                                                                                                                                                                              Prince, Daniel <danielprince@paulhastings.com>
Sent:                                                                                                                                                                                                                                                              Tuesday, August 8, 2023 5:42 PM
To:                                                                                                                                                                                                                                                                Byron Goldstein; Jackson, Lindsey C.
Cc:                                                                                                                                                                                                                                                                cja@ackermanntilajef.com; Brian Denlinger; Davis, Felicia A.
Subject:                                                                                                                                                                                                                                                           RE: Nike/Cahill - Correspondence re: Plaintiffs' RFP No. 53


Byron:

I just responded to your other email, but the response here is the same – we have produced responsive documents and
are currently working to supplement, where appropriate.

Daniel

From: Byron Goldstein <brgoldstein@gbdhlegal.com>
Sent: Sunday, August 6, 2023 10:16 PM
To: Jackson, Lindsey C. <lindseyjackson@paulhastings.com>
Cc: cja@ackermanntilajef.com; Brian Denlinger <bd@ackermanntilajef.com>; Prince, Daniel
<danielprince@paulhastings.com>; Davis, Felicia A. <feliciadavis@paulhastings.com>
Subject: [EXT] Re: Nike/Cahill - Correspondence re: Plaintiffs' RFP No. 53
Daniel, you state Nike has mad e suffi cient pro ductions concer ning how ea ch plaintiff’s starting pay was set be caus e you pr odu ced such do cu me nts as wage stateme nts and W2s. T hese d ocuments, of course, a nd the others you list, j ust show what
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Daniel, you state Nike has made sufficient productions concerning how each plaintiff’s starting pay was set because you
produced such documents as wage statements and W2s. These documents, of course, and the others you list, just show
what each plaintiff was paid. But Nike has not produced documents and comm showing who was involved in setting
each plaintiff’s starting pay and how it was set. And you state the only discovery you will look for are “documents
created since February 2021.”

Are you refusing to produce discovery showing who was involved in setting each plaintiff’s starting pay and how it was
set? If so, what is your basis for doing so?


Thank you,
Byron


                                                                                            On Jul 31, 2023, at 5:45 PM, Jackson, Lindsey C. <lindseyjackson@paulhastings.com> wrote:


                                                                                            Counsel,

                                                                                            Attached please find meet and confer correspondence in response to your July 20, 2023 letter.

                                                                                            Thanks,

                                                                                            Lindsey
                                                                                                                                                                                                                                                                                             1

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                     Case 3:18-cv-01477-JR                Document 350            Filed 09/15/23          Page 153 of 153




                                             Lindsey Cecellia Jackson (she/her/hers) | Associate, Employment Law Dep
          <image001.png>                     Paul Hastings LLP | 515 South Flower Street, Twenty-Fifth Floor, Los Angeles, CA 9
                                             Direct: +1.213.683.6103 | Main: +1.213.683.6000 | Fax: +1.213.996.3103 |
                                             lindseyjackson@paulhastings.com | www.paulhastings.com




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         <Nike_Cahill - 2023.07.31 - Letter in Response to Plaintiffs_ Letter re RFP No. 53 (002)(117229749_1).PDF>


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